          Case 8:23-cv-01788-JVS-KES Document 100 Filed 07/05/24 Page 1 of 139 Page ID
                                           #:1281
 Name Robert V. Gonzales
 Address PO BOX 7804
 City, State, Zip SLT, CA 96158
 Phone 530-523-3822
 Fax
                                                                                07/05/2024
 E-Mail                                                                                DVE                     IFP Submitted
 G FPD        G Appointed    G CJA      ✘Pro Per
                                        G            G Retained

                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
Robert V. Gonzales                                                      CASE NUMBER:

                                                                                              8:23-cv-01788-JVS(KESx)
                                                    PLAINTIFF(S),
                                  v.
The Regents of the University of California, Et. Al.
                                                                                          NOTICE OF APPEAL
                                                 DEFENDANT(S).



NOTICE IS HEREBY GIVEN that                                        Robert V. Gonzales                            hereby appeals to
                                                                  Name of Appellant
the United States Court of Appeals for the Ninth Circuit from:

 Criminal Matter                                                        Civil Matter
 G Conviction only [F.R.Cr.P. 32(j)(1)(A)]                              ✘ Order (specify):
                                                                        G
 G Conviction and Sentence                                                  Denied Forma Pauperis Application
 G Sentence Only (18 U.S.C. 3742)
 G Pursuant to F.R.Cr.P. 32(j)(2)                                       ✘ Judgment (specify):
                                                                        G
 ✘ Interlocutory Appeals
 G                                                                          Granted Motion to Dismiss, Denid TRO Ap
 G Sentence imposed:
                                                                        ✘ Other (specify):
                                                                        G
                                                                           Denied Cease & Desist, Protected Trial Prep
 G Bail status:



Imposed or Filed on            4/10/24, 4/26/24         . Entered on the docket in this action on                    5/7/24                  .

A copy of said judgment or order is attached hereto.


July 5th, 2024
Date                                                    Signature
                                                           nature
                                                        ✘ Appellant/ProSe
                                                        G                           G Counsel for Appellant           G Deputy Clerk

Note:     The Notice of Appeal shall contain the names of all parties to the judgment or order and the names and addresses of the
          attorneys for each party. Also, if not electronically filed in a criminal case, the Clerk shall be furnished a sufficient number
          of copies of the Notice of Appeal to permit prompt compliance with the service requirements of FRAP 3(d).



A-2 (01/07)                                                 NOTICE OF APPEAL
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      7:+ 37 C ;#9 !=< .=-1$-+ 7,+437 C !A7 H4H,  $
  
      37 C "4 4176#+4 4444-+4 7, $+#+ I:+, $44+ 
  "
      6 4 $#4+ 9+ 37 C , # 4H6-+ 9, $+-+4 7 # 7 4
  !
      +##6 + 4+ 9+9 4 $7: :4 $  $ $+49: 4 4+6+6H7
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      I:4+7+A$: + 6- $4++ H,6H7+ ,47: :  $7: 4+4  
  
      - -++  $=+   I:4+7+A$: + ;#9 !! =< 1 37 C"!;#9 '

      =<1,+ +4       =$ $,4A$: + E:+6 ==+-4
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      , A7# + 7+ --+ 9= 9,::,  7+6+   : =$ $= 
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      # 4+ 9  + +9 + ;< 5H7+ --+ +6+4 + 77+  4
 '
      + -84= 9,::,  7+6+   : H6 ,: +-+ H#74+ 9 4=+ $: 
 &
      # 4+ 9+ +9 +  4+ + --+#+ I:H;<+ I: 7 +-+, 447 H+, 
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      $+ H #-#+7 :+ I:+ +,## H 1  4,44+ 9 $6+ 
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      , $ $+49: 4+  $9 44, 6 +  4+6+ $7: +6#H   $ 
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      A$: + ,I:4+7+64+$   7$+-4 4 $+ 4+7:+  + I: 7 +-
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      6 + ,M N+#+ I:H+,1$4   6-+ 9 # 7 =$ 1+ + +H $:9$ 
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 '&
      E: + 1+4A7# 6H    $6A   $ $+49: 4 1 37 !"L !1
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      9 +6H9:6 :  $ 7,46+ +  +-#9 +-=$ + 76 
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      +6 4+ +  :##4 7  + : + ,#74:: + : +  6-,4
  '
      4++ H,7 $ :  +-H6  $9 H4+,,+7: 7+ + 7$+- 1 
  &
      37 L !146   4 $4,7 +  =, $4, K9:6 =$+7$$- $
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  "
      $64 19:6 ;#9 '''&=< 1- 7+ 4 4687=$?: +75$
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 
      +  4,A# 4+ 9 $7+ 7,#7+:6 H,:+ 9 -++  $7 :,: 4 + ,
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      $+ H4+ 9I:  $
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      $6I#6+ =$+7$ $,+ 4+6++ 37 C!=9 46 6H78,
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      ++ H #7+H:66+9 -:6,=:## 47+6 #,+ -;#9
 
      "!" =<=$+: 4 $4:, H+ 9 #:  $,: :1# 6H +H: 94: +,
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      =8+ 9 =478 7:, + = 8 =HH4+7+6+  + 9+  #7+-4
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      # 7 47+ 4 :7 + ,4:#7;#9 &=< $,+ 4+6+=
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      #+6+H4  $D,,7 +-A#:+ F+ ,+ E:+H+ # ;#9 "!" =<: 37 
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      C!$:4$-6-4 $++ ,+ E:+H,66H7 9 $-HH ;#9 &&'
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      =< $+4+6+=#7 +7HD9$ F=$ +:4 $,+ 4+6+6+ 4
 '&
      6 + ,+ E:+H,6H7A7#  $ 16-47+ 7+4 H :9$ 1
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      46   4- +6$= $4, K#+,=#  ,# H6 
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      =$+  ,6++=+ $+6#  7,7  4$  84 +6#  747:6 + 
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      37 C!" 1:6+ 437 C!" /:H" $%6 $ '4H, $7$4:+ 9
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      $+ 9#-+:H7$4:4,57$ $;#9 &&=<: 1=#: +$4H $
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                                                   
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  
       +8+ 9, $+47:6 ,## H  ,++ 9+ D +6HF+ 37 C!;#9 "=< B$ 
  '
      :6:  $9 + 9, $6 +  $6 + $#  +  $ 6H7+D
  &
      $47+ , $6 ,7::## 4H7 7:H  6 FD6
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      #+++ H,= 94+ 9 F$++: H,+46   4 =  $6 H,+4
  "
      A$++ =$+7$6 +646   4+7 766: +7 + =+ $ $= 94:  $+
  !
      = 94+ 9+  +6 $H,=47:6 4- + 6H+, $ 
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      : H6 $ D $6#+++ H,= 94+ 9F $H$-4H7 6+,
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      ## : + H 49 4,  4 $ 4+:HA7# +  4+#:I7 

      6 6  $4+,,+7: 7+ +,,4:I7 6 I:+4+7 + 17 #H H 4
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      6+ +6, $#7+ 9:9:66++ 9, $7 ::## $=+ 97$
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      + 4+-+4:76#A7+6=$+7$ $7: +$+ 96,,6+ 6H#+ + H
 '
      # =+ $76#: 4+ 97+##+ 9  1  ?: +75$68 $=
 &
      D $+77H H7-H# ,=$+7$4# 4  $  + : + =  +,
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      4:#7+:#7+,+7H7: $4, +78 =49+ 9 $6 , $ + ,
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      + E:+H 4 $ +6#H4 H+ 9 $  $: +-+ H+ 99+ 9+  H= 94+ 9: +4, 
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      $=: =$  + 7H,A#7  + $:4 H$4 ## H:4:4H
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       : ::H76#A7 4H,76#: 4+ 9  $ +469+ 9  $+,7: 4
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      6 +- + =$+7$+7+ +7,#,+ =8+8+ +9 + P1+6#H7  A#7 4 
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      ,:H +7:  A7 7- -H94 +,6H,+  H+ ,:7$9 
 ''
      76#A+ H69 + :4 4469 $7:$-  6:7$#::+4+ 9:# 6
 '&
      ,H=$,7:+ 9 :9$ 76# -H4H 8766: +7 +8 6 4-
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      I: :77,:H#,4$764+,,+7: ,6  ?: ' $''17+-469
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      ,6 $7: K7+-++ 84# 6   + 9 $ 6H 6# 437 C ,++ 94  
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      7 + 7 :6;#9  =< $47:6 47 +  $7 :66 H +6
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      :   =$+ H:##+4H $78 4 $+= $9: 4 4 H6H:6++ 
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                                                      
                                                  
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      =+ $+  $44+  :6H, $7: 78 + + +H#  4 $   :##H+ 97
  '
       :6=$ $H:##4 :##H+ : +1  +74 $6+ 8= +:+#H
  &
      =+,:8 =+ 9 6#  : 6:#  $44+  4:# 46H7+   ,
  
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                                           #:1290
 Robert V. Gonzales
 PO BOX 7804
 SLT, CA 96158                                                                                             9/25/23
 530-523-3822
                                                                                                                 EB




                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
Robert V. Gonzales                                                CASE NUMBER

                                                                                FY-96 .(6[
                                     PLAINTIFF/PETITIONER,
                                v.
                                                                                REQUEST TO PROCEED
University of California, Irvine; Et. Al.                                     IN FORMA PAUPERIS WITH
                                                                              DECLARATION IN SUPPORT
                                 DEFENDANT5(6321'(17.



I, Robert V. Gonzales                                        , declare under penalty of perjury, that the foregoing is true and
correct; that I am the petitioner/plaintiff in the above entitled case; that in support of my motion to proceed without being
required to prepay fees, costs or give security therefore, I state that because of my poverty I am unable to pay the costs of
said proceedings or to give security therefore and that I am entitled to redress.

I further declare under penalty of perjury that the responses which I have made to the questions and instructions below are
true, correct and complete.

1. Are you presently employed? GYes          ✔
                                             GNo
    a. If the answer is yes, state the amount of your salary or wages per month, and give the name and address of your
         employer.


    b. If the answer is no, state the date of last employment and the amount of the salary and wages per month which
         you received. 11/1/22, 35% Commission Per Job
2. Have you received, within the past twelve months, any money from any of the following sources?
    a. Business, profession or form of self-employment?              Yes
                                                                    GYes     ✔
                                                                             GNo
    b. Rent payments, interest or dividends?                         Yes
                                                                    GYes     ✔
                                                                             GNo
    c. Pensions, annuities or life insurance payments?               Yes
                                                                    GYes     ✔
                                                                             GNo
    d. Gifts or inheritances?                                        Yes
                                                                    GYes     ✔
                                                                             GNo
    e. Any other income (other than listed above)?                   Yes
                                                                    GYes     ✔
                                                                             GNo
    f. Loans?                                                        Yes
                                                                    GYes     ✔
                                                                             GNo
    If the answer to any of the above is yes, describe such source of money and state the amount received from each
    source during the past twelve (12) months:




                           REQUEST TO PROCEED IN FORMA PAUPERIS WITH DECLARATION IN SUPPORT
CV-60 (0/)                                                                                                          Page 1 of 2
            Case8:23-cv-01788-JVS-KES
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                                                                     Page211
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                                                                             of 139  ID #:8ID
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   3. Do you own any cash, or do you have money in a checking or savings account? (Include any funds in prison
                                ✔
      accounts, if applicable.) GYes  GNo

       If the answer is yes, identify each account and separately state the amount of money held in each account for each of
       the six (6) months prior to the date of this declaration.
       $3900 Savings, $650 Checking

   4. Do you own any real estate, stocks, bonds, notes, automobiles, or other valuable property (excluding ordinary
      household furnishings and clothing)? GYes
                                            ✔        GNo

       If the answer is yes, describe the property and state its approximate value: 2003 Subaru bought at $2400
       1988 GMC bought at $800

    In what year did you last file an Income Tax return? 2022
       Approximately how much income did your last tax return reflect? +- $5000

    List the persons who are dependent upon you for support, state your relationship to those persons, and indicate how
       much you contribute toward their support:

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   I understand that a false statement or answer to any question in this declaration will subject me to penalties for perjury. I
   further understand that perjury is punishable by a term of imprisonment of up to five (5) years and/or a fine of $250,000
   (18 U.S.C. Sections 1621, 3571).

      CA                                                           El Dorado
                            State                                                     County (or City)

 I, Robert V. Gonzales                                                     , declare under penalty of perjury that the
 foregoing is true and correct.

Date Sep 24, 2023
                                                                                   Plaintiff/Petitioner (Signa
                                                                                                        (Signature)
                              REQUEST TO PROCEED IN FORMA PAUPERIS WITH DECLARATION IN SUPPORT
   CV-60 (0/)                                                                                                         Page 2 of 2
            Case
6/30/24, 6:56 PM 8:23-cv-01788-JVS-KES               Document Gmail
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                                                                     Filed 07/05/24
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                                                            #:1292

                                                                                         bobby gonzales <bgfarcenter@gmail.com>



  Submission Confirmation
  1 message

  Civil Intake <do-not-reply@cacd.uscourts.gov>                                                          Sun, Sep 24, 2023 at 11:13 PM
  To: bgfarcenter@gmail.com


    Dear Robert Gonzales:
    This email confirms that the document(s) listed below were received by the United States District Court for the Central
    District of California at the date and time indicated:

    Name: Robert Gonzales
    Tracking Number: EDS-230924-000-9162
    Date: 9/24/2023 11:13:42 PM

    Uploaded files:

            CV-005.pdf
            CV-71.pdf
            CV-126.pdf
            CV-60.pdf
            CV-30.pdf

    The document(s) have not yet been filed. Just like documents received through the U.S. Mail, documents received
    through the Electronic Document Submission System (“EDSS”) will not be considered filed until court staff have uploaded
    them into the Court’s Case Management/Electronic Case Filing System (“CM/ECF”). Documents submitted using EDSS
    should be processed within 1-2 business days of receipt. However, the date of EDSS submission will be considered the
    filing date for any documents received through EDSS and later filed into CM/ECF.

    If you have registered for electronic service of documents in previous cases, you may receive a Notice of Electronic Filing
    (“NEF”) from the CM/ECF System when the documents listed above are filed. If you have not previously registered for e-
    service, or if court staff cannot quickly identify your previous e-service registration record when processing your current
    submission, you will receive notice of this filing, with your new case number, by U.S. Mail. Once you receive your case
    number, you may register to receive electronic service of future documents filed in this case. (Click here for information
    about registering for e-service.)

    If you are an attorney required by the local rules to file your documents electronically using the Court’s CM/ECF System,
    your document(s) will not be filed if submitted through EDSS, and you will not receive any further communication from the
    Court about your EDSS submission.

    Please include the tracking number listed above as your reference on any communications with the Court about this
    submission. We recommend that you keep this email for your records.

    Civil Intake
    United States District Court
    Central District of California
    Tel: (213) 894-3535




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                                                                                         bobby gonzales <bgfarcenter@gmail.com>



  Submission Confirmation
  1 message

  Civil Intake <do-not-reply@cacd.uscourts.gov>                                                          Mon, Sep 25, 2023 at 11:16 AM
  To: bgfarcenter@gmail.com


    Dear Robert Gonzales:
    This email confirms that the document(s) listed below were received by the United States District Court for the Central
    District of California at the date and time indicated:

    Name: Robert Gonzales
    Tracking Number: EDS-230925-000-9174
    Date: 9/25/2023 11:16:47 AM

    Uploaded files:

            CV-71 (1).pdf
            Corrected & Resubmitted

    The document(s) have not yet been filed. Just like documents received through the U.S. Mail, documents received
    through the Electronic Document Submission System (“EDSS”) will not be considered filed until court staff have uploaded
    them into the Court’s Case Management/Electronic Case Filing System (“CM/ECF”). Documents submitted using EDSS
    should be processed within 1-2 business days of receipt. However, the date of EDSS submission will be considered the
    filing date for any documents received through EDSS and later filed into CM/ECF.

    If you have registered for electronic service of documents in previous cases, you may receive a Notice of Electronic Filing
    (“NEF”) from the CM/ECF System when the documents listed above are filed. If you have not previously registered for e-
    service, or if court staff cannot quickly identify your previous e-service registration record when processing your current
    submission, you will receive notice of this filing, with your new case number, by U.S. Mail. Once you receive your case
    number, you may register to receive electronic service of future documents filed in this case. (Click here for information
    about registering for e-service.)

    If you are an attorney required by the local rules to file your documents electronically using the Court’s CM/ECF System,
    your document(s) will not be filed if submitted through EDSS, and you will not receive any further communication from the
    Court about your EDSS submission.

    Please include the tracking number listed above as your reference on any communications with the Court about this
    submission. We recommend that you keep this email for your records.

    Civil Intake
    United States District Court
    Central District of California
    Tel: (213) 894-3535




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                                                                                         bobby gonzales <bgfarcenter@gmail.com>



  Submission Confirmation
  2 messages

  Civil Intake <do-not-reply@cacd.uscourts.gov>                                                          Tue, Sep 26, 2023 at 12:04 PM
  To: bgfarcenter@gmail.com


    Dear Robert Gonzales:
    This email confirms that the document(s) listed below were received by the United States District Court for the Central
    District of California at the date and time indicated:

    Name: Robert Gonzales
    Tracking Number: EDS-230926-000-9192
    Date: 9/26/2023 12:04:54 PM

    Uploaded files:

            CV-127 A3.pdf
            CV-66.pdf
            CV-127 B.pdf
            CV-127 A.pdf

    The document(s) have not yet been filed. Just like documents received through the U.S. Mail, documents received
    through the Electronic Document Submission System (“EDSS”) will not be considered filed until court staff have uploaded
    them into the Court’s Case Management/Electronic Case Filing System (“CM/ECF”). Documents submitted using EDSS
    should be processed within 1-2 business days of receipt. However, the date of EDSS submission will be considered the
    filing date for any documents received through EDSS and later filed into CM/ECF.

    If you are registered for electronic service of documents and receiving e-service in this case, you will receive a Notice of
    Electronic Filing (“NEF”) from the CM/ECF System as soon as each document listed above has been filed. (Click here for
    information about registering for electronic service or to add e-service in this case.) If you are not registered for electronic
    service, you may check the status of your documents by checking the docket for your case on PACER
    (https://pacer.uscourts.gov). Please wait at least two business days after receiving this email and check the docket for
    your case on PACER before contacting the Court regarding the status of documents submitted through EDSS.

    If you are trying to file a document in a case pending before the United States Bankruptcy Court, or in any case pending in
    any court other than the United States District Court for the Central District of California, your document will not be filed
    and you will not receive any response to your EDSS submission. Likewise, if you are an attorney required by the local
    rules to file your documents electronically using the Court’s CM/ECF System, your document(s) will not be filed if
    submitted through EDSS, and you will not receive any further communication from the Court about your EDSS
    submission.

    Please include the tracking number listed above as your reference on any communications with the Court about this
    submission. We recommend that you keep this email for your records.

    Civil Intake
    United States District Court
    Central District of California
    Tel: (213) 894-3535



  Civil Intake <do-not-reply@cacd.uscourts.gov>                                                           Tue, Sep 26, 2023 at 3:54 PM
  To: bgfarcenter@gmail.com


    Dear Robert Gonzales:


https://mail.google.com/mail/u/0/?ik=ac86300e09&view=pt&search=all&permthid=thread-f:1778128103471325145&simpl=msg-f:17781281034713251…   1/2
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    This email confirms that the document(s) listed below were received by the United States District Court for the Central
    District of California at the date and time indicated:

    Name: Robert Gonzales
    Tracking Number: EDS-230926-000-9200
    Date: 9/26/2023 3:54:23 PM

    Uploaded files:

            A(3).pdf
            CV-127 B(3-6).pdf
            A(2).pdf
            B(7).pdf
            A(1).pdf
            B(2).pdf
            B(1).pdf

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Case 8:23-cv-01788-JVS-KES Document 100 Filed 07/05/24 Page 16 of 139 Page ID
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                                                                                         bobby gonzales <bgfarcenter@gmail.com>



  Submission Confirmation
  1 message

  Civil Intake <do-not-reply@cacd.uscourts.gov>                                                         Wed, Sep 27, 2023 at 12:26 PM
  To: bgfarcenter@gmail.com


    Dear Robert Gonzales:
    This email confirms that the document(s) listed below were received by the United States District Court for the Central
    District of California at the date and time indicated:

    Name: Robert Gonzales
    Tracking Number: EDS-230927-000-9209
    Date: 9/27/2023 12:26:36 PM

    Uploaded files:

            CamScanner 09-26-2023 22.22.pdf

    The document(s) have not yet been filed. Just like documents received through the U.S. Mail, documents received
    through the Electronic Document Submission System (“EDSS”) will not be considered filed until court staff have uploaded
    them into the Court’s Case Management/Electronic Case Filing System (“CM/ECF”). Documents submitted using EDSS
    should be processed within 1-2 business days of receipt. However, the date of EDSS submission will be considered the
    filing date for any documents received through EDSS and later filed into CM/ECF.

    If you are registered for electronic service of documents and receiving e-service in this case, you will receive a Notice of
    Electronic Filing (“NEF”) from the CM/ECF System as soon as each document listed above has been filed. (Click here for
    information about registering for electronic service or to add e-service in this case.) If you are not registered for electronic
    service, you may check the status of your documents by checking the docket for your case on PACER
    (https://pacer.uscourts.gov). Please wait at least two business days after receiving this email and check the docket for
    your case on PACER before contacting the Court regarding the status of documents submitted through EDSS.

    If you are trying to file a document in a case pending before the United States Bankruptcy Court, or in any case pending in
    any court other than the United States District Court for the Central District of California, your document will not be filed
    and you will not receive any response to your EDSS submission. Likewise, if you are an attorney required by the local
    rules to file your documents electronically using the Court’s CM/ECF System, your document(s) will not be filed if
    submitted through EDSS, and you will not receive any further communication from the Court about your EDSS
    submission.

    Please include the tracking number listed above as your reference on any communications with the Court about this
    submission. We recommend that you keep this email for your records.

    Civil Intake
    United States District Court
    Central District of California
    Tel: (213) 894-3535




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                                   #:1301




 I was not focused enough to highlight how a bank error occurred at the time I gathered
 the included bank statements, when a bank teller typed my account number wrong and
 accidentally deposited my money in someone else's account shown on pg. 5 below.
 I included this information at my own detriment and forgot to explain its purpose.
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                                                               271of Page ID #:337
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                                   #:1307
                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

Case No. SACV 23-1788 JVS (KESx)                                           Date: November 29, 2023
Title      Robert V. Gonzales v. University of California Irvine, et al.



Present: The Honorable:      James V. Selna, U.S. District Court Judge


                  Elsa Vargas                                             N/A
                  Deputy Clerk                                   Court Reporter / Recorder

         Attorneys Present for Petitioner:                  Attorneys Present for Respondent:
                      N/A                                                 N/A

Proceedings (In Chambers): Order Re: Request to Proceed In Forma Pauperis (ECF No. 27)

       On September 25, 2023, Plaintiff filed a Complaint and a Request to Proceed In Forma
Pauperis (“IFP”). (ECF No. 1, 3.) On October 3, 2023, the Court denied the Request in part and
ordered Plaintiff to pay a filing fee of $200. (ECF No. 18.) On November 15, 2023, the Court
received a financial entry of $402 from Plaintiff. (ECF No. 26.)

      Now pending is Plaintiff’s second IFP Request, filed on November 20, 2023. (ECF No. 27.)
The Request is accompanied by an up-to-date financial statement. (ECF No. 28.)

       Because Plaintiff has paid the full filing fee, his request to proceed in forma pauperis is
denied as moot. (ECF No. 27.) The denial is without prejudice to Plaintiff requesting a partial
refund of filing fees that may have been overpaid. See Arena v. Cervantes, 2021 WL 5139499, at *1
(E.D. Cal. Nov. 4, 2021) (granting refund of overpayment of filing fee).




                                                                                                   :
                                                                   Initials of Preparer           eva




CV-90 (03/15)                          Civil Minutes – General                               Page 1 of 1
Case 8:23-cv-01788-JVS-KES Document 100 Filed 07/05/24 Page 28 of 139 Page ID
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Case 8:23-cv-01788-JVS-KES Document 100 Filed 07/05/24 Page 29 of 139 Page ID
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                                                       University of California,         07/05/24
                                                                                 Irvine Mail             Page
                                                                                             - Robert Gonzales    30 of 139 Page ID
                                                                                                               v. UCI
                                                                    #:1310
    Alright, I can extend the deadline. Sorry if the time of day of my responses hasn't been helpful.

    I have the understanding that the service process outlined on the UCOP website requires service be made on the UC
    headquarters because service on campus officials would not be "proper." And I did name individuals, but in their official
    capacity.

    If individuals in their official capacity are supposed to be served personally, and the document on the website is
    misleading or I am not understanding something else, I would appreciate that the university accepts the service on their
    behalf.

    I also have the understanding that any entity generally accepts service on behalf of its officials without agreement, unless
    the entity is claiming that the acts by the individuals in question were not official duties for example. If I am
    misunderstanding these two main characteristics of the service, I would appreciate if you could show me what other
    policies relevant to the double-negative in the service process document I am missing.

    Thank you.
    [Quoted text hidden]



  Robert Vincent Gonzales <rvgonza1@uci.edu>                                                                Fri, Dec 15, 2023 at 2:22 PM
  To: John Gherini <John.Gherini@ucop.edu>

    Hi John,

    Is there any time in late December or any other time this month you could meet again to start putting together a discovery
    plan?
    [Quoted text hidden]



  John Gherini <John.Gherini@ucop.edu>                                                                    Mon, Dec 18, 2023 at 3:03 PM
  To: Robert Vincent Gonzales <rvgonza1@uci.edu>


    Robert,



    We can schedule a discovery meeting in late December. For now, please consider the attached stipulation based on what
    we discussed. If you agree, I can add you signature, or you can add it as well.



    Let me know if you have any questions.

    [Quoted text hidden]


          Gonzales Stipulation to Extend Time (4853-9932-7127.1).pdf
          142K


  Robert Vincent Gonzales <rvgonza1@uci.edu>                                                               Tue, Dec 19, 2023 at 4:27 PM
  To: John Gherini <John.Gherini@ucop.edu>

    Hi,

    You seemed to indicate on Friday that I can start moving forward with discovery now that we've held an initial conference,
    so I've already submitted a proposal for a two phase discovery plan including initial requests for disclosure, as well as a
    request for the original 1/26/24 extension date and an extension for the final discovery plan.

    As for the service process, you vaguely indicated that the procedure published on the website is misleading when I asked
    you directly on Friday. The document you sent does not indicate what other policy is the correct service procedure if the
    UCOP website has the wrong one posted. On the day before our conference, Judge Selna made an order acknowledging
    an extension to receive the signed CV-108 waiver back as moot. I'm not so sure it is the published service procedure that
    is misleading.

https://mail.google.com/mail/u/7/?ik=4f0ec289f7&view=pt&search=all&permthid=thread-f:1784378607670636525&simpl=msg-f:17843786076706365…   3/32
7/1/24, 8:56Case
            PM   8:23-cv-01788-JVS-KES           Document         100 Filed
                                                   University of California,         07/05/24
                                                                             Irvine Mail             Page
                                                                                         - Robert Gonzales    31 of 139 Page ID
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    Would you be available this Friday or early next week to go over things more thoroughly and try to finalize a discovery
    plan? And have you had a chance to look over my request for a stipulation?
    [Quoted text hidden]



  John Gherini <John.Gherini@ucop.edu>                                                                     Tue, Dec 19, 2023 at 5:46 PM
  To: Robert Vincent Gonzales <rvgonza1@uci.edu>


    Robert,



    Before we do discovery, we need to get the pleadings sorted out and the parties into the case that you want in. Please
    sign the attached stipulation, or you can simply respond to me that the stipulation is acceptable to you so I can get this
    filed.

    [Quoted text hidden]


          Gonzales Stipulation to Extend Time (4853-9932-7127.1).pdf
          142K


  Robert Vincent Gonzales <rvgonza1@uci.edu>                                                               Tue, Dec 19, 2023 at 7:38 PM
  To: John Gherini <John.Gherini@ucop.edu>

    Alright. I can't figure out what the real concern is if the last paragraph about accepting service is included. It seems to
    work out despite the document on the UCOP website.
    [Quoted text hidden]


          Gonzales Stipulation to Extend Time (4853-9932-7127.1).pdf
          172K


  John Gherini <John.Gherini@ucop.edu>                                                                    Wed, Dec 20, 2023 at 2:36 PM
  To: Robert Vincent Gonzales <rvgonza1@uci.edu>


    Robert,



    The purpose of this email is to clear up a couple things.



    First, I said it would be fine to schedule a discovery conference during which we could discuss what types of discovery
    and information you would like the University to search for. However, I did not say it was appropriate to immediately
    proceed with discovery when the pleadings are still not resolved. It is also unclear to me what you mean when you
    indicate below that you submitted discovery requests, as I do not believe those were served on me.



    Second, on the service of process issue, I think that matter is resolved. I can accept by email service, any documents
    that you would like to serve on the individual named defendants.



    I would be happy to set up a time to speak with you next week. Please let me know if there is a date and time that works
    on your end.

    [Quoted text hidden]



  Robert Vincent Gonzales <rvgonza1@uci.edu>                                                              Wed, Dec 20, 2023 at 6:17 PM
  To: John Gherini <John.Gherini@ucop.edu>
https://mail.google.com/mail/u/7/?ik=4f0ec289f7&view=pt&search=all&permthid=thread-f:1784378607670636525&simpl=msg-f:17843786076706365…   4/32
7/1/24, 8:59Case
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    Anytime before 4 that works for you. I think I can speak from thr top of my head, but I'd like a little time to prepare.
    [Quoted text hidden]



  John Gherini <John.Gherini@ucop.edu>                                                                       Fri, Jan 5, 2024 at 10:04 AM
  To: Robert Vincent Gonzales <rvgonza1@uci.edu>


    We can do it Monday as well if that is more helpful to you.

    [Quoted text hidden]



  Robert Vincent Gonzales <rvgonza1@uci.edu>                                                                 Fri, Jan 5, 2024 at 11:01 AM
  To: John Gherini <John.Gherini@ucop.edu>

    That could work better. I'm up for whatever works best for you.

    Most of the points you raised are simple enough to speak about from the top of my head. One is more significant. Can
    you guess which is which?
    [Quoted text hidden]



  John Gherini <John.Gherini@ucop.edu>                                                                       Sat, Jan 6, 2024 at 9:50 AM
  To: Robert Vincent Gonzales <rvgonza1@uci.edu>


    Robert,



    I have a 30 min block available at 10 on Monday. I will send you a zoom link for that.

    [Quoted text hidden]



  Robert Vincent Gonzales <rvgonza1@uci.edu>                                                               Sun, Jan 7, 2024 at 11:59 PM
  To: John Gherini <John.Gherini@ucop.edu>

    Alright, thank you. I will be there.
    [Quoted text hidden]



  Robert Vincent Gonzales <rvgonza1@uci.edu>                                                               Mon, Jan 8, 2024 at 10:42 AM
  To: John Gherini <John.Gherini@ucop.edu>

    This outline of claims is also included in my documents already submitted to the court, just so you know.

    My clarified areas of concern are 2023 administrative complications (Exhibits A), 2020 cryptic retaliatory scandal (Exhibits
    B), Las Lomas apartments planning (Exhibits C), and direct threat of retaliation by a university employee (Exhibits D).
     Not including discovery exhibits, Exhibits A are broken up into student conduct issues (A1, 3-5, 9-12) and whistleblower
    issues (A2, 6-8, 11-14). The student conduct issues are i) undue denial of my academic liberties during the entire
    remainder of my enrollment, ii) failure to investigate the unknown bias or otherwise retaliatory behavior of Mr. Coronel,
    and iii) failure to move forward with the academic hold procedure except as an exchange in litigation. The whistleblower
    issues are i) defective procedure for the OAISC to investigate complaints about itself, ii) failure to investigate
    unconscionable 2020 student conduct issues, iii) failure to investigate extra-conduct matters with faint relevance to
    conduct matters, and iv) failure to investigate significant matters on campus overlooked by police discretion. Exhibits B
    are broken up into i) cryptic campus housing maintenance, ii) housing food safety negligence, iii) retaliatory or
    discriminatory harassment using conduct and quarantine policy (B1-7, 9-10), iv) equal protections issue, v) undue third-
    party denial of an employment opportunity (B8), vi) destruction of financial aid qualifications by means of a prejudicial,
    unauthorized medical diagnosis, and vii) pattern of confidentiality issues. Exhibits C and D are not further broken up into
    areas of concern.

    I hope it helps. Thank you.
    [Quoted text hidden]


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  Robert Vincent Gonzales <rvgonza1@uci.edu>                                                                Tue, Jan 9, 2024 at 12:00 AM
  To: John Gherini <John.Gherini@ucop.edu>

    I'm sorry if the way I speak can be unpleasant. I would largely attribute that to the
    unpleasantness of not being heard for three years and playing gotcha. Here is a set of
    responses to the email you sent outlining the several points which we discussed
    today. You have witnessed how I am quick not to take legal advice, but please try to put
    yourself in my shoes because I just have too many "procedural and substantive"
    reasons to question even my own lawyer in that case.

    1. Amd XI: The text of the amendment reads "The judicial power of the US shall not be construed to extend to any
    suit in law or equity, commenced or prosecuted against one of the United States by ci zens of another State, or by
    ci zens or subjects of any foreign state." The keywords poten ally barring the jurisdic on of federal courts in my case
    seem to be "another State" and "foreigner" because I am a ci zen of this State. If current precedent is misconstruing
    the amendment, there is simply too large of a body of overturned precedents of a like manner that demonstrate the
    possibility for human errors to occur by means of judicial power as much as in any other place in society. For
    example, Reed v. Reed (1971) established for the first me that the scope of the 14th Amendment is not limited to
    race rela ons, but in fact includes other ma ers of equal protec ons such as gender equality. I am interested to see
    how the language of Amd. XI has been subs tuted in cases or otherwise modified in the precedents you
    men oned, so I will get back to you on that, but the amendment nevertheless cannot say red if it actually says blue.

    2. Exhaus on: Several characteris cs of my case make federal courts the court of record: a) a case arising under the
    US Cons tu on, b) a no ce of a achment on land of a trademark federal subsidiary, and c) a case aﬀec ng a public
    minister. First and foremost, the State of California has criminalized due process in the form of authen c record-
    keeping under certain condi ons by confla ng "private person" and "oﬃcial du es." If a State criminalizes laws made
    under the authority of the United States, Ar cle III would logically be the ini al source of my standing. Imagine
    my reasonable expecta ons of the outcome of such a trial in State courts as a filer if I had to go there first in this case,
    paired with the poli cs where it doesn't belong that I experienced. If it were not for the due process area, what else
    can someone in my posi on be expected to think of how to iden fy the correct venue based on the characteris cs I
    highlighted in this paragraph?

    3A. No Cognizable Theory: Our discussion on this topic today was not par cularly focused on what I am missing when
    I asked that ques on. For example, the plain meaning of Arroyo Vista housing du es, as well as the du es of 99% of
    other university oﬃces and other func ons of society, do not include cer fied power to make a medical diagnosis.
    Medical diagnos cs amounts to a serious, exclusive authority, does it not? The repercussions of the inverse are
    absurdly defec ve and insane. Is the opposing argument that the topic has never been the focus of a judicial
    determina on before? Because that is also untrue. As a student who is fairly well-tested in my own experiments in
    the field of decep on detec on, I cannot imagine our discussions on this topic today were anything but a kind of test.
    The story kept changing when our conversa on was focused on unconscionability. It morphed from "you've never
    heard of it" to "it's not a legal theory" to "I don't see how it applies" to "it doesn't eﬀect damages." If you didn't
    mean what you said, what do you want me to expect? I could illustrate a similar story of changing stories I like to
    illustrate about a "face-ta oo guy" because it is really funny. The truth is there are several established theories that I
    named as well as the two main, directly propor onal past cases against the same university which I cited in my
    ini a ng documents, and it showed when I men oned them today. Will you please tell me what I am missing if you
    maintain your opinion?

    3B. Implausible Undeniability: I'm sorry, but if I understand your objec on correctly, I am not merely "reci ng the
    elements of a cause of ac on" and then "suppor ng them" with "conclusory statements" like some kind of prejudicial
    inves ga on, like the one I have demonstrated. But seriously? Did you not not pick up on the "unoﬃcial medical
    diagnosis?" How about the level of harassment for an undiscovered-in-whole intent throughout the student conduct
    process? Have you go en a chance to look over the whistleblower materials I sent much? I find your characteriza on
    ironically oﬀensive. There are also a lot of materials related to discovery which we haven't really go en into yet, like
    that part where the case aﬀects a public minister. As for the no ce of a achment, you are s ll busy with the rest so
    we haven't go en there yet. But I will men on in advance how funny it would be to insist that the state of par cular
    aspects of our economy will not provide a body of evidence showing that my rights are injured as well as those of
    many others, in a way that can be characterized as "feudalism."
    3C. Lack of Clarity: You got me, in the sense that my filings are not well organized. I am a student, this is complex
    li ga on, and it shows. That does not mean it is not a huge stretch to predictably say that my case lacks a cognizable
    theory and plausibility in the face of everything I have filed. In fact, to say my case lacks injury and cause while at the
    same me saying it is not clear seems like far more of a stretch because it is a contradic on. Kind of like "a naked
    asser on devoid of further factual enhancement." I have submi ed the evidence, and I can ar culate it's depth, in
https://mail.google.com/mail/u/7/?ik=4f0ec289f7&view=pt&search=all&permthid=thread-f:1784378607670636525&simpl=msg-f:1784378607670636…   10/32
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    more than half an hour, so now you have to point out what am I missing if your opinion is that my case is not plausible
    and has no basis in law. Knowing this, I clarified and outlined the inquiries from my original complaint in a more
    defini ve statement filed on 12/22/23.


    Today, you said that you did not even know about the "unofficial medical diagnosis" named in verbatim in
    my documents when I asked about how much of my case you have looked through. I responded by
    mentioning how hard it is to make serious conclusions without looking at the evidence. Not knowing about
    key elements of the case, and their evidence, will prove to be a larger contributing factor to the inability to
    "substantively respond" to my complaint than its initial vagueness. If you say you do not think my case is
    plausible and has no basis in law, we need to schedule a window of time larger than half an hour this
    week to go through the lack of clarity so you can have the opportunity to look through it enough to say that I
    don't have a case.

    Thank you. I hope to hear back soon.
    [Quoted text hidden]



  Robert Vincent Gonzales <rvgonza1@uci.edu>                                                                Thu, Jan 11, 2024 at 5:08 PM
  To: John Gherini <John.Gherini@ucop.edu>

    Hi,

    Sorry again for the difficulties that come with the difficulties of my case.

    Despite you saying you missed a key area, I figured out which notices you are missing relevant to our discussion.

    Would you like to schedule another discussion early tomorrow or sometime early next week?

    Thank you.
    [Quoted text hidden]



  Robert Vincent Gonzales <rvgonza1@uci.edu>                                                                 Fri, Jan 12, 2024 at 3:55 PM
  To: John Gherini <John.Gherini@ucop.edu>

    Here are the additional laws relevant to the case as well as the remaining whistleblower exhibits I previously asked to
    release through the discovery process.

    I will look at the case law for Amd. XI today

    I'm sorry about how this may affect your response to my complaint. Identifying missing parts, adjusting accordingly, and
    double checking premises will likely be a theme throughout my case.

    Hope to hear back soon.
    [Quoted text hidden]


     4 attachments
          52- Whistleblower Notice II (1-11).pdf
          256K
          53- UC Notice II (1-11).pdf
          1133K
          51- Whistleblower Notice I (1-11).pdf
          4245K
          50- 127B(11-14) (1-11).pdf
          5450K


  Robert Vincent Gonzales <rvgonza1@uci.edu>                                                              Sun, Jan 14, 2024 at 11:56 PM
  To: John Gherini <John.Gherini@ucop.edu>

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    Hey. I looked for those cases and I found the documents for one, but I don't think I found the right one for Mueller v. US.
    Would you mind sending me a copy of that one? I did find another case that cites it, and another one that's just perfect! I
    also found it funny that you said Amd. XI is relevant, which makes me wonder what other cases similar to the ones you
    cited you may have instead.

    I did notice that the one you sent and the first one I found is right on topic with our discussion the other day about
    establishing subject matter jurisdiction (1) according to Art. III S. 1 sources of authority and (2) on a factual basis. I can
    understand your hesitation and a strong feeling in your foundation over the nature of my due process claim, but to say I
    do not have a case on a factual basis without an explanation, in the face of the level of evidence I have provided for a
    complex case in my position, is a facial argument. Another layer is added to the conclusory nature of that side of your
    objection if you did not pick up on the "unauthorized medical diagnosis."

    As for federal standing, Steffel v. Thompson (415 US 452, 1974) hits squarely on the button for establishing federal
    jurisdiction over cases involving a State criminal statute related to an unclear constitutional claim. Federal courts are not
    precluded, and in fact, the US Supreme Court has found that it is the "paramount duty of the federal courts" to take up
    such cases involving the constitution and federal laws like mine based on one major test (at 462-462, 473). They also
    identified past cases on the fairness of placing a plaintiff [normally represented by an attorney] between acts asserted to
    be constitutional and subjecting themselves to a State criminal proceeding. A criminal statute has been invoked twice,
    within the university's control over my life and liberty. Like in past cases, Mr. Coronel did know that (1) making substantive
    lies in a conduct case are not within the scope of his duties, and (2) he would be preventing me from proving any lies by
    preventing me from keeping authentic records of an official proceeding. Preventing me from swiftly proving lies in a
    professional setting would not be an act of duty in good faith. Another important distinction is that my challenge is not
    against the State statute in whole, but only how it is wrongly abused within official duties. Quite commonly in fact. A wide
    variety of current events exemplify the ripeness for examining the growing, society-wide need to keep "police-like" audio
    recordings of other officials acting within their duties but in terms of "good evidence." Don't forget, my case also involves
    an irreparable injury: the destruction of my CalGrant qualifications by permanent disciplinary probation (as demonstrated
    between the UCI's FAFSA-CalGrant webpage and my cruel and unusual punishment). There are also just too many
    normal, everyday "theories" from my notes in the last two years for me to go over very easily like duty of care, supervisory
    liability, and several fundamental principles related to the adverse boundaries of everyday American freedom. There is
    also the affordable housing issue according to federal statute and two other constitutional provisions, which is what I
    should have put in my previous email outlining areas of Art. III. exhaustion instead of 'claiming lands under federal grants.'

    "Silvey" and "Brooker" provide me with such a level of ironic tools for guiding through establishing my claims that I feel like
    you knew that when you selected those cases for me to search for. Again, I am sorry for what would amount to
    incompetence if I had spent my time studying court procedure and university processes. I don't know how busy you are,
    but I guess I would ask if you would test my authenticity in ways that didn't amount to being so distressing to my focus,
    still suspended in a state of not knowing where my planned future I worked for most of my life towards is going.

    I think these developments will significantly affect the way you have set up your response above.

    [Quoted text hidden]




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  Robert Vincent Gonzales <rvgonza1@uci.edu>                                                              Tue, Jan 23, 2024 at 12:28 AM
  To: John Gherini <John.Gherini@ucop.edu>

    Hi, I can also accept all future service by email.

    I'm still sorting through the contents of your response.

    I also didn't realize that you didn't get documents. I know I sent one pleading doc with a note asking you to view it through
    the online system for a large document (I think Doc. 16), but that should have only been one. The pleadings for 6 and 16


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    are listed in my data with the other physically served documents, so I didn't email them. Would you like me to email
    everything in the original complaint file on my computer?

    I've obviously been ahead of myself with discovery because there is a lot going on here. Do you have any time this week
    to start taking those steps? I know you didn't have an obligation to inform me of relevant laws before making a response,
    and I've simply made it unpleasant for you. But please understand my situation. And I would also like to have a
    discussion about State due process in the case that a federal trademark university is exclusively a State instrumentality.

    Thanks.
    [Quoted text hidden]



  Robert Vincent Gonzales <rvgonza1@uci.edu>                                                               Sun, Jan 28, 2024 at 9:23 PM
  To: John Gherini <John.Gherini@ucop.edu>

    Hi, I guess I thought I would send the rest when we scheduled another conference, thinking we would have started
    sooner. Here are the rest of the documents at cause. There are obviously a bunch of administrative documents like
    Judge's orders to my navigation of the process. Are you getting them mailed to you, or am I supposed to send those too?

    Also, your response shows that you may have not even looked through the parts of my case that you did have access to.
    For example, you confuse Mr. Coronel and Dr. Tau, you conflate "the" investigator Mr. Coronel with "an" investigator from
    the OAISC, whom you stated I am refusing to talk to even though my emails demonstrate that I have been trying to talk
    with both for months separately, and you stated that a real event central to and demonstrated by my case is an
    "allegation."

    I understand the almost natural strategy of saying I filed new claims, but do you really not see the correlations between
    my original documents and my clarifications? Do I really have 'zero' facts or stated claims that purport the idea of any
    theory entitling relief?

    The 14th day leading up to March 11th is February 26th, and 21 days leading up is February 19th. Given that my, not
    nonexistent, but disorganized claims are understandably difficult to navigate, it would be a good idea to schedule several
    conferences this week and next to try to establish the clarity you require.
    [Quoted text hidden]


     7 attachments
          6- CV-66 original.pdf
          175K
          16- 9-29 filing.pdf
          1435K
          37- Initial Disclosure & Discovery Plan (12-18).pdf
          97K
          38- Extension and Scheduling Conference (12-18).pdf
          98K
          46- G92 (12-22).pdf
          156K
          42- 127C-D (12-22).pdf
          105K
          56- Steffel v. Thompson (1-15).pdf
          934K


  Robert Vincent Gonzales <rvgonza1@uci.edu>                                                                Thu, Feb 8, 2024 at 9:29 PM
  To: John Gherini <John.Gherini@ucop.edu>

    Hi, do you want to start talking about finalizing a discovery report?
    [Quoted text hidden]



  Robert Vincent Gonzales <rvgonza1@uci.edu>                                                              Sun, Feb 11, 2024 at 11:11 PM
  To: John Gherini <John.Gherini@ucop.edu>
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    Yes, no?
    [Quoted text hidden]



  John Gherini <John.Gherini@ucop.edu>                                                                     Mon, Feb 12, 2024 at 8:58 AM
  To: Robert Vincent Gonzales <rvgonza1@uci.edu>


    Yes, We can schedule a time to talk this week.

    [Quoted text hidden]



  Robert Vincent Gonzales <rvgonza1@uci.edu>                                                               Mon, Feb 12, 2024 at 2:07 PM
  To: John Gherini <John.Gherini@ucop.edu>

    Alright, cool.

    These half hour windows aren't working. I'm sorry if you feel like I have filed new claims, that well-documented, real-world
    events that have fundamentally impacted the course of my life are "allegations," and everything else.

    We need to schedule enough time to discuss a discovery plan and probably really, really analyze my pleadings and
    exhibits. What day is best for you to go into more depth?
    [Quoted text hidden]



  Robert Vincent Gonzales <rvgonza1@uci.edu>                                                              Tue, Feb 20, 2024 at 11:14 AM
  To: John Gherini <John.Gherini@ucop.edu>

    Hello
    [Quoted text hidden]



  John Gherini <John.Gherini@ucop.edu>                                                                   Wed, Feb 21, 2024 at 10:45 AM
  To: Robert Vincent Gonzales <rvgonza1@uci.edu>


    Happy to set up a one hour call. Needs to me next week. Let me know when you are available.




    From: Robert Vincent Gonzales <rvgonza1@uci.edu>
    Sent: Tuesday, February 20, 2024 11:15 AM
    To: John Gherini <John.Gherini@ucop.edu>
    Subject: Re: Robert Gonzales v. UCI



    Hello



    On Mon, Feb 12, 2024, 2:07 PM Robert Vincent Gonzales <rvgonza1@uci.edu> wrote:

       Alright, cool.



       These half hour windows aren't working. I'm sorry if you feel like I have filed new claims, that well-documented, real-
       world events that have fundamentally impacted the course of my life are "allegations," and everything else.


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    When would you like to meet and confer?
    [Quoted text hidden]



  Robert Vincent Gonzales <rvgonza1@uci.edu>                                                              Mon, May 20, 2024 at 4:56 AM
  To: John Gherini <John.Gherini@ucop.edu>

    Hi,

    I've been working on the most recent case documents lately, and I just remembered that you still need to sign the rule
    26(f) joint report.

    Will you be ready to meet and confer about it so you can sign it?
    [Quoted text hidden]


          Rule 26 Joint Report (4853-9932-7127.3).pdf
          225K


  Robert Vincent Gonzales <rvgonza1@uci.edu>                                                              Mon, May 20, 2024 at 4:31 PM
  To: John Gherini <John.Gherini@ucop.edu>

    When do you have time to discuss my new motions?
    [Quoted text hidden]



  Robert Vincent Gonzales <rvgonza1@uci.edu>                                                             Mon, May 20, 2024 at 11:46 PM
  To: John Gherini <John.Gherini@ucop.edu>

    I'm sorry if the facts of my case involving irreparable injuries to my life and procedural due process are as extreme as they
    sound.

    Can we please start moving forward?
    [Quoted text hidden]



  Robert Vincent Gonzales <rvgonza1@uci.edu>                                                             Sun, May 26, 2024 at 11:21 PM
  To: John Gherini <John.Gherini@ucop.edu>

    Here are some more documents.

    Are you ready to start discussing the topic of irreparable injury, or any other area of my pleadings or next step?
    [Quoted text hidden]


     3 attachments
          97(1)- Irreparable Order (5-21).pdf
          212K
          97- Irreparable TRO (5-21).pdf
          887K
          5-21.pdf
          3823K


  Robert Vincent Gonzales <rvgonza1@uci.edu>                                                               Thu, May 30, 2024 at 2:48 AM
  To: John Gherini <John.Gherini@ucop.edu>

    Hi Mr. Gherini, are you ready to meet and confer?
    [Quoted text hidden]



  Robert Vincent Gonzales <rvgonza1@uci.edu>                                                                 Sat, Jun 8, 2024 at 5:14 PM

https://mail.google.com/mail/u/7/?ik=4f0ec289f7&view=pt&search=all&permthid=thread-f:1797323876927315877&simpl=msg-f:179732387692731587…   5/7
7/1/24, 8:58Case
            PM   8:23-cv-01788-JVS-KES
                                 University of Document
                                               California, Irvine100     Filed
                                                                 Mail - Rule     07/05/24
                                                                             26 Joint            Page 39 of(002).docx
                                                                                      Report (4853-9932-7127.3) 139 Page ID
  To: John Gherini <John.Gherini@ucop.edu>                        #:1319

    Hey, when can we start "meeting and conferring" to schedule a settlement conference and go over more disclosures? To
    release some pressure from my mind??
    [Quoted text hidden]



  Robert Vincent Gonzales <rvgonza1@uci.edu>                                                               Tue, Jun 18, 2024 at 8:02 PM
  To: John Gherini <John.Gherini@ucop.edu>

    Hi, when can we start "meeting and conferring" to schedule a settlement conference and go over more disclosures?
    [Quoted text hidden]



  Robert Vincent Gonzales <rvgonza1@uci.edu>                                                                Fri, Jun 21, 2024 at 11:11 AM
  To: John Gherini <John.Gherini@ucop.edu>



             CV-66+ (6-20).pdf


    [Quoted text hidden]


     3 attachments
          97(1)- Irreparable Order (5-21).pdf
          212K
          97- Irreparable TRO (5-21).pdf
          887K
          96.pdf
          3823K


  Robert Vincent Gonzales <rvgonza1@uci.edu>                                                               Sun, Jun 30, 2024 at 6:22 PM
  To: John Gherini <John.Gherini@ucop.edu>

    Hey. I'm going to appeal things past the deadline. Do you object?
    [Quoted text hidden]



  John Gherini <John.Gherini@ucop.edu>                                                                       Mon, Jul 1, 2024 at 9:16 AM
  To: Robert Vincent Gonzales <rvgonza1@uci.edu>


    Robert,


    The University does object and does not agree you can appeal decisions of the district court past the
    deadline. As I have stated before, I urge you to consider another path other than through litigation.


    John




    From: Robert Vincent Gonzales <rvgonza1@uci.edu>
    Sent: Sunday, June 30, 2024 6:23 PM
    To: John Gherini <John.Gherini@ucop.edu>
    Subject: Re: Rule 26 Joint Report (4853-9932-7127.3) (002).docx

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            PM   8:23-cv-01788-JVS-KES
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                                               California, Irvine100     Filed
                                                                 Mail - Rule     07/05/24
                                                                             26 Joint            Page 40 of(002).docx
                                                                                      Report (4853-9932-7127.3) 139 Page ID
                                                                  #:1320

    Hey. I'm going to appeal things past the deadline. Do you object?



    On Fri, Jun 21, 2024 at 11:11 AM Robert Vincent Gonzales <rvgonza1@uci.edu> wrote:




       [Quoted text hidden]

    [Quoted text hidden]
                                CV-66+ (6-20) pdfError! Filename not specified

  Robert Vincent Gonzales <rvgonza1@uci.edu>                                                                 Mon, Jul 1, 2024 at 7:20 PM
  To: John Gherini <John.Gherini@ucop.edu>

    Woah, you can talk!

    Well if the court has a form for appealing a decision past a deadline, and the university rules that it is impossible, may I
    ask if that opinion is a modus operandi?
    [Quoted text hidden]


     2 attachments



                              ~WRD0000.jpg
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7/1/24, 9:05Case
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                                                                CM/ECF  Filed 07/05/24
                                                                                   Central DistrictPage 41 of 139 Page ID
                                                                #:1321
                                      Query       Reports         Utilities       Help    Log Out

                                                                                          (KESx),CLOSED,DISCOVERY,MANADR

                           UNITED STATES DISTRICT COURT
               CENTRAL DISTRICT OF CALIFORNIA (Southern Division - Santa Ana)
                    CIVIL DOCKET FOR CASE #: 8:23-cv-01788-JVS-KES


  Robert V. Gonzales v. University of California, Irvine et al                           Date Filed: 09/25/2023
  Assigned to: Judge James V. Selna                                                      Date Terminated: 05/07/2024
  Referred to: Magistrate Judge Karen E. Scott                                           Jury Demand: None
  Cause: 28:1331 Fed. Question                                                           Nature of Suit: 448 Civil Rights: Education
                                                                                         Jurisdiction: Federal Question
  Plaintiff
  Robert V. Gonzales                                                      represented by Robert V. Gonzales
                                                                                         PO Box 7804
                                                                                         South Lake Tahoe, CA 96158
                                                                                         530-523-3822
                                                                                         PRO SE


  V.
  Defendant
  University of California, Irvine
  TERMINATED: 03/25/2024

  Defendant
  Christopher Coronel
  Student Conduct Investigator, official
  capacity
  TERMINATED: 03/25/2024

  Defendant
  Rameen Talesh
  Dean of Studen Affairs, official capacity
  TERMINATED: 03/25/2024

  Defendant
  The Regents of The University of                                        represented by John G Gherini
  California                                                                             University of California
  TERMINATED: 03/25/2024                                                                 1111 Franklin St 8th Floor
                                                                                         Oakland, CA 94607
                                                                                         415-781-7900
                                                                                         Fax: 415-781-2635
                                                                                         Email: john.gherini@ucop.edu
                                                                                         ATTORNEY TO BE NOTICED

  Defendant


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                                                                CM/ECF  Filed 07/05/24
                                                                                   Central DistrictPage 42 of 139 Page ID

  Janet Nava Cardenas                                           #:1322
  official capacity

  Defendant
  Kathie Bakken Allen
  offical capacity

  Defendant
  Kirsten K Quanbeck
  official capacity

  Defendant
  Manny Tau
  individual

  Defendant
  Unknown OAISC Employees

  Defendant
  Ahn Pham
  official capacity

  Defendant
  The Regents of The University of
  California


   Date Filed            #    Docket Text
   09/25/2023            1 COMPLAINT against Defendants Christopher Coronel, Rameen Talesh, University of
                           California, Irvine. Case assigned to Judge James V. Selna for all further proceedings.
                           Discovery referred to Magistrate Judge Karen E. Scott., filed by Plaintiff Robert V.
                           Gonzales. (Attachments: # 1 Civil Cover Sheet) (et) (Entered: 09/28/2023)
   09/25/2023            2 CERTIFICATION AND NOTICE of Interested Parties filed by Plaintiff Robert V.
                           Gonzales. (et) (Entered: 09/28/2023)
   09/25/2023            3 REQUEST to Proceed In Forma Pauperis with Declaration in Support filed by Plaintiff
                           Robert V. Gonzales. (et) (Entered: 09/28/2023)
   09/25/2023            4 APPLICATION for Pro Se Litigant to electronically file documents in a specific case filed
                           by Plaintiff Robert V. Gonzales. (et) (Entered: 09/28/2023)
   09/26/2023            5 NOTICE TO FILER OF DEFICIENCIES in Filed Document RE: Complaint - (Discovery)
                           1 . The following error(s) was/were found: Document lacks required signature. In response
                           to this notice, the Court may: (1) order an amended or correct document to be filed; (2)
                           order the document stricken; or (3) take other action as the Court deems appropriate. You
                           need not take any action in response to this notice unless and until the Court directs you to
                           do so. (et) (Entered: 09/28/2023)
   09/26/2023            6 SUPPLEMENTAL to Complaint 1 filed by Plaintiff Robert V. Gonzales. (et) (Entered:
                           09/28/2023)
   09/26/2023            7 EXHIBIT A(3) PLEADING filed by Plaintiff Robert V. Gonzales. (et) (Entered:
                           09/28/2023)

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                                                    CM/ECF  Filed 07/05/24
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                                                    #:1323
   09/26/2023            8 EXHIBIT B (3-6) PLEADING filed by Plaintiff Robert V. Gonzales. (et) (Entered:
                           09/28/2023)
   09/26/2023            9 DECLARATION OF EXHIBIT B (1-7) filed by Plaintiff Robert V. Gonzales. (et)
                           (Entered: 09/28/2023)
   09/26/2023           10 DECLARATION OF EXHIBIT A (1-3) filed by Plaintiff Robert V. Gonzales. (et) (Entered:
                           09/28/2023)
   09/28/2023           11 NOTICE OF ASSIGNMENT to District Judge James V. Selna and Magistrate Judge Karen
                           E. Scott. (et) (Entered: 09/28/2023)
   09/28/2023           12 NOTICE TO PARTIES OF COURT-DIRECTED ADR PROGRAM filed. (et) (Entered:
                           09/28/2023)
   09/28/2023           13 Notice to Counsel Re Consent to Proceed Before a United States Magistrate Judge. (et)
                           (Entered: 09/28/2023)
   09/28/2023           15 ORDER by Judge James V. Selna: Granting 4 APPLICATION for Pro Se Electronic Filing.
                           The applicant must register to use the Courts CM/ECF System within five (5) days of
                           being served with this order. Registration information is available at the Pro Se Litigant E-
                           Filing web page located on the Courts website. Upon registering, the applicant will receive
                           a CM/ECF login and password that will allow him/her to file non-sealed documents
                           electronically in this case only. Any documents being submitted under seal must be
                           manually filed with the Clerk. (es) (Entered: 09/29/2023)
   09/29/2023           14 INITIAL ORDER FOLLOWING FILING OF COMPLAINT ASSIGNED TO JUDGE
                           SELNA. (eva) (Entered: 09/29/2023)
   09/29/2023           16 AMENDMENTS IN PART TO COMPLAINT, 1 filed by Plaintiff Robert V. Gonzales. (es)
                           (Entered: 09/29/2023)
   09/29/2023           17 CERTIFICATION AND NOTICE OF INTERESTED PARTIES (Local Rule 7.1-1) filed
                           by Plaintiff Robert V. Gonzales (es) (Entered: 10/02/2023)
   10/03/2023           18 ORDER by Judge James V. Selna: Denying 3 REQUEST to Proceed in Forma Pauperis
                           with Declaration in Support (CV-60). IT IS FURTHER ORDERED: Within 30 days of the
                           date of this Order, the filer must do the following: Plaintiff must pay the full filing fee of
                           200.00. (es) (Entered: 10/04/2023)
   10/05/2023           19 CERTIFICATION AND NOTICE of Interested Parties filed by Plaintiff Robert V.
                           Gonzales. (rolm) (Entered: 10/06/2023)
   10/05/2023           20 Notice of Procedures of service upon the University of CA filed by Plaintiff Robert V.
                           Gonzales. (es) (Entered: 10/10/2023)
   10/25/2023           21 Updated Exhibits A and B(2) After 9/28 Conditional Request Filed filed by Plaintiff Robert
                           V. Gonzales. (es) (Entered: 10/27/2023)
   10/25/2023           22 NOTICE OF LAWSUIT AND REQUEST FOR WAIVER OF SERVICE OF SUMMONS
                           filed by Plaintiff Robert V. Gonzales. (es) (Entered: 10/27/2023)
   10/25/2023           23 WAIVER OF SERVICE OF SUMMONS filed by Plaintiff Robert V. Gonzales. (es)
                           (Entered: 10/27/2023)
   10/25/2023           24 PROOF OF SERVICE filed by Plaintiff Robert V. Gonzales, re Exhibit (non-trial) 21 ,
                           Notice (Other) 23 , Notice (Other) 22 served on 10/25/2023. (es) (Entered: 10/27/2023)
   11/03/2023           25 PROOF OF SERVICE Executed by Plaintiff Robert V. Gonzales, upon Defendant
                           University of California, Irvine served on 11/3/2023, answer due 11/24/2023. Service of

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                              the Summons and Complaint were executed upon The University of CA Office of the
                              General Counsel, who is designated by law to accept service of process on behalf of The
                              Regents of the University of California in compliance with Federal Rules of Civil
                              Procedure by personal service. (es) (Entered: 11/06/2023)
   11/15/2023           26 FINANCIAL ENTRY: Received $402.00 Final initial partial filing fee from plaintiff
                           Robert Gonzales on $402.00, receipt number Pay.gov Tracking Id:, re: Order on Request to
                           Proceed In Forma Pauperis with Declaration in Support (CV-60), 18 . THERE IS NO PDF
                           DOCUMENT ASSOCIATED WITH THIS ENTRY. TEXT ONLY ENTRY. (chs) (Entered:
                           11/15/2023)
   11/20/2023           27 REQUEST to Proceed In Forma Pauperis, Declaration in Support filed by plaintiff Robert
                           V. Gonzales. (lc) (Entered: 11/21/2023)
   11/20/2023           28 UP TO DATE FINANCIAL STATEMENT re: REQUEST to Proceed In Forma Pauperis,
                           Declaration in Support 27 filed by Plaintiff Robert V. Gonzales. (lc) Modified on
                           11/21/2023 (lc). (Entered: 11/21/2023)
   11/20/2023           29 AMENDMENT OF NAME OF DEFENDANT ON PREVIOUSLY SUBMITTED CV 30
                           TO CORRECT DEFENDANT ON OCTOBER 5TH 19 filed by Plaintiff Robert V.
                           Gonzales (lc) (Entered: 11/21/2023)
   11/20/2023           30 NOTICE TO CLARITY FEDERAL QUESTION filed by plaintiff Robert V. Gonzales. (lc)
                           (Entered: 11/21/2023)
   11/20/2023           31 REQUEST FOR EXTENTION TO SERVE DEFENDANT filed by plaintiff Robert V.
                           Gonzales. (lc) (Entered: 11/21/2023)
   11/29/2023           32 MINUTES (IN CHAMBERS): Order Re: Request to Proceed In Forma Pauperis by Judge
                           James V. Selna: Now pending is Plaintiff's second IFP Request, filed on 11/20/2023 27 .
                           The Request is accompanied by an up-to-date financial statement. Because Plaintiff has
                           paid the full filing fee, his request to proceed in forma pauperis is denied as moot. The
                           denial is without prejudice to Plaintiff requesting a partial refund of filing fees that may
                           have been overpaid. Court Reporter: N/A. (gk) (Entered: 11/30/2023)
   12/04/2023           33 Preemptive Notice for CV-004 (Affordable Housing Law) filed by Plaintiff Robert V.
                           Gonzales. (es) (Entered: 12/04/2023)
   12/04/2023           34 Notice for Relevant University Policies: Fair Hearing, Disciplinary Probation,
                           Confidentiality filed by Plaintiff Robert V. Gonzales. (es) (Entered: 12/04/2023)
   12/04/2023           35 REQUEST for Stipulation filed by Plaintiff Robert V. Gonzales. (es) (Entered: 12/04/2023)
   12/14/2023           36 MINUTES (IN CHAMBERS) Order Regarding Request for Extension and Request for
                           Stipulation by Judge James V. Selna: Plaintiff moves for an extension of time to serve the
                           proper Defendant, The Regents of the University of California 31 . Gonzales also moves
                           for a stipulation with Defendants 35 . Because Gonzales simply seeks to name the Regents
                           as the proper defendant, and is doing so within three months of filing his Complaint, the
                           Court finds there is no evidence of undue delay, bad faith, or dilatory motive. Therefore,
                           the Court GRANTS Gonzales leave to amend his Complaint. Having granted Gonzales
                           leave to amend, the Court finds that his request for an extension of time and stipulation are
                           moot because the party Gonzales seeks to name as a defendant, the Regents, were not privy
                           to his filings. See document for further details. Court Reporter: Not Present. (gk) (Entered:
                           12/15/2023)
   12/18/2023           37 DERAILED INITIAL REQUESTS FOR DISCLOSURE/DISCOVERY PLAN filed by
                           Plaintiff Robert V. Gonzales.(es) (Entered: 12/18/2023)


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                                                          #:1325
   12/18/2023           38 Definite Extension, Returned Waiver of Service of Summons, Scheduling Conference filed
                           by Plaintiff Robert V. Gonzales. (es) (Entered: 12/18/2023)
   12/21/2023           39 STIPULATION Extending Time to Answer the complaint as to The Regents of The
                           University of California answer now due 1/19/2024, filed by Defendant The Regents of
                           The University of California.(Attorney John G Gherini added to party The Regents of The
                           University of California(pty:dft))(Gherini, John) (Entered: 12/21/2023)
   12/22/2023           40 DECLARATION of Exhibits A(6-8) filed by Plaintiff Robert V. Gonzales. (es) (Entered:
                           12/26/2023)
   12/22/2023           41 DECLARATION of Exhibits A(9-12) and B(9-10) filed by Plaintiff Robert V. Gonzales.
                           (es) (Entered: 12/26/2023)
   12/22/2023           42 DECLARATION of Exhibits C-D, Request for Extension to File Exhibits for Complex
                           Litigation by a Student filed by Plaintiff Robert V. Gonzales. (es) (Entered: 12/26/2023)
   12/22/2023           43 NOTICE OF APPLICATION AND HEARING FOR WRIT TO ATTACH ORDER filed by
                           Plaintiff Robert V. Gonzales. (es) Modified on 12/27/2023 (es). (Entered: 12/26/2023)
   12/22/2023           44 [PROPOSED] RIGHT TO ATTACH ORDER AND ORDER FOR ISSUANCE OF WRIT
                           OF ATTACHMENT AFTER HEARING filed by Plaintiff Robert V. Gonzales. (es)
                           Modified on 12/27/2023 (es). (Entered: 12/26/2023)
   12/22/2023           45 NOTICE OF LODGING [Proposed] Writ of Attachment After Hearing filed by Plaintiff
                           Robert V. Gonzales re Notice (Other) 44 (es) Modified on 12/27/2023 (es). (Entered:
                           12/26/2023)
   12/22/2023           46 NOTICE of Manual Filing filed by Plaintiff Robert V. Gonzales of In addition to the four
                           audio recordings previously listed for lodging (Exhibits B(3-6)): SEE DOCUMENT FOR
                           FURTHER INFORMATION. (es) (Entered: 12/26/2023)
   12/27/2023           47 NOTICE TO FILER OF DEFICIENCIES in Filed Document RE: Declaration 40 ,
                           Declaration 41 , Declaration 42 . The following error(s) was/were found: Document lacks
                           required signature. Other error(s) with document(s): Application for a Right to Attach
                           Order (CV-4F) is missing. In response to this notice, the Court may: (1) order an amended
                           or correct document to be filed; (2) order the document stricken; or (3) take other action as
                           the Court deems appropriate. You need not take any action in response to this notice unless
                           and until the Court directs you to do so. (es) (Entered: 12/27/2023)
   12/27/2023           48 MINUTES (IN CHAMBERS) ORDER Denying Without Prejudice Plaintiff's Motion to
                           Compel Initial Disclosures (Dkt. 37.) by Magistrate Judge Karen E. Scott: The Court finds
                           this matter appropriate for resolution without oral argument. Fed. R. Civ. P. 78; L.R. 7-15.
                           For the reasons stated below, Plaintiff's Motion is DENIED without prejudice. Denying 37
                           Request for Discovery. [SEE DOCUMENT FOR FURTHER INFORMATION.] (es)
                           (Entered: 12/27/2023)
   12/27/2023           49 MINUTES (IN CHAMBERS) ORDER Denying Plaintiff's Motion for a Writ of
                           Attachment (Dkt. 43.) by Magistrate Judge Karen E. Scott: The Court finds this matter
                           appropriate for resolution without oral argument. Fed. R. Civ. P. 78; L.R. 7-15. For the
                           reasons stated below, Plaintiffs Writ Motion is DENIED. Denying 43 Motion for Writ.
                           [SEE DOCUMENT FOR FURTHER INFORMATION.] (es) (Entered: 12/27/2023)
   01/11/2024           50 DECLARATION OF EXHIBIT B(11-14) Filed filed by Plaintiff Robert V. Gonzales. (es)
                           (Entered: 01/11/2024)
   01/11/2024           51 Notice of US Whistleblower Policies Part I filed by Plaintiff Robert V. Gonzales. (es)
                           (Entered: 01/11/2024)

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                                                        #:1326
   01/11/2024           52 Notice of US Whistleblower Policies Part II filed by Plaintiff Robert V. Gonzales. (es)
                           (Entered: 01/11/2024)
   01/11/2024           53 Notice of US Policies for Abusive Conduct, Harassment, Discrimination (Line of Inquiry
                           B) filed by Plaintiff Robert V. Gonzales. (es) (Entered: 01/11/2024)
   01/12/2024           54 NOTICE TO FILER OF DEFICIENCIES in Filed Document RE: Notice (Other) 53 ,
                           Notice (Other) 52 , Notice (Other) 51 . The following error(s) was/were found: Other
                           error(s) with document(s): Fed. R. Civ. P. 5 no proof of service attached. L.R. 11-1 All
                           documents, except declarations, shall be signed by the attorney for the party or the party
                           appearing pro se. The name of the person signing the document shall be clearly typed
                           below the signature line. In response to this notice, the Court may: (1) order an amended or
                           correct document to be filed; (2) order the document stricken; or (3) take other action as
                           the Court deems appropriate. You need not take any action in response to this notice unless
                           and until the Court directs you to do so. (es) (Entered: 01/12/2024)
   01/12/2024           55 Written Notice of Proof of Service of Process filed by Plaintiff Robert V. Gonzales, served
                           on 1/12/2024. (es) (Entered: 01/16/2024)
   01/15/2024           56 Notice Outlining the Full Identification of Federal Subject Matter Jurisdiction filed by
                           Plaintiff Robert V. Gonzales. (es) (Entered: 01/16/2024)
   01/16/2024           57 NOTICE OF MOTION AND MOTION to Dismiss Case DEFENDANTS NOTICE OF
                           MOTION AND MOTION TO DISMISS PLAINTIFFS COMPLAINT PURSUANT TO RULE
                           12(b) OF THE FEDERAL RULES OF CIVIL PROCEDURE; MEMORANDUM OF
                           POINTS AND AUTHORITIES IN SUPPORT THEREOF filed by Defendant The Regents
                           of The University of California. Motion set for hearing on 3/11/2024 at 01:30 PM before
                           Judge James V. Selna. (Gherini, John) (Entered: 01/16/2024)
   01/16/2024           58 DECLARATION of John Gherini in support of NOTICE OF MOTION AND MOTION to
                           Dismiss Case DEFENDANTS NOTICE OF MOTION AND MOTION TO DISMISS
                           PLAINTIFFS COMPLAINT PURSUANT TO RULE 12(b) OF THE FEDERAL RULES OF
                           CIVIL PROCEDURE; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
                           THEREOF 57 DECLARATION OF JOHN GHERINI IN SUPPORT OF DEFENDANTS
                           MOTION TO DISMISS PLAINTIFFS COMPLAINT PURSUANT TO RULE 12(b) OF THE
                           FEDERAL RULES OF CIVIL PROCEDURE filed by Defendant The Regents of The
                           University of California. (Gherini, John) (Entered: 01/16/2024)
   01/16/2024           59 PROOF OF SERVICE filed by Defendant The Regents of The University of California, re
                           Declaration (Motion related),, 58 , NOTICE OF MOTION AND MOTION to Dismiss
                           Case DEFENDANTS NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS
                           COMPLAINT PURSUANT TO RULE 12(b) OF THE FEDERAL RULES OF CIVIL
                           PROCEDURE; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
                           THEREOF 57 served on 1/16/2024. (Gherini, John) (Entered: 01/16/2024)
   01/16/2024           60 ORDER SETTING RULE 26(f) SCHEDULING CONFERENCE by Judge James V.
                           Selna. Scheduling Conference set for 3/11/2024 at 1:30 PM before Judge James V. Selna.
                           Counsel shall file the Joint Rule 26 Meeting Report, with the completed Exhibit A, by
                           3/04/24 (7 days before). (ev) (Entered: 01/16/2024)
   01/18/2024           61 RESPONSE BY THE COURT TO NOTICE TO FILER OF DEFICIENCIES IN FILED
                           DOCUMENT RE: Notice (Other) 53 , Notice (Other) 52 , Notice (Other) 51 by Judge
                           James V. Selna. Filer shall consult the Notice of Deficiency and comply with all federal
                           and local rules when filing any future documents. (es) (Entered: 01/18/2024)
   01/18/2024           62 NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Document RE: NOTICE
                           OF MOTION AND MOTION to Dismiss Case DEFENDANTS NOTICE OF MOTION
                           AND MOTION TO DISMISS PLAINTIFFS COMPLAINT PURSUANT TO RULE 12(b) OF
https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?125124220846017-L_1_0-1                                                  6/10
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                              THE FEDERAL RULES OF CIVIL PROCEDURE; MEMORANDUM OF POINTS AND
                              AUTHORITIES IN SUPPORT THEREOF 57 . The following error(s) was/were found:
                              Local Rule 7-1.1 no notice of interested parties. In response to this notice, the Court may:
                              (1) order an amended or correct document to be filed; (2) order the document stricken; or
                              (3) take other action as the Court deems appropriate. You need not take any action in
                              response to this notice unless and until the Court directs you to do so. (es) (Entered:
                              01/18/2024)
   01/19/2024           63 RESPONSE BY THE COURT TO NOTICE TO FILER OF DEFICIENCIES IN FILED
                           DOCUMENT RE: NOTICE OF MOTION AND MOTION to Dismiss Case
                           DEFENDANTS NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS
                           COMPLAINT PURSUANT TO RULE 12(b) OF THE FEDERAL RULES OF CIVIL
                           PROCEDURE; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
                           THEREOF 57 by Judge James V. Selna. A notice of interested parties shall be filed no later
                           than 5 days from entry of this Order. (es) (Entered: 01/19/2024)
   01/19/2024           64 NOTICE of Interested Parties filed by Defendant The Regents of The University of
                           California, (Gherini, John) (Entered: 01/19/2024)
   02/15/2024           65 Response to Request for Sanction 57 filed by Plaintiff Robert V. Gonzales. (es) (Entered:
                           02/15/2024)
   03/04/2024           66 STATUS REPORT Joint Rule 26(f) Report filed by Defendant The Regents of The
                           University of California. (Gherini, John) (Entered: 03/04/2024)
   03/07/2024           67 MINUTES [IN CHAMBERS] Order Regarding Motion to Dismiss 57 by Judge James V.
                           Selna: Before the Court is Defendant Regents of the University of California's ("Regents")
                           motion to dismiss. (Mot., Dkt. No. 57 .) Plaintiff Robert V. Gonzales ("Gonzales") did not
                           timely file an opposition. For the following reasons, the Court GRANTS the motion
                           without prejudice.Gonzales is granted twenty days to replead. [SEE DOCUMENT FOR
                           FURTHER INFORMATION.] (es) (Entered: 03/07/2024)
   03/07/2024           68 Proposed Dates and Unusual Type of Harassment by Defense Counsel filed by Plaintiff
                           Robert V. Gonzales. (es) (Entered: 03/07/2024)
   03/07/2024           69 [IN CHAMBERS] ORDER by Judge James V. Selna: In light of the Court's order at
                           Docket No. 67 , the Scheduling Conference currently set on March 11, 2024, at 1:30 p.m.,
                           is CONTINUED to April 15, 2024 at 10:30 a.m. The Parties shall review and comply with:
                           (a) the Court's Order setting Scheduling Conference 60 , including on the issue of timely
                           filing the Joint Rule 26(f) Report with the completed Exhibit A, by April 8, 2024. THERE
                           IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (eva) TEXT ONLY
                           ENTRY (Entered: 03/07/2024)
   03/25/2024           70 CORRECTIONS TO REVERSE MOTION to Dismiss Case 57 filed by Plaintiff Robert V.
                           Gonzales. (ts) (Entered: 03/26/2024)
   03/25/2024           72 FIRST AMENDED COMPLAINT 1 against Defendants Janet Nava Cardenas, Kathie
                           Bakken Allen, Kirsten K Quanbeck, Manny Tau, Ahn Pham and Unknown OAISC
                           Employees filed by Plaintiff Robert V. Gonzales. (lom) (Entered: 03/27/2024)
   03/25/2024           73 [STRICKEN BY ORDER OF THE COURT SEE DKT. 76 ] APPLICATION FOR
                           TEMPORARY PROTECTIVE ORDER filed by Plaintiff Robert V. Gonzales. (lom)
                           Modified on 4/2/2024 (es). (Entered: 03/27/2024)
   03/25/2024           74 [DOCUMENT STRICKEN SEE DKT 46 ] APPLICATION [No. 2] FOR TEMPORARY
                           PROTECTIVE ORDER filed by Plaintiff Robert V. Gonzales. (lom) Modified on 4/2/2024
                           (es). (Entered: 03/27/2024)


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   03/27/2024           71 NOTICE TO FILER OF DEFICIENCIES in Filed Document re: Corrections to Reverse
                           Motion to Dismiss 70 . The following error was found: Case number missing from
                           document. In response to this notice, the Court may: (1) order an amended or correct
                           document to be filed; (2) order the document stricken; or (3) take other action as the Court
                           deems appropriate. You need not take any action in response to this notice unless and until
                           the Court directs you to do so. (ts) (Entered: 03/27/2024)
   03/27/2024           75 NOTICE TO FILER OF DEFICIENCIES in Filed Documents RE: APPLICATIONS for
                           Temporary Restraining Order 74 73 . The following errors were found: No proposed order
                           provided for either Application. Plaintiff added headers to the Applications. Headers are
                           auto-generated via CM/ECF; do not manually add headers. In response to this notice, the
                           Court may: (1) order an amended or correct document to be filed; (2) order the document
                           stricken; or (3) take other action as the Court deems appropriate. You need not take any
                           action in response to this notice unless and until the Court directs you to do so. (ts)
                           (Entered: 03/27/2024)
   03/28/2024           76 RESPONSE BY THE COURT TO NOTICE TO FILER OF DEFICIENCIES IN FILED
                           DOCUMENT RE: APPLICATION for Temporary Restraining Order 74 , APPLICATION
                           for Temporary Restraining Order 73 by Judge James V. Selna. The document is
                           STRICKEN. See document for further information. (es) (Entered: 04/02/2024)
   04/07/2024           77 JOINT REPORT Rule 26(f) Discovery Plan filed by Plaintiff Robert V. Gonzales. (es)
                           (Entered: 04/08/2024)
   04/08/2024           78 [AMENDMENT TO] RULE 26(f) REPORT filed by Defendant The Regents of The
                           University of California. (Gherini, John) Modified on 4/9/2024 (es). (Entered: 04/08/2024)
   04/09/2024           79 MINUTES [IN CHAMBERS] ORDER TO SHOW CAUSE RE DISMISSAL FOR LACK
                           OF PROSECUTION by Judge James V. Selna: Response to Order to Show Cause due by
                           4/15/2024. The Scheduling Conference set for April 15, 2024 at 10:30 a.m. is
                           CONTINUED to April 29, 2024 at 10:30 a.m. for an in person hearing. SEE DOCUMENT
                           FOR FURTHER INFORMATION. (es) Modified on 4/9/2024 (es). (Entered: 04/09/2024)
   04/10/2024           80 NOTICE OF MOTION AND MOTION to Dismiss Plaintiff's First Amended Complaint
                           Pursuant to Rule 12(b) of the Federal Rules of Civil Procedure filed by Defendant The
                           Regents of The University of California. Motion set for hearing on 5/13/2024 at 01:30 PM
                           before Judge James V. Selna. (Gherini, John) (Entered: 04/10/2024)
   04/10/2024           81 DECLARATION of John Gherini in support of Defendant's Motion to Dismiss Plaintiff's
                           First Amended Complaint NOTICE OF MOTION AND MOTION to Dismiss Plaintiff's
                           First Amended Complaint Pursuant to Rule 12(b) of the Federal Rules of Civil Procedure
                           80 filed by Defendant The Regents of The University of California. (Gherini, John)
                           (Entered: 04/10/2024)
   04/10/2024           82 PROOF OF SERVICE filed by Defendant The Regents of The University of California, re
                           Declaration (Motion related), 81 , NOTICE OF MOTION AND MOTION to Dismiss
                           Plaintiff's First Amended Complaint Pursuant to Rule 12(b) of the Federal Rules of Civil
                           Procedure 80 served on 4/10/2024. (Gherini, John) (Entered: 04/10/2024)
   04/12/2024           83 Supplement RESPONSE to Order to Show Cause, 79 filed by Plaintiff Robert V. Gonzales
                           (es) (Entered: 04/15/2024)
   04/12/2024           84 APPLICATION for Temporary Protective Order filed by Plaintiff Robert V. Gonzales. (es)
                           (Entered: 04/15/2024)
   04/12/2024           85 APPLICATION TEMPORARY PROTECTIVE ORDER filed by Plaintiff Robert V.
                           Gonzales. (es) (Entered: 04/15/2024)

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   04/12/2024           86 NOTICE OF LODGING TEMPORARY PROTECTIVE ORDER filed by Plaintiff Robert
                           V. Gonzales re APPLICATION for Temporary Protective Order Order 84 , APPLICATION
                           for Order 85 (es) (Entered: 04/15/2024)
   04/15/2024           87 JOINT REPORT Rule 26(f) Discovery Plan filed by Plaintiff Robert V. Gonzales. (es)
                           (Entered: 04/16/2024)
   04/24/2024           88 JOINT REPORT Rule 26(f) Report filed by Plaintiff Robert V. Gonzales. (es) (Entered:
                           04/25/2024)
   04/26/2024           89 OBJECTIONS to APPLICATION for Order 84 , APPLICATION for Order 85 Defendants'
                           Opposition to Plaintiff's Applications for Temporary Restraining Orders; Memorandum of
                           Points and Authorities in Support of Same filed by Defendant The Regents of The
                           University of California. (Gherini, John) (Entered: 04/26/2024)
   04/26/2024           90 JOINT RULE 26(f) REPORT filed by Plaintiff Robert V. Gonzales. (es) (Entered:
                           04/26/2024)
   04/26/2024           91 Response to Doc. #80, Supplemental OSC (2) 80 filed by Plaintiff Robert V. Gonzales. (es)
                           (Entered: 04/26/2024)
   04/29/2024           92 MINUTES OF SCHEDULING CONFERENCE held before Judge James V. Selna.
                           Counsel state their appearances. The Court DIRECTS the parties to follow Local Rule 7-3
                           before filing any motions. A separate trial scheduling order to issue. Court Reporter:
                           Sharon Seffens; Courtroom Deputy: Elsa Vargas; Plaintiff: Robert Gonzales, Pro Se;
                           Attorney for Defendant: John Gherini; Time in Court: 00:20. THERE IS NO PDF
                           DOCUMENT ASSOCIATED WITH THIS ENTRY. TEXT ONLY ENTRY. (eva) (Entered:
                           04/29/2024)
   04/29/2024           93 [IN CHAMBERS] ORDER RE SCHEDULING DATES by Judge James V. Selna: The
                           Court has read and considered the Rule 26(f) Report and sets the following dates: Jury
                           Trial October 28, 2025 at 8:30 a.m. Final PreTrial Conference October 6, 2025 at 11:00
                           a.m. Discovery Cut-off July 18, 2025. Expert Discovery Cut-off September 5, 2025. Law
                           and Motion Cut-off August 25, 2025 at 1:30 p.m. The Court orders that any settlement
                           discussions shall be completed not later than July 1, 2025. [SEE DOCUMENT FOR
                           FURTHER DETAILS AND DEADLINES.] (es) (Entered: 04/29/2024)
   04/29/2024           94 ORDER FOR JURY TRIAL SETTING DATES; PREPARATION FOR TRIAL; AND
                           GOVERNING ATTORNEY AND PARTY CONDUCT AT TRIAL before Judge James V.
                           Selna. (See Document for Details and Deadlines) (eva) (Entered: 04/29/2024)
   05/07/2024           95 MINUTES [IN CHAMBERS] Order Regarding Motion to Dismiss 80 , Applications for
                           Temporary Restraining Orders [84, 85] by Judge James V. Selna: Before the Court are
                           three motions. For the following reasons, the Court GRANTS the Motion to Dismiss
                           without prejudice and DENIES the Applications as moot. Granting 80 Motion to Dismiss;
                           Denying 84 Application for Order; Denying 85 APPLICATION for Order. [SEE
                           DOCUMENT FOR FURTHER INFORMATION.] (MD JS-6. Case Terminated) (es)
                           (Entered: 05/07/2024)
   05/21/2024           96 Corrections to Reverse Motion to Dismiss in Doc. 95 filed by Plaintiff Robert V. Gonzales.
                           (es) (Entered: 05/21/2024)
   05/23/2024           97 APPLICATION for Right to Attach Order, Temporary Protective Order, Etc filed by
                           Plaintiff Robert V. Gonzales. (Attachments: # 1 Proposed Order) (es) (Entered:
                           05/23/2024)




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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES - GENERAL
 Case No.       8:23-cv-01788-JVS-KES                             Date   March 7, 2024
 Title          Robert V. Gonzales v. Regents of the University of California

[Office of Information Technology] decision to delete my university account,” (2)
“expedited processing of my academic hold,” (3) “restoration of my ‘Handshake’
account to apply for jobs,” (4) “inquiry into faintly relevant matter about ‘affordable
housing’ and ‘feudalism,’” and (5) “inquiry by university into ‘50 unusual
coincidences.’” (Dkt. No. 6.) Although the specific claims or laws under which they are
brought are not clearly stated, the Court endeavors to decipher the pleadings, including
the civil cover sheet, as education civil rights and due process claims.

                                     II. LEGAL STANDARD

        Under Rule 12(b)(6), a defendant may move to dismiss for failure to state a claim
upon which relief can be granted. A plaintiff must state “enough facts to state a claim to
relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570
(2007). A claim has “facial plausibility” if the plaintiff pleads facts that “allow[] the
court to draw the reasonable inference that the defendant is liable for the misconduct
alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

       In resolving a 12(b)(6) motion under Twombly, the Court must follow a two-
pronged approach. First, the Court must accept all well-pleaded factual allegations as
true, but “[t]hreadbare recitals of the elements of a cause of action, supported by mere
conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678. Nor must the Court
“‘accept as true a legal conclusion couched as a factual allegation.’” Id. at 678–80
(quoting Twombly, 550 U.S. at 555). Second, assuming the veracity of well-pleaded
factual allegations, the Court must “determine whether they plausibly give rise to an
entitlement to relief.” Id. at 679. This determination is context-specific, requiring the
Court to draw on its experience and common sense, but there is no plausibility “where
the well-pleaded facts do not permit the court to infer more than the mere possibility of
misconduct.” Id.

      Especially in civil rights cases, a pro se plaintiff’s pleadings are liberally
construed to afford the plaintiff “the benefit of any doubt.” Akhtar v. Mesa, 698 F.3d
1202, 1212 (9th Cir. 2012) (quoting Bretz v. Kelman, 773 F.2d 1026, 1027 n.1 (9th Cir.
1985) (en banc)) (internal quotation marks omitted). If, however, a court finds that a pro
se complaint has failed to state a claim, dismissal may be with or without leave to amend.
Lopez v. Smith, 203 F.3d 1122, 1126–30 (9th Cir. 2000) (en banc). Pro se plaintiffs
should be granted leave to amend unless it is absolutely clear that the complaint’s
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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.       8:23-cv-01788-JVS-KES                                      Date    March 7, 2024
 Title          Robert V. Gonzales v. Regents of the University of California

deficiencies cannot be cured. Id. at 1130–31.

                                           III. DISCUSSION

         A.      Failure to File a Timely Opposition

       Gonzales failed to file a timely opposition.1 Under Local Rule 7-12, “[t]he Court
may decline to consider any memorandum or other paper not filed within the deadline set
by order or local rule,” and the failure to timely file any paper “may be deemed consent
to the granting or denial of the motion.” Under Local Rule 7-9, a party must file its
opposition papers “not later than twenty-one (21) days before the date designated for the
hearing of the motion.” The Local Rules apply to all litigants, including those
proceeding pro se. Boles v. Merscorp, Inc., No. CV 08-1989 PSG (Ex), 2008 WL
5225866, at *2 (C.D. Cal. Dec. 12, 2008).

       Although the Court could grant Regents’ motion on this basis, the Court has
discretion in determining whether to dismiss an action for failure to comply with the
Local Rules. Id. Furthermore, public policy favors the disposition of motions on the
merits. Accordingly, the Court will not deem Gonzales’s failure to timely file his
opposition as consent to the granting of the motion.

         B.      Motion to Dismiss

       Regents argue that the claims must be dismissed because the Complaint and
related pleadings allege “acts performed within the course and scope of official duties of
the University.” (Mot. at 3.) Regents contend that Gonzales’s filings do not allege “any
facts constituting a cause of action under any cognizable legal theory” but rather “a
series of vague, confusing, nondescript two-page documents.”2 The Court agrees. The


         1
         Gonzales filed a document with the caption “Response to Request for Sanction.” (Dkt. No.
65.) While it is not explicitly an opposition, the filing refers to legal issues and arguments raised in
Regents’ motion to dismiss. To the extent that it can be construed as an opposition, the Court finds the
document vague and difficult to follow such that it does not affect the merits of the instant motion.
         2
         Regents also argue that sovereign immunity bars Gonzales’s claims because the University of
California is an instrumentality of the State of California and immune from suits for injunctive relief in
CV-90 (06/04)                             CIVIL MINUTES - GENERAL                                   Page 3 of 4
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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES - GENERAL
 Case No.       8:23-cv-01788-JVS-KES                                Date   March 7, 2024
 Title          Robert V. Gonzales v. Regents of the University of California

allegations and the relief sought are unclear to the Court. See L.R. 7-4 (requiring a
motion to contain “a concise statement of the relief or Court action the Movant seeks”);
Fed. R. Civ. P. 8(a), (d) (requiring a “short and plain statement of the claim showing that
the pleader is entitled to relief,” and “[e]ach allegation must be simple, concise, and
direct”).

       Gonzales may be seeking civil rights and due process claims, but it is not entirely
clear. The factual allegations are difficult to follow, conclusory, and fall short of
supporting plausible claims. Gonzales appears to acknowledge the deficiency of the
pleading in the final sentence of the Complaint, stating, “I am not ready to bring my full
case.”

         Accordingly, the Court grants the motion to dismiss.

                                       IV. CONCLUSION

     For the foregoing reasons, the Court GRANTS the motion without prejudice.
Gonzales is granted twenty days to replead.

                 IT IS SO ORDERED.

      The Court finds that oral argument would not be helpful in this matter. Fed. R.
Civ. P. 78; L.R. 7-15. Accordingly, the Court VACATES the March 11, 2024, hearing.




federal court under the Eleventh Amendment. (Mot. at 9.) Because Gonzales’s claims and remedies are
so unclear, they fail on independent grounds. The Court thus does not reach Regents’ sovereign
immunity argument or any others it makes in its motion.
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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          8:23-cv-01788-JVS(KESx)                                         Date   April 9, 2024
 Title             Robert V. Gonzales v. University of California, Irvine et al



 Present: The                    James V. Selna, US District Court Judge
 Honorable
                          Elsa Vargas                                             Not Present
                         Deputy Clerk                                         Court Reporter


                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                             Not Present
 Proceedings:           (In Chambers)          ORDER TO SHOW CAUSE RE DISMISSAL
                                               FOR LACK OF PROSECUTION

       The Court, on its own motion, hereby ORDERS plaintiff(s) to Show Cause (OSC) in writing
no later than April 15, 2024, why sanctions should not be imposed and this action be dismissed for
lack of prosecution for failure to participate in and file a single Joint Rule 26 meeting report. The
Court will consider the filing of the following, as an appropriate response to this OSC, on or before
the above date:

X         Joint Rule 26(f) Report with the Court’s Attached Exhibit A

       It is the plaintiff’s responsibility to respond promptly to all orders and to prosecute the action
diligently, including filing proofs of service and stipulations extending time under Rule 55 remedies
promptly upon default of any defendant. All stipulations affecting the progress of the case must be
approved by the Court. Local Rule 7-1.

         The Scheduling Conference set for April 15, 2024 at 10:30 a.m. is CONTINUED
         to April 29, 2024 at 10:30 a.m. for an in person hearing.




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                                  UNITED STATES DISTRICT COURT                                             -6
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          8:23-cv-01788-JVS-KES                                       Date   May 7, 2024
 Title             Robert V. Gonzales v. Regents of the University of California et al.


 Present: The Honorable          James V. Selna, U.S. District Court Judge
                          Elsa Vargas                                          Not Present
                         Deputy Clerk                                        Court Reporter
                Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                          Not Present                                          Not Present

 Proceedings:           [IN CHAMBERS] Order Regarding Motion to Dismiss [80],
                        Applications for Temporary Restraining Orders [84, 85]


         Before the Court are three motions.

      Defendant Regents of the University of California (“Regents”) move to dismiss.
(Mot., Dkt. No. 80.) Plaintiff Robert V. Gonzales (“Gonzales”) opposed. (Dismiss
Opp’n, Dkt. No. 91.)

     Gonzales files two Applications for Temporary Restraining Orders (“TRO”).
(TRO Appl. I, Dkt. No. 84; TRO Appl. II, Dkt. No. 85.) The Regents opposed. (TRO
Opp’n, Dkt. No. 89.)

      For the following reasons, the Court GRANTS the Motion to Dismiss without
prejudice and DENIES the Applications as moot.

                                                    I. BACKGROUND

      This case largely derives from administrative actions surrounding Gonzales’s
suspension from the University of California, Irvine. (Dkt. No. 1.) The Court previously
dismissed Gonzales’s Complaint because its “factual allegations are difficult to follow,
conclusory, and fall short of supporting plausible claims.” (Dkt. No. 67.) On March 25,
2024, Gonzales filed a civil rights complaint, referred to here as the First Amended
Complaint (“FAC”). (FAC, Dkt. No. 72.) Gonzales has also filed with the Court a
number of documents designated as amendments or supplements. (See, e.g., Dkt. Nos.
16, 42, 65, 70.) The following allegations come from Gonzales’s FAC.
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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       8:23-cv-01788-JVS-KES                                Date   May 7, 2024
 Title          Robert V. Gonzales v. Regents of the University of California et al.

      The FAC makes its civil rights claims pursuant to 42 U.S.C. § 1983, and it lists
twelve civil rights violations:

         (1) undue term of disciplinary probation and therefore destruction of my
         financial aid qualifications in part; (2) several undue denials to investigate
         improper governmental activity; (3) undue delay of academic probation
         procedures; (4) undue denial of my right to gather authentic evidence of legal
         wrongdoing when I have no other way to prove the wrongdoing; (5) threat of
         the use of force of criminal law to intimidate and coerce; (6) improper use of
         student conduct procedure to harass, retaliate, or discriminate against a student;
         (7) undue delay of student conduct procedure to harass, retaliate, and/or
         discriminate against a student; (8) undue third-party denial of several
         employment and time-sensitive life opportunities; (9) inappropriate university
         discipline for actions committed while under duress; (10) use of quarantine
         procedure to harass, retaliate, and/or discriminate against a student; (11)
         dereliction of duty to intervene in student housing food safety issue; and (12)
         destruction of financial aid qualifications by means of a prejudicial,
         unauthorized medical diagnosis.

(FAC at 5.)

       The FAC states that while a grievance procedure is available, it was not completed
because Gonzales has “been restricted by defendants from completing two separate
grievance procedures as would normally be completed.” (Id. at 2 (citing Dkt. Nos. 10,
21).) The FAC names four defendants sued in their official capacities—Janet Nava
Cardenas (“Cardenas”), Kathie Bakken Allen (“Allen”), Kirsten K. Quanbeck
(“Quanbeck”), and Ahn Pham (“Pham”)—and one sued in an individual capacity, Manny
Tau (“Tau”). (Id. at 3–4.) The FAC briefly describes how each acted under color of law
with respect to Gonzales’s claims. (Id.) Cardenas acted under color of law by “[u]sing
her judgment to assign me to a mental health counselor as an alternative to directing me
to the Whistleblower Office and to not intervene in a student housing food safety issue in
the role of her official duties.” (Id. at 3.) Allen “[used] her judgment to provide me with
the first given reason not to investigate my whistleblower case and then forward it to a
secondary university compliance office in the role of her official duties.” (Id.)
Quanbeck “[used] her judgment to provide me with the second given reason not to
investigate my whistleblower case in the role of her official duties.” (Id.) Tau “[used]
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                                     #:1340
                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

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private business policies to attempt to prohibit students at a public university from
keeping audio recordings in all circumstances regardless of their nature.” (Id. at 4.)
Pham “[used] evasive means of communication in part to delay a 2021 appeal proceeding
for seven months.” (Id.)

       Gonzales seeks injunctive relief including the reversal of his disciplinary
probation, an investigation into “matters covered by Exhibits B-D regardless of whether
they touch on student conduct matters,” an expedited lifting of his academic hold, and
the development and implementation of “systemwide policies on keeping unpermitted
recordings of university officials and on rejecting sufficient corroborating evidence of
improper governmental activity.” (Id. at 6.) Gonzales also seeks to recover damages in
the amount of his CalGrant financial aid and “representative of the hardship [Gonzales
has] experienced.” (Id.)

                                      II. LEGAL STANDARD

        Under Rule 12(b)(6), a defendant may move to dismiss for failure to state a claim
upon which relief can be granted. A plaintiff must state “enough facts to state a claim to
relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570
(2007). A claim has “facial plausibility” if the plaintiff pleads facts that “allow[] the
court to draw the reasonable inference that the defendant is liable for the misconduct
alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

       In resolving a 12(b)(6) motion under Twombly, the Court must follow a two-
pronged approach. First, the Court must accept all well-pleaded factual allegations as
true, but “[t]hreadbare recitals of the elements of a cause of action, supported by mere
conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678. Nor must the Court
“‘accept as true a legal conclusion couched as a factual allegation.’” Id. at 678–80
(quoting Twombly, 550 U.S. at 555). Second, assuming the veracity of well-pleaded
factual allegations, the Court must “determine whether they plausibly give rise to an
entitlement to relief.” Id. at 679. This determination is context-specific, requiring the
Court to draw on its experience and common sense, but there is no plausibility “where
the well-pleaded facts do not permit the court to infer more than the mere possibility of
misconduct.” Id.

         Especially in civil rights cases, a pro se plaintiff’s pleadings are liberally
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construed to afford the plaintiff “the benefit of any doubt.” Akhtar v. Mesa, 698 F.3d
1202, 1212 (9th Cir. 2012) (quoting Bretz v. Kelman, 773 F.2d 1026, 1027 n.1 (9th Cir.
1985) (en banc)) (internal quotation marks omitted). If, however, a court finds that a pro
se complaint has failed to state a claim, dismissal may be with or without leave to amend.
Lopez v. Smith, 203 F.3d 1122, 1126–30 (9th Cir. 2000) (en banc). Pro se plaintiffs
should be granted leave to amend unless it is absolutely clear that the complaint’s
deficiencies cannot be cured. Id. at 1130–31.

                                         II. DISCUSSION

         A.      Motion to Dismiss

                 1.    Procedural Grounds for Dismissal

       In their Motion, the Regents note that the FAC does not name any of the three
defendants listed in the original Complaint: the Regents (named University of California,
Irvine in the pleading), Christopher Coronel (“Coronel”), and Ramen Talesh (“Talesh”).
(Mot. at 7–8.) The Regents argue that because the FAC does not name these defendants,
they must be considered dismissed from the case. (Id.) The Court agrees. The FAC
names five individuals, none of whom were parties to the original Complaint. As such,
the Regents, Coronel, and Talesh are dismissed.

                 2.    Substantive Grounds for Dismissal

       Although the Court previously dismissed Gonzales’s Complaint because “[t]he
allegations and the relief sought [were] unclear to the Court,” the FAC is only marginally
clearer. See L.R. 7-4 (requiring a motion to contain “a concise statement of the relief or
Court action the Movant seeks”); Fed. R. Civ. P. 8(a), (d) (requiring a “short and plain
statement of the claim showing that the pleader is entitled to relief,” and “[e]ach
allegation must be simple, concise, and direct”).

       The pleading now states that Gonzales is bringing a civil rights action under §
1983. Gonzales lists twelve “civil rights violations.” Gonzales does not specify,
however, which constitutional rights have been violated or how these enumerated
violations make up a cognizable legal theory. The FAC makes threadbare and
conclusory allegations that are, on their own, difficult to decipher without additional
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context and facts. The facts underlying the twelve enumerated violations, to the extent
they are scattered across the various supplements and amendments Gonzales has filed on
the docket, are not clear, organized, or concise enough to even suggest a legal theory or
plausible claim.

       In addition to the grounds discussed below, the lack of plausible factual
allegations and a legal theory on which to base the claims is an independent ground for
dismissing the FAC.

                 3.    Judicial Exhaustion

       The Regents argue that Gonzales’s claims must be dismissed because he did not
exhaust his judicial remedies by “first overturning the agency’s decision through a writ
of mandamus.” (Mot. at 15.) Although the Court declined to reach Regents’ arguments
pertaining to the Eleventh Amendment and judicial exhaustion in its prior Order because
the Complaint was unclear, the Court deems it prudent to address them here.

       Under the standard set forth in United States v. Utah Construction and Mining
Co., 384 U.S. 394 (1966) and adopted by California, federal courts give preclusive effect
to state administrative decisions if California courts would do so. Miller v. Cty. of Santa
Cruz, 39 F.3d 1030, 1032–33 (9th Cir. 1994). California Code of Civil Procedure §
1094.5 sets forth the process for review of administrative orders or decisions, which
commences with a plaintiff seeking a writ of mandate (or “mandamus”). See Cal. Civ.
Proc. Code § 1094.5. “A party must exhaust judicial remedies by filing a § 1094.5
petition, the exclusive and ‘established process for judicial review’ of an agency
decision.” Johnson v. City of Loma Linda, 24 Cal. 4th 61 (2000) (citing Westlake Cmty.
Hosp. v. Super. Ct., 17 Cal. 3d 465 (1976) (en banc)). Courts have held that the
suspension of a student by a University of California campus “is the sort of
‘adjudicatory, quasi-judicial decision’ that is subject to the judicial exhaustion
requirement.” Doe v. Regents of the Univ. of Cal., 891 F.3d 1147, 1155 (9th Cir. 2018)
(quoting Y.K.A. Indus. Inc. v. Redev. Agency of San Jose, 174 Cal. App. 4th 339
(2009)).

      In Doe, a student at the University of California, Santa Barbara brought claims
under Title IX, § 1983, and other state law claims against the Regents, “alleging that the
[university’s adjudicatory] committee had ‘no basis’ for its decision” to suspend the
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student for sexual assault. Id. at 1150–51. The student alleged, among other things, that
the university “discriminated against him” and “prevent[ed] him from presenting
character evidence.” Id. at 1151. The Ninth Circuit held that the student’s claims
“alleging that his suspension is invalid because [the University of California, Santa
Barbara] did not grant him a fair hearing, exceeded its jurisdiction, and ‘committed a
prejudicial abuse of discretion,’” must first be adjudicated through the filing a § 1094.5
petition. Id. at 1155. The student had, in fact, filed a § 1094.5 petition, but did so in an
amended complaint in federal court. Id. at 1153. The court held that the Eleventh
Amendment barred the § 1094.5 writ petition—a state law claim—from being filed in
federal court because “the [Ex parte] Young exception does not apply when a suit seeks
relief under state law, even if the plaintiff names an individual state official rather than a
state instrumentality.” Id. at 1153. Because the student did not file the § 1094.5 petition
in state court, the student had not exhausted his judicial remedies, and the court gave
preclusive effect to the university’s administrative decision because California courts
would do the same. Id. at 1155. Thus, the Ninth Circuit reversed and “remanded [the
case] to the district court with instructions to dismiss [the student’s] § 1094.5 writ claim
with prejudice, but without prejudice to refiling in state court, and his § 1983, Title IX,
and declaratory relief claims without prejudice.” Id.

       Here, Gonzales appears to challenge the administrative decision of the University
of California, Irvine to suspend him and the procedures the administrators took to do so.
Like the student in Doe, Gonzales’s claims, albeit still largely scattershot and unclear to
the Court, are of the type properly adjudicated through a § 1094.5 writ petition. Because
Gonzales has not filed a § 1094.5 petition, Gonzales has not exhausted his judicial
remedies. Under Utah Construction, the Court gives preclusive effect to the university’s
administrative decision. Thus, Gonzales must pursue his claims by first filing a § 1094.5
petition which, under the Eleventh Amendment, must be filed in state court. See Doe,
891 F.3d at 1153.

         Accordingly, the Court dismisses the claims without prejudice.

                 4.    Eleventh Amendment

       The Regents argue that, despite the FAC not naming the Regents as a defendant,
the claims against individuals acting in their official capacity are nevertheless barred by
sovereign immunity. (Mot. at 11.)
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                            CENTRAL DISTRICT OF CALIFORNIA

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       The Eleventh Amendment immunizes states from suits in federal court without
their consent. Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 100 (1984).
The Ninth Circuit “has repeatedly held that the Regents are an arm of the state entitled to
Eleventh Amendment immunity.” Feied v. Regents of the Univ. of Cal., 188 F. App’x
559, 561 (9th Cir. 2006). That immunity “extends to the individual defendants acting in
their official capacities.” Hirsh v. Justices of Sup. Ct. of State of Cal., 67 F.3d 708, 715
(9th Cir. 1995).

        Here, the FAC clearly indicates that the defendants—with one exception—are
sued in their official capacity because boxes for “official capacity” are marked on the
form complaint. The box for “individual” rather than “official capacity” is checked next
to Tau’s name. (FAC at 4.) Thus, Gonzales’s claims brought against the Defendants in
their official capacities are barred by the Eleventh Amendment. To the extent that
Cardenas, Allen, Quanbeck, and Pham are sued in their individual capacities, the FAC
fails to state a claim.

         B.      Applications for Temporary Restraining Order

        Having found that Gonzales has not exhausted his judicial remedies, and he must
first file a § 1094.5 writ petition, Gonzales’s Applications for Temporary Restraining
Orders are moot.

                                        IV. CONCLUSION

      For the foregoing reasons, the Court GRANTS the Motion to Dismiss without
prejudice and DENIES the Applications as moot.

                 IT IS SO ORDERED.

      The Court finds that oral argument would not be helpful in this matter. Fed. R.
Civ. P. 78; L.R. 7-15. Accordingly, the Court VACATES the May 13, 2024, hearing.




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                                          #:1351

 FULL NAME


 COMMITTED NAME (if different)



 FULL ADDRESS INCLUDING NAME OF INSTITUTION




 PRISON NUMBER (if applicable)




                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                                                 CASE NUMBER

                                                                                          To be supplied by the Clerk
                                                  PLAINTIFF,
                                  v.
                                                                            CIVIL RIGHTS COMPLAINT
                                                                                PURSUANT TO (Check one)
                                                                    42 U.S.C. § 1983
                                              DEFENDANT(S).
                                                                    Bivens v. Six Unknown Agents 403 U.S. 388 (1971)

A. PREVIOUS LAWSUITS

    1. Have you brought any other lawsuits in a federal court while a prisoner:       Yes         No

    2. If your answer to “1.” is yes, how many?

          Describe the lawsuit in the space below. (If there is more than one lawsuit, describe the additional lawsuits on an
          attached piece of paper using the same outline.)




                                                   CIVIL RIGHTS COMPLAINT
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                                          #:1352
         a. Parties to this previous lawsuit:
            Plaintiff


               Defendants


         b. Court


         c. Docket or case number
         d. Name of judge to whom case was assigned
         e. Disposition (For example: Was the case dismissed? If so, what was the basis for dismissal? Was it
               appealed? Is it still pending?)
         f.    Issues raised:




         g. Approximate date of filing lawsuit:
         h. Approximate date of disposition


B. EXHAUSTION OF ADMINISTRATIVE REMEDIES

    1. Is there a grievance procedure available at the institution where the events relating to your current complaint
       occurred?      Yes      No

    2. Have you filed a grievance concerning the facts relating to your current complaint?                       Yes      No

         If your answer is no, explain why not




    3. Is the grievance procedure completed?             Yes         No

         If your answer is no, explain why not



    4. Please attach copies of papers related to the grievance procedure.

C. JURISDICTION

    This complaint alleges that the civil rights of plaintiff
                                                                                               (print plaintiff's name)
    who presently resides at                                                                                                             ,
                                                                 (mailing address or place of confinement)
    were violated by the actions of the defendant(s) named below, which actions were directed against plaintiff at

                                                 (institution/city where violation occurred)


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    on (date or dates)                                    ,                            ,                                .
                                     (Claim I)                      (Claim II)                     (Claim III)

    NOTE:        You need not name more than one defendant or allege more than one claim. If you are naming more than
                 five (5) defendants, make a copy of this page to provide the information for additional defendants.

    1. Defendant                                                                                         resides or works at
                     (full name of first defendant)


                     (full address of first defendant)


                     (defendant's position and title, if any)


         The defendant is sued in his/her (Check one or both):            individual   official capacity.

         Explain how this defendant was acting under color of law:




    2. Defendant                                                                                         resides or works at
                     (full name of first defendant)


                     (full address of first defendant)


                     (defendant's position and title, if any)


         The defendant is sued in his/her (Check one or both):            individual   official capacity.

         Explain how this defendant was acting under color of law:




    3. Defendant                                                                                         resides or works at
                     (full name of first defendant)


                     (full address of first defendant)


                     (defendant's position and title, if any)


         The defendant is sued in his/her (Check one or both):            individual   official capacity.

         Explain how this defendant was acting under color of law:




                                                          CIVIL RIGHTS COMPLAINT
CV-66 (7/97)                                                                                                            Page 3 of 6
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    4. Defendant                                                                                       resides or works at
                     (full name of first defendant)


                     (full address of first defendant)


                     (defendant's position and title, if any)


         The defendant is sued in his/her (Check one or both):           individual   official capacity.

         Explain how this defendant was acting under color of law:




    5. Defendant                                                                                       resides or works at
                     (full name of first defendant)


                     (full address of first defendant)


                     (defendant's position and title, if any)


         The defendant is sued in his/her (Check one or both):           individual   official capacity.

         Explain how this defendant was acting under color of law:




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CV-66 (7/97)                                                                                                          Page 4 of 6
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                                          #:1355

 FULL NAME


 COMMITTED NAME (if different)



 FULL ADDRESS INCLUDING NAME OF INSTITUTION




 PRISON NUMBER (if applicable)




                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                                                 CASE NUMBER

                                                                                          To be supplied by the Clerk
                                                  PLAINTIFF,
                                  v.
                                                                            CIVIL RIGHTS COMPLAINT
                                                                                PURSUANT TO (Check one)
                                                                    42 U.S.C. § 1983
                                              DEFENDANT(S).
                                                                    Bivens v. Six Unknown Agents 403 U.S. 388 (1971)

A. PREVIOUS LAWSUITS

    1. Have you brought any other lawsuits in a federal court while a prisoner:       Yes         No

    2. If your answer to “1.” is yes, how many?

          Describe the lawsuit in the space below. (If there is more than one lawsuit, describe the additional lawsuits on an
          attached piece of paper using the same outline.)




                                                   CIVIL RIGHTS COMPLAINT
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                                          #:1356
         a. Parties to this previous lawsuit:
            Plaintiff


               Defendants


         b. Court


         c. Docket or case number
         d. Name of judge to whom case was assigned
         e. Disposition (For example: Was the case dismissed? If so, what was the basis for dismissal? Was it
               appealed? Is it still pending?)
         f.    Issues raised:




         g. Approximate date of filing lawsuit:
         h. Approximate date of disposition


B. EXHAUSTION OF ADMINISTRATIVE REMEDIES

    1. Is there a grievance procedure available at the institution where the events relating to your current complaint
       occurred?      Yes      No

    2. Have you filed a grievance concerning the facts relating to your current complaint?                       Yes      No

         If your answer is no, explain why not




    3. Is the grievance procedure completed?             Yes         No

         If your answer is no, explain why not



    4. Please attach copies of papers related to the grievance procedure.

C. JURISDICTION

    This complaint alleges that the civil rights of plaintiff
                                                                                               (print plaintiff's name)
    who presently resides at                                                                                                             ,
                                                                 (mailing address or place of confinement)
    were violated by the actions of the defendant(s) named below, which actions were directed against plaintiff at

                                                 (institution/city where violation occurred)


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    on (date or dates)                                    ,                            ,                                .
                                     (Claim I)                      (Claim II)                     (Claim III)

    NOTE:        You need not name more than one defendant or allege more than one claim. If you are naming more than
                 five (5) defendants, make a copy of this page to provide the information for additional defendants.

    1. Defendant                                                                                         resides or works at
                     (full name of first defendant)


                     (full address of first defendant)


                     (defendant's position and title, if any)


         The defendant is sued in his/her (Check one or both):            individual   official capacity.

         Explain how this defendant was acting under color of law:




    2. Defendant                                                                                         resides or works at
                     (full name of first defendant)


                     (full address of first defendant)


                     (defendant's position and title, if any)


         The defendant is sued in his/her (Check one or both):            individual   official capacity.

         Explain how this defendant was acting under color of law:




    3. Defendant                                                                                         resides or works at
                     (full name of first defendant)


                     (full address of first defendant)


                     (defendant's position and title, if any)


         The defendant is sued in his/her (Check one or both):            individual   official capacity.

         Explain how this defendant was acting under color of law:




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    4. Defendant                                                                                       resides or works at
                     (full name of first defendant)


                     (full address of first defendant)


                     (defendant's position and title, if any)


         The defendant is sued in his/her (Check one or both):           individual   official capacity.

         Explain how this defendant was acting under color of law:




    5. Defendant                                                                                       resides or works at
                     (full name of first defendant)


                     (full address of first defendant)


                     (defendant's position and title, if any)


         The defendant is sued in his/her (Check one or both):           individual   official capacity.

         Explain how this defendant was acting under color of law:




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                                   10/7/23                         11/29/23                        12/12/23
    on (date or dates)                                    ,                            ,                                .
                                     (Claim I)                      (Claim II)                     (Claim III)

    NOTE:        You need not name more than one defendant or allege more than one claim. If you are naming more than
                 five (5) defendants, make a copy of this page to provide the information for additional defendants.

    1. Defendant      Anh Pham                                                                           resides or works at
                     (full name of first defendant)
                     Office of Academic Integrity and Student Conduct Irvine, CA 92697-5135
                     (full address of first defendant)
                     OAISC Policy Analyst
                     (defendant's position and title, if any)


         The defendant is sued in his/her (Check one or both):            individual   official capacity.

         Explain how this defendant was acting under color of law:
          Prolonging a circular conversation to schedule my appeal for seven months while I only had
          seven days to respond to the decision before it was final (Doc. #96 pg. 26).

    2. Defendant      Unknown OAISC Employees                                                            resides or works at
                     (full name of first defendant)
                      Office of Academic Integrity and Student Conduct Irvine, CA 92697-5135
                     (full address of first defendant)


                     (defendant's position and title, if any)


         The defendant is sued in his/her (Check one or both):            individual   official capacity.

         Explain how this defendant was acting under color of law:
          Insisting to conduct a whistleblower investigation by conflict of interest (UWP IV(G)(7)).


    3. Defendant John Gherini                                                                            resides or works at
                     (full name of first defendant)
                     1111 Franklin St. Oakland, CA 94607
                     (full address of first defendant)
                    Principal Counsel, Core Litigation, UC Office of General Counsel
                     (defendant's position and title, if any)


         The defendant is sued in his/her (Check one or both):            individual   official capacity.

         Explain how this defendant was acting under color of law:
         Prevented me from proving compounded injuries to my focus, motivation, and well-being;
         collaborated with university officials to delay university proceedings (Doc. #96 pg. 19).




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    4. Defendant The Regents of the University of California                                           resides or works at
                     (full name of first defendant)
                    1111 Franklin St. Oakland, CA 94607
                     (full address of first defendant)
                    Office of General Counsel, UC Regents Office of the President
                     (defendant's position and title, if any)


         The defendant is sued in his/her (Check one or both):           individual   official capacity.

         Explain how this defendant was acting under color of law:
     UC Regents Office of General Counsel website contains document which directs service on subsumed
        universities to be directed at regents (Doc. #20). Repeated over the phone by UCI officials.

    5. Defendant                                                                                       resides or works at
                     (full name of first defendant)


                     (full address of first defendant)


                     (defendant's position and title, if any)


         The defendant is sued in his/her (Check one or both):           individual   official capacity.

         Explain how this defendant was acting under color of law:




                                                          CIVIL RIGHTS COMPLAINT
CV-66 (7/97)                                                                                                          Page 4 of 6
        Case 8:23-cv-01788-JVS-KES Document 100 Filed 07/05/24 Page 81 of 139 Page ID
                                          #:1361
D. CLAIMS*
                                                         CLAIM I
    The following civil right has been violated:




    Supporting Facts: Include all facts you consider important. State the facts clearly, in your own words, and without
    citing legal authority or argument. Be certain you describe, in separately numbered paragraphs, exactly what each
    DEFENDANT (by name) did to violate your right.




    *If there is more than one claim, describe the additional claim(s) on another attached piece of paper using the same
    outline.


                                                   CIVIL RIGHTS COMPLAINT
CV-66 (7/97)                                                                                                     Page 5 of 6
        Case 8:23-cv-01788-JVS-KES Document 100 Filed 07/05/24 Page 82 of 139 Page ID
                                          #:1362
E. REQUEST FOR RELIEF

    I believe that I am entitled to the following specific relief:




               June 20th, 2024
                   (Date)                                               (Signature of Plaintiff)




                                                   CIVIL RIGHTS COMPLAINT
CV-66 (7/97)                                                                                       Page 6 of 6
Case 8:23-cv-01788-JVS-KES Document 100 Filed 07/05/24 Page 83 of 139 Page ID
                                  #:1363
Case 8:23-cv-01788-JVS-KES Document 100 Filed 07/05/24 Page 84 of 139 Page ID
                                  #:1364
Case 8:23-cv-01788-JVS-KES Document 100 Filed 07/05/24 Page 85 of 139 Page ID
                                  #:1365
Case 8:23-cv-01788-JVS-KES Document 100 Filed 07/05/24 Page 86 of 139 Page ID
                                  #:1366
Case 8:23-cv-01788-JVS-KES Document 100 Filed 07/05/24 Page 87 of 139 Page ID
                                  #:1367
Case 8:23-cv-01788-JVS-KES Document 100 Filed 07/05/24 Page 88 of 139 Page ID
                                  #:1368
Case 8:23-cv-01788-JVS-KES Document 100 Filed 07/05/24 Page 89 of 139 Page ID
                                  #:1369
            Case
7/1/24, 12:04 AM 8:23-cv-01788-JVS-KES               Document Gmail
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                                                                    Filed 07/05/24
                                                                              Confirmation Page 90 of 139 Page ID
                                                            #:1370

                                                                                         bobby gonzales <bgfarcenter@gmail.com>



  Submission Confirmation
  1 message

  Civil Intake <do-not-reply@cacd.uscourts.gov>                                                           Tue, May 21, 2024 at 5:52 AM
  To: bgfarcenter@gmail.com


    Dear Robert Gonzales:
    This email confirms that the document(s) listed below were received by the United States District Court for the Central
    District of California at the date and time indicated:

    Name: Robert Gonzales
    Tracking Number: EDS-240521-001-2642
    Date: 5/21/2024 5:52:33 AM

    Uploaded files:

            5-21.pdf
            Reversal Motion w/ Corrections Declaration. Going to Sleep Now.

    The document(s) have not yet been filed. Just like documents received through the U.S. Mail, documents received
    through the Electronic Document Submission System (“EDSS”) will not be considered filed until court staff have uploaded
    them into the Court’s Case Management/Electronic Case Filing System (“CM/ECF”). Documents submitted using EDSS
    should be processed within 1-2 business days of receipt. However, the date of EDSS submission will be considered the
    filing date for any documents received through EDSS and later filed into CM/ECF.

    If you are registered for electronic service of documents and receiving e-service in this case, you will receive a Notice of
    Electronic Filing (“NEF”) from the CM/ECF System as soon as each document listed above has been filed. (Click here for
    information about registering for electronic service or to add e-service in this case.) If you are not registered for electronic
    service, you may check the status of your documents by checking the docket for your case on PACER
    (https://pacer.uscourts.gov). Please wait at least two business days after receiving this email and check the docket for
    your case on PACER before contacting the Court regarding the status of documents submitted through EDSS.

    If you are trying to file a document in a case pending before the United States Bankruptcy Court, or in any case pending in
    any court other than the United States District Court for the Central District of California, your document will not be filed
    and you will not receive any response to your EDSS submission. Likewise, if you are an attorney required by the local
    rules to file your documents electronically using the Court’s CM/ECF System, your document(s) will not be filed if
    submitted through EDSS, and you will not receive any further communication from the Court about your EDSS
    submission.

    Please include the tracking number listed above as your reference on any communications with the Court about this
    submission. We recommend that you keep this email for your records.

    Civil Intake
    United States District Court
    Central District of California
    Tel: (213) 894-3535




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                                                                                         bobby gonzales <bgfarcenter@gmail.com>



  Submission Confirmation
  1 message

  Civil Intake <do-not-reply@cacd.uscourts.gov>                                                          Thu, May 23, 2024 at 12:41 PM
  To: bgfarcenter@gmail.com


    Dear Robert Gonzales:
    This email confirms that the document(s) listed below were received by the United States District Court for the Central
    District of California at the date and time indicated:

    Name: Robert Gonzales
    Tracking Number: EDS-240523-001-2692
    Date: 5/23/2024 12:41:12 PM

    Uploaded files:

            CV-4M(2).pdf
            CV-4M Preliminary TRO Application
            CV-4F(2).pdf
            CV-4F Focus, Motivation, Well-Being

    The document(s) have not yet been filed. Just like documents received through the U.S. Mail, documents received
    through the Electronic Document Submission System (“EDSS”) will not be considered filed until court staff have uploaded
    them into the Court’s Case Management/Electronic Case Filing System (“CM/ECF”). Documents submitted using EDSS
    should be processed within 1-2 business days of receipt. However, the date of EDSS submission will be considered the
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    If you are registered for electronic service of documents and receiving e-service in this case, you will receive a Notice of
    Electronic Filing (“NEF”) from the CM/ECF System as soon as each document listed above has been filed. (Click here for
    information about registering for electronic service or to add e-service in this case.) If you are not registered for electronic
    service, you may check the status of your documents by checking the docket for your case on PACER
    (https://pacer.uscourts.gov). Please wait at least two business days after receiving this email and check the docket for
    your case on PACER before contacting the Court regarding the status of documents submitted through EDSS.

    If you are trying to file a document in a case pending before the United States Bankruptcy Court, or in any case pending in
    any court other than the United States District Court for the Central District of California, your document will not be filed
    and you will not receive any response to your EDSS submission. Likewise, if you are an attorney required by the local
    rules to file your documents electronically using the Court’s CM/ECF System, your document(s) will not be filed if
    submitted through EDSS, and you will not receive any further communication from the Court about your EDSS
    submission.

    Please include the tracking number listed above as your reference on any communications with the Court about this
    submission. We recommend that you keep this email for your records.

    Civil Intake
    United States District Court
    Central District of California
    Tel: (213) 894-3535




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                                                                                         bobby gonzales <bgfarcenter@gmail.com>



  Submission Confirmation
  1 message

  Civil Intake <do-not-reply@cacd.uscourts.gov>                                                            Thu, Jun 20, 2024 at 1:33 AM
  To: bgfarcenter@gmail.com


    Dear Robert Gonzales:
    This email confirms that the document(s) listed below were received by the United States District Court for the Central
    District of California at the date and time indicated:

    Name: Robert Gonzales
    Tracking Number: EDS-240620-001-3132
    Date: 6/20/2024 1:33:19 AM

    Uploaded files:

            CV-66+ (6-20).pdf
            Motions for Cease and Desist, Declaration of Irreparable Injuries (Full File w/ Photos too Large, Minus 5 Pages at
            200-205), Reverse Dismissal

    The document(s) have not yet been filed. Just like documents received through the U.S. Mail, documents received
    through the Electronic Document Submission System (“EDSS”) will not be considered filed until court staff have uploaded
    them into the Court’s Case Management/Electronic Case Filing System (“CM/ECF”). Documents submitted using EDSS
    should be processed within 1-2 business days of receipt. However, the date of EDSS submission will be considered the
    filing date for any documents received through EDSS and later filed into CM/ECF.

    If you are registered for electronic service of documents and receiving e-service in this case, you will receive a Notice of
    Electronic Filing (“NEF”) from the CM/ECF System as soon as each document listed above has been filed. (Click here for
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    (https://pacer.uscourts.gov). Please wait at least two business days after receiving this email and check the docket for
    your case on PACER before contacting the Court regarding the status of documents submitted through EDSS.

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    any court other than the United States District Court for the Central District of California, your document will not be filed
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    rules to file your documents electronically using the Court’s CM/ECF System, your document(s) will not be filed if
    submitted through EDSS, and you will not receive any further communication from the Court about your EDSS
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    United States District Court
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                                                                                         bobby gonzales <bgfarcenter@gmail.com>



  Submission Confirmation
  1 message

  Civil Intake <do-not-reply@cacd.uscourts.gov>                                                           Thu, Jun 20, 2024 at 11:43 PM
  To: bgfarcenter@gmail.com


    Dear Robert Gonzales:
    This email confirms that the document(s) listed below were received by the United States District Court for the Central
    District of California at the date and time indicated:

    Name: Robert Gonzales
    Tracking Number: EDS-240620-001-3166
    Date: 6/20/2024 11:43:12 PM

    Uploaded files:

            CV-127 Doc. #98.pdf
            Images Intended to be on Pg. 200-205 in Document Submitted Earlier Today 6/20/24.

    The document(s) have not yet been filed. Just like documents received through the U.S. Mail, documents received
    through the Electronic Document Submission System (“EDSS”) will not be considered filed until court staff have uploaded
    them into the Court’s Case Management/Electronic Case Filing System (“CM/ECF”). Documents submitted using EDSS
    should be processed within 1-2 business days of receipt. However, the date of EDSS submission will be considered the
    filing date for any documents received through EDSS and later filed into CM/ECF.

    If you are registered for electronic service of documents and receiving e-service in this case, you will receive a Notice of
    Electronic Filing (“NEF”) from the CM/ECF System as soon as each document listed above has been filed. (Click here for
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    (https://pacer.uscourts.gov). Please wait at least two business days after receiving this email and check the docket for
    your case on PACER before contacting the Court regarding the status of documents submitted through EDSS.

    If you are trying to file a document in a case pending before the United States Bankruptcy Court, or in any case pending in
    any court other than the United States District Court for the Central District of California, your document will not be filed
    and you will not receive any response to your EDSS submission. Likewise, if you are an attorney required by the local
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                                                                                         bobby gonzales <bgfarcenter@gmail.com>



  A message has been posted to your record (EDS-240620-001-3132)
  1 message

  CACD Civil Intake <no-reply@cacd.uscourts.gov>                                                           Thu, Jun 20, 2024 at 9:37 AM
  To: bgfarcenter@gmail.com


    Dear Robert Gonzales

    A message has been posted to your record.

    Tracking #: EDS-240620-001-3132
    Date: 6/20/2024 9:37:33 AM


    Dear Filer, are you attempting to file a new action? or file this as a supplemental complaint? You have attached a
    complaint w/out a case number along with the Notice and exhibits. Please advise. Terri Steele 714-338-2886


    If you have any questions, please let us know.

    Civil Intake
    United States District Court
    Central District of California
    Tel: (213) 894-3535




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         Argued:                       Decided:                      Granted:
         November 13, 1973             March 19, 1974                February 26, 1973



         Annotation

         PRIMARY HOLDING

         A federal court has the authority to hear a case challenging the constitutionality of a state criminal law when no
         prosecution is pending but merely threatened.


         Read More




         Syllabus

         U.S. Supreme Court
         Steffel v. Thompson, 415 U.S. 452 (1974)

         Steffel v. Thompson

         No. 72-5581

         Argued November 13, 1973

         Decided March 19, 1974

         415 U.S. 452


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         Hear Opinion Announcement - March 19, 1974




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         U.S. Supreme Court
         Steffel v. Thompson, 415 U.S. 452 (1974)
         Steffel v. Thompson

         No. 72-5581

         Argued November 13, 1973

         Decided March 19, 1974

         415 U.S. 452

         CERTIORARI TO THE UNITED STATES COURT OF APPEALS

         FOR THE FIFTH CIRCUIT

         Syllabus

         Petitioner, who had twice been warned to stop handbilling on an exterior sidewalk of a shopping center against
         American involvement in Vietnam and threatened with arrest by police if he failed to do so, and whose companion
         continued handbilling and was charged with violating the Georgia criminal trespass law, brought an action for
         injunctive and declaratory relief in the District Court, claiming that application to him of that law would violate
         his First and Fourteenth Amendment rights. The District Court dismissed the action, finding that "no meaningful
         contention can be made that the state has [acted] or will . . . act in bad faith," and therefore "the rudiments of an
         active controversy between the parties . . . [are] lacking." The Court of Appeals affirmed, being of the view that
         Younger v. Harris, 401 U. S. 37, made it clear that irreparable injury must be measured by bad faith harassment,
         and such a test must be applied to a request for injunctive relief against threatened, as well as pending, state court
         criminal prosecution; and that it followed from the reasoning of Samuels v. Mackell, 401 U. S. 66, that the same
         test of bad faith harassment is a prerequisite for declaratory relief with respect to a threatened prosecution.

         Held:

         1. This case presents an "actual controversy" under Art. III of the Constitution and the Federal Declaratory
         Judgment Act, the alleged threats of prosecution in the circumstances alleged not being "imaginary or
         speculative" and it being unnecessary for petitioner to expose himself to actual arrest or prosecution to make his
         constitutional challenge. Whether the controversy remains substantial and continuing in the light of the effect of
         the recent reduction of the Nation's involvement in Vietnam on petitioner's desire to engage in the handbilling at
         the shopping center must be resolved by the District Court on remand. Pp. 415 U. S. 458-460.

         2. Federal declaratory relief is not precluded when a prosecution based upon an assertedly unconstitutional state
         statute has been threatened, but is not pending, even if a showing of bad faith

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         enforcement or other special circumstances has not been made. Pp. 415 U. S. 460-473.

         (a) When no state criminal proceeding is pending at the time the federal complaint is filed, considerations of
         equity, comity, and federalism on which Younger v. Harris and Samuels v. Mackell both supra, were based, have
         little vitality: federal intervention does not result in duplicative legal proceedings or disruption of the state
         criminal justice system; nor can federal intervention, in that circumstance, be interpreted as reflecting negatively
         upon the state courts' ability to enforce constitutional principles. Pp. 415 U. S. 460-462

         (b) Even if the Court of Appeals correctly viewed injunctive relief as inappropriate (a question not reached here,
         petitioner having abandoned his request for that remedy), the court erred in treating the requests for injunctive
         and declaratory relief as a single issue and in holding that a failure to demonstrate irreparable injury precluded
         the granting of declaratory relief. Congress plainly intended that a declaratory judgment be available as a milder
         alternative than the injunction to test the constitutionality of state criminal statutes. Pp. 415 U. S. 462-473.

         3. In determining whether it is appropriate to grant declaratory relief when no state criminal proceeding is
         pending it is immaterial whether the attack is made on the constitutionality of a state criminal statute on its face



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         pending, it is immaterial whether the attack is made on the constitutionality of a state criminal statute on its face
         or as applied. Cameron v. Johnson, 390 U. S. 611, distinguished. Pp. 415 U. S. 473-475.

         459 F.2d 919, reversed and remanded.

         BRENNAN, J., delivered the opinion for a unanimous Court. STEWART, J., filed a concurring opinion, in which
         BURGER, C.J., joined, post, p. 415 U. S. 475. WHITE, J., filed a concurring opinion, post, p. 415 U. S. 476.
         REHNQUIST, J., filed a concurring opinion, in which BURGER, C.J., joined, post, p. 415 U. S. 478.

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         MR. JUSTICE BRENNAN delivered the opinion of the Court.

         When a state criminal proceeding under a disputed state criminal statute is pending against a federal plaintiff at
         the time his federal complaint is filed, Younger v. Harris, 401 U. S. 37 (1971), and Samuels v. Mackell, 401 U. S.
         66 (1971), held, respectively, that, unless bad faith enforcement or other special circumstances are demonstrated,
         principles of equity, comity, and federalism preclude issuance of a federal injunction restraining enforcement of
         the criminal statute and, in all but unusual circumstances, a declaratory judgment upon the constitutionality of
         the statute. This case presents the important question reserved in Samuels v. Mackell, id. at 401 U. S. 73-74,
         whether declaratory relief is precluded when a state prosecution has been threatened, but is not pending, and a
         showing of bad faith enforcement or other special circumstances has not been made.

         Petitioner, and others, filed a complaint in the District Court for the Northern District of Georgia, invoking the
         Civil Rights Act of 1871, 42 U.S.C. § 1983, and its jurisdictional implementation, 28 U.S.C. § 1343. The complaint
         requested a declaratory judgment pursuant to 28 U.S.C. § 2201-2202, that Ga.Code Ann. § 26-1603 (1972)
         [Footnote 1] was being applied in violation of petitioner's

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         First and Fourteenth Amendment rights, and an injunction restraining respondents -- the solicitor of the Civil and
         Criminal Court of DeKalb County, the chief of the DeKalb County Police, the owner of the North DeKalb Shopping
         Center, and the manager of that shopping center -- from enforcing the statute so as to interfere with petitioner's
         constitutionally protected activities.

         The parties stipulated to the relevant facts: on October 8, 1970, while petitioner and other individuals were
         distributing handbills protesting American involvement in Vietnam on an exterior sidewalk of the North DeKalb
         Shopping Center, shopping center employees asked them to stop handbilling and leave. [Footnote 2] They
         declined to do so, and police officers were summoned. The officers told them that they would be arrested if they
         did not stop handbilling. The group then left to avoid arrest. Two days later, petitioner and a companion returned
         to the shopping center and again began handbilling. The manager of the center called the police, and petitioner
         and his companion were once again told that failure to stop their handbilling would result in their arrests.
         Petitioner left to avoid arrest. His companion stayed, however, continued

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         handbilling, and was arrested and subsequently arraigned on a charge of criminal trespass in violation of § 26-
         1503. [Footnote 3] Petitioner alleged in his complaint that, although he desired to return to the shopping center to
         distribute handbills, he had not done so because of his concern that he, too, would be arrested for violation of §
         26-1503; the parties stipulated that, if petitioner returned and refused upon request to stop handbilling, a warrant
         would be sworn out and he might be arrested and charged with a violation of the Georgia statute. [Footnote 4]

         After hearing, the District Court denied all relief and dismissed the action, finding that "no meaningful contention
         can be made that the state has [acted] or will in the future act in bad faith," and therefore "the rudiments of an
         active controversy between the parties . . . [are] lacking." 334 F. Supp. 1386, 1389-1390 (1971). Petitioner appealed
         [Footnote 5] only from the denial of declaratory relief. [Footnote 6] The Court of Appeals for the Fifth Circuit, one
         judge concurring in the result, affirmed the District Court's

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         judgment refusing declaratory relief. [Footnote 7] Becker v. Thompson, 459 F.2d 919 (1972). The court recognized
         that the holdings of Younger v. Harris, 401 U. S. 37(1971), and Samuels v. Mackell, 401 U. S. 66 (1971), were
         expressly limited to situations where state prosecutions were pending when the federal action commenced, but




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         e p ess y     ted to s tuat o s w e e state p osecut o s we e pe d g w e t e ede a act o co          e ced, but
         was of the view that Younger v. Harris "made it clear beyond peradventure that irreparable injury must be
         measured by bad faith harassment and such test must be applied to a request for injunctive relief against
         threatened state court criminal prosecution" as well as against a pending prosecution; and, furthermore, since the
         opinion in Samuels v. Mackell reasoned that declaratory relief would normally disrupt the state criminal justice
         system in the manner of injunctive relief, it followed that "the same test of bad

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         faith harassment is prerequisite . . . for declaratory relief in a threatened prosecution." 459 F.2d at 922. A petition
         for rehearing en banc was denied, three judges dissenting. 463 F.2d 1338 (1972). [Footnote 8]

         We granted certiorari, 410 U.S. 953 (1973), and now reverse.


         I

         At the threshold, we must consider whether petitioner presents an "actual controversy," a requirement imposed
         by Art. III of the Constitution and the express terms of the Federal Declaratory Judgment Act, 28 U.S.C. § 2201.
         [Footnote 9]

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         Unlike three of the appellees in Younger v. Harris, 401 U.S. at 401 U. S. 41, petitioner has alleged threats of
         prosecution that cannot be characterized as "imaginary or speculative," id. at 401 U. S. 42. He has been twice
         warned to stop handbilling that he claims is constitutionally protected, and has been told by the police that, if he
         again handbills at the shopping center and disobeys a warning to stop, he will likely be prosecuted. The
         prosecution of petitioner's handbilling companion is ample demonstration that petitioner's concern with arrest
         has not been "chimerical," Poe v. Ullman, 367 U. S. 497, 367 U. S. 508 (1961). In these circumstances, it is not
         necessary that petitioner first expose himself to actual arrest or prosecution to be entitled to challenge a statute
         that he claims deters the exercise of his constitutional right. See, e.g., Epperson v. Arkansas, 393 U. S. 97 (1968).
         Moreover, petitioner's challenge is to those specific provisions of state law which have provided the basis for
         threats of criminal prosecution against him. Cf. Boyle v. Landry, 401 U. S. 77, 401 U. S. 81 (1971); Watson v.
         Buck, 313 U. S. 387, 313 U. S. 399-400 (1941).

         Nonetheless, there remains a question as to the continuing existence of a live and acute controversy that must be
         resolved on the remand we order today. [Footnote 10] In Golden v. Zwickler, 394 U. S. 103 (1969), the appellee
         sought a declaratory judgment that a state criminal statute prohibiting the distribution of anonymous election-
         campaign literature was unconstitutional. The appellee's complaint had expressed a desire to distribute handbills
         during the forthcoming reelection campaign of a Congressman, but it was later learned that the Congressman

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         had retired from the House of Representatives to become a New York Supreme Court Justice. In that
         circumstance, we found no extant controversy, since the record revealed that appellee's sole target of distribution
         had been the Congressman, and there was no immediate prospect of the Congressman's again becoming a
         candidate for public office. Here, petitioner's complaint indicates that his handbilling activities were directed
         "against the War in Vietnam and the United States' foreign policy in Southeast Asia." Since we cannot ignore the
         recent developments reducing the Nation's involvement in that part of the world, it will be for the District Court
         on remand to determine if subsequent events have so altered petitioner's desire to engage in handbilling at the
         shopping center that it can no longer be said that this case presents

         "a substantial controversy, between parties having adverse legal interests, of sufficient immediacy and reality to
         warrant the issuance of a declaratory judgment."

         Maryland Casualty Co. v. Pacific Coal & Oil Co., 312 U. S. 270, 312 U. S. 273 (1941); see Zwickler v. Koota, 389
         U. S. 241, 389 U. S. 244 n. 3 (1967).


         II

         We now turn to the question of whether the District Court and the Court of Appeals correctly found petitioner's
         request for declaratory relief inappropriate.




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         Sensitive to principles of equity, comity, and federalism, we recognized in Younger v. Harris, supra, that federal
         courts should ordinarily refrain from enjoining ongoing state criminal prosecutions. We were cognizant that a
         pending state proceeding, in all but unusual cases, would provide the federal plaintiff with the necessary vehicle
         for vindicating his constitutional rights, and, in that circumstance, the restraining of an ongoing prosecution
         would entail an unseemly failure to give effect to the principle that state courts have the solemn responsibility,

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         equally with the federal courts "to guard, enforce, and protect every right granted or secured by the Constitution
         of the United States. . . ." Robb v. Connolly, 111 U. S. 624, 111 U. S. 637 (1884). In Samuels v. Mackell, supra, the
         Court also found that the same principles ordinarily would be flouted by issuance of a federal declaratory
         judgment when a state proceeding was pending, since the intrusive effect of declaratory relief

         "will result in precisely the same interference with and disruption of state proceedings that the longstanding
         policy limiting injunctions was designed to avoid."

         401 U.S. at 401 U. S. 72. [Footnote 11] We therefore held in Samuels that,

         "in cases where the state criminal prosecution was begun prior to the federal suit, the same equitable principles
         relevant to the propriety of an injunction must be taken into consideration by federal district courts in
         determining whether to issue a declaratory judgment. . . ."

         Id. at 401 U. S. 73.

         Neither Younger nor Samuels, however, decided the question whether federal intervention might be permissible
         in the absence of a pending state prosecution. In Younger, the Court said:

         "We express no view about the circumstances under which federal courts may act when there is no prosecution
         pending in state courts at the time the federal proceeding is begun."

         401 U.S. at 401 U. S. 41. See also id. at 401 U. S. 55 (STEWART and Harlan, JJ., concurring); id. at 401 U. S. 57
         (BRENNAN, WHITE, and MARSHALL, JJ., concurring). Similarly, in Samuels v. Mackell, the Court stated: .

         "We, of course, express no views on the propriety

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         of declaratory relief when no state proceeding is pending at the time the federal suit is begun."

         401 U.S. at 401 U. S. 73-74. See also id. at 401 U. S. 55 (STEWART and Harlan, JJ., concurring); id. at 401 U. S.
         75-76 (BRENNAN, WHITE, and MARSHALL, JJ., concurring).

         These reservations anticipated the Court's recognition that the relevant principles of equity, comity, and
         federalism "have little force in the absence of a pending state proceeding." Lake Carriers' Assn. v. MacMullan,
         406 U. S. 498, 406 U. S. 509 (1972). When no state criminal proceeding is pending at the time the federal
         complaint is filed, federal intervention does not result in duplicative legal proceedings or disruption of the state
         criminal justice system; nor can federal intervention, in that circumstance, be interpreted as reflecting negatively
         upon the state court's ability to enforce constitutional principles. In addition, while a pending state prosecution
         provides the federal plaintiff with a concrete opportunity to vindicate his constitutional rights, a refusal on the
         part of the federal courts to intervene when no state proceeding is pending may place the hapless plaintiff between
         the Scylla of intentionally flouting state law and the Charybdis of forgoing what he believes to be constitutionally
         protected activity in order to avoid becoming enmeshed in a criminal proceeding. Cf. Dombrowski v. Pfister, 380
         U. S. 479, 380 U. S. 490 (1965).

         When no state proceeding is pending, and thus considerations of equity, comity, and federalism have little vitality,
         the propriety of granting federal declaratory relief may properly be considered independently of a request for
         injunctive relief. Here, the Court of Appeals held that, because injunctive relief would not be appropriate, since
         petitioner failed to demonstrate irreparable injury -- a traditional prerequisite to

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         injunctive relief, e.g., Dombrowski v. Pfister, supra -- it followed that declaratory relief was also inappropriate.




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         Even if the Court of Appeals correctly viewed injunctive relief as inappropriate -- a question we need not reach
         today, since petitioner has abandoned his request for that remedy, see n 6 supra [Footnote 12] -- the court erred
         in treating the requests for injunctive and declaratory relief as a single issue.

         "[W]hen no state prosecution is pending and the only question is whether declaratory relief is appropriate[,] . . .
         the congressional scheme that makes the federal courts the primary guardians of constitutional rights, and the
         express congressional authorization of declaratory relief, afforded because it is a less harsh and abrasive remedy
         than the injunction, become the factors of primary significance."

         Perez v. Ledesma, 401 U. S. 82, 401 U. S. 104 (1971) (separate opinion of BRENNAN, J.).

         The subject matter jurisdiction of the lower federal courts was greatly expanded in the wake of the Civil War. A
         pervasive sense of nationalism led to enactment of the Civil Rights Act of 1871, 17 Stat. 13, empowering the

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         lower federal courts to determine the constitutionality of actions, taken by persons under color of state law,
         allegedly depriving other individuals of rights guaranteed by the Constitution and federal law, see 42 U.S.C. §
         1983, 28 U.S.C. § 1343(3). [Footnote 13] Four years later, in the Judiciary Act of March 3, 1875, 18 Stat. 470,
         Congress conferred upon the lower federal courts, for but the second time in their nearly century-old history,
         general federal question jurisdiction subject only to a jurisdictional amount requirement, see 28 U.S.C. § 1331.
         [Footnote 14] With this latter enactment, the lower federal courts

         "ceased to be restricted tribunals of fair dealing between citizens of different states and became the primary and
         powerful reliances for vindicating every right given by the Constitution, the laws, and treaties of the United
         States."

         F. Frankfurter & J. Landis, The Business of the Supreme Court 65 (1928) (emphasis added). [Footnote 15] These
         two statutes, together with the Court's decision in Ex parte Young, 209 U. S. 123 (1908) -- holding that state
         officials who threaten to enforce an unconstitutional state statute may be enjoined by a federal court of equity,
         and that a federal court may, in appropriate circumstances, enjoin

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         future state criminal prosecutions under the unconstitutional Act -- have "established the modern framework for
         federal protection of constitutional rights from state interference." Perez v. Ledesma, supra, at 401 U. S. 107
         (separate opinion of BRENNAN, J.).

         A "storm of controversy" raged in the wake of Ex parte Young, focusing principally on the power of a single
         federal judge to grant ex parte interlocutory injunctions against the enforcement of state statutes, H. Hart & H.
         Wechsler, The Federal Courts and the Federal System 967 (2d ed.1973); see generally Goldstein v. Cox, 396 U. S.
         471 (1970); Hutcheson, A Case for Three Judges, 47 Harv.L.Rev. 795, 804-805 (1934). This uproar was only
         partially quelled by Congress' passage of legislation, 36 Stat. 557, requiring the convening of a three-judge district
         court [Footnote 16] before a preliminary injunction against enforcement of a state statute could issue, and
         providing for direct appeal to this Court from a decision granting or denying such relief. [Footnote 17] See 28

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         U.S.C. §§ 2281, 1253. From a State's viewpoint the granting of injunctive relief -- even by these courts of special
         dignity -- "rather clumsily" crippled state enforcement of its statutes pending further review, see H.R.Rep. No.
         288, 70th Cong., 1st Sess., 2 (1928); H.R.Rep. No. 94, 71st Cong., 2d Sess., 2 (1929); H.R.Rep. No. 627, 72d Cong.,
         1st Sess., 2 (1932). Furthermore, plaintiffs were dissatisfied with this method of testing the constitutionality of
         state statutes, since it placed upon them the burden of demonstrating the traditional prerequisites to equitable
         relief -- most importantly, irreparable injury. See, e.g., Fenner v. Boykin, 271 U. S. 240, 271 U. S. 243 (1926).

         To dispel these difficulties, Congress, in 1934, enacted the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202.
         That Congress plainly intended declaratory relief to act as an alternative to the strong medicine of the injunction
         and to be utilized to test the constitutionality of state criminal statutes in cases where injunctive relief would be
         unavailable is amply evidenced by the legislative history of the Act, traced in full detail in Perez v. Ledesma,
         supra, at 401 U. S. 111-115 (separate opinion of BRENNAN, J.). The highlights of that history, particularly
         pertinent to our inquiry today, emphasize that:




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         "[I]n 1934, without expanding or reducing the subject matter jurisdiction of the federal courts or in any way
         diminishing the continuing vitality of Ex parte Young with respect to federal injunctions, Congress empowered
         the federal courts to grant a new remedy, the declaratory judgment. . . . "

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         "The express purpose of the Federal Declaratory Judgment Act was to provide a milder alternative to the
         injunction remedy. . . . Of particular significance on the question before us, the Senate report [S.Rep. No. 1005,
         73d Cong., 2d Sess. (1934)] makes it even clearer that the declaratory judgment was designed to be available to
         test state criminal statutes in circumstances where an injunction would not be appropriate. . . ."

         "* * * *"

         "Much of the hostility to federal injunctions referred to in the Senate report was hostility to their use against state
         officials seeking to enforce state regulatory statutes carrying criminal sanctions; this was the strong feeling that
         produced the Three-Judge Court Act in 1910, the Johnson Act of 1934, 28 U.S.C. § 1342, and the Tax Injunction
         Act of 1937, 28 U.S.C. § 1341. The Federal Declaratory Judgment Act was intended to provide an alternative to
         injunctions against state officials, except where there was a federal policy against federal adjudication of the class
         of litigation altogether. . . . Moreover, the Senate report's clear implication that declaratory relief would have been
         appropriate in Pierce v. Society of Sisters, 268 U. S. 510 (1925), and Village of Euclid v. Ambler Realty Co., 272 U.
         S. 365 (1926), both cases involving federal.adjudication of the constitutionality of a state statute carrying criminal
         penalties, and the report's quotation from Terrace v. Thompson which also involved anticipatory federal
         adjudication of the constitutionality of a state criminal statute, make it plain that Congress anticipated that the
         declaratory judgment procedure would be used by the federal courts to test the constitutionality

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         of state criminal statutes."

         401 U.S. at 401 U. S. 111-112, 401 U. S. 115. [Footnote 18]

         It was this history that formed the backdrop to our decision in Zwickler v. Koota, 389 U. S. 241 (1967), where a
         state criminal statute was attacked on grounds of unconstitutional overbreadth and no state prosecution was
         pending against the federal plaintiff. There, we found error in a three-judge district court's considering, as a single
         question, the propriety of granting injunctive and declaratory relief. Although we noted that injunctive relief
         might well be unavailable under principles of equity jurisprudence canvassed in Douglas v. City of Jeannette, 319
         U. S. 157 (1943), we held that

         "a federal district court has the duty to decide the appropriateness and the merits of the declaratory request
         irrespective of its conclusion as to the propriety of the issuance of the injunction."

         389 U.S. at 389 U. S. 254. Only one year ago, we

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         reaffirmed the Zwickler v. Koota holding in Roe v. Wade, 410 U. S. 113 (1973), and Doe v. Bolton, 410 U. S. 179
         (1973). In those two cases, we declined to decide whether the District Courts had properly denied to the federal
         plaintiffs, against whom no prosecutions were pending, injunctive relief restraining enforcement of the Texas and
         Georgia criminal abortion statutes; instead, we affirmed the issuance of declaratory judgments of
         unconstitutionality, anticipating that these would be given effect by state authorities. We said:

         "The Court has recognized that different considerations enter into a federal court's decision as to declaratory
         relief, on the one hand, and injunctive relief, on the other. Zwickler v. Koota, 389 U. S. 241, 389 U. S. 252-255
         (1967); Dombrowski v. Pfister, 380 U. S. 479 (1965)."

         Roe v. Wade, supra, at 410 U. S. 166 (emphasis added). See Doe v. Bolton, supra, at 410 U. S. 201.

         The "different considerations" entering into a decision whether to grant declaratory relief have their origins in the
         preceding historical summary. First, as Congress recognized in 1934, a declaratory judgment will have a less
         intrusive effect on the administration of state criminal laws. As was observed in Perez v. Ledesma, 401 U.S. at 401
         U. S. 124-126 (separate opinion of BRENNAN, J.):




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         "Of course, a favorable declaratory judgment may nevertheless be valuable to the plaintiff though it cannot make
         even an unconstitutional statute disappear. A state statute may be declared unconstitutional in toto -- that is,
         incapable of having constitutional applications; or it may be declared unconstitutionally vague or overbroad --
         that is, incapable of being constitutionally applied to the full extent of its purport. In either case, a federal
         declaration of unconstitutionality reflects the

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         opinion of the federal court that the statute cannot be fully enforced. If a declaration of total unconstitutionality is
         affirmed by this Court, it follows that this Court stands ready to reverse any conviction under the statute. If a
         declaration of partial unconstitutionality is affirmed by this Court, the implication is that this Court will overturn
         particular applications of the statute, but that, if the statute is narrowly construed by the state courts it will not be
         incapable of constitutional applications. Accordingly, the declaration does not necessarily bar prosecutions under
         the statute, as a broad injunction would. Thus, where the highest court of a State has had an opportunity to give a
         statute regulating expression a narrowing or clarifying construction but has failed to do so, and later a federal
         court declares the statute unconstitutionally vague or overbroad, it may well be open to a state prosecutor, after
         the federal court decision, to bring a prosecution under the statute if he reasonably believes that the defendant's
         conduct is not constitutionally protected and that the state courts may give the statute a construction so as to yield
         a constitutionally valid conviction. Even where a declaration of unconstitutionality is not reviewed by this Court,
         the declaration may still be able to cut down the deterrent effect of an unconstitutional state statute. The
         persuasive force of the court's opinion and judgment may lead state prosecutors, courts, and legislators to
         reconsider their respective responsibilities toward the statute. Enforcement policies or judicial construction may
         be changed, or the legislature may repeal the statute and start anew. Finally, the federal court judgment may have
         some res judicata effect, though this point is not free from difficulty, and the governing rules remain to be
         developed with

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         a view to the proper workings of a federal system. What is clear, however, is that, even though a declaratory
         judgment has 'the force and effect of a final judgment,' 28 U.S.C. § 2201, it is a much milder form of relief than an
         injunction. Though it may be persuasive, it is not ultimately coercive; noncompliance with it may be
         inappropriate, but is not contempt. [Footnote 19]"

         (Footnote omitted.)

         Second, engrafting upon the Declaratory Judgment Act a requirement that all of the traditional equitable
         prerequisites to the issuance of an injunction be satisfied before the issuance of a declaratory judgment is
         considered would defy Congress' intent to make declaratory relief available in cases where an injunction would be
         inappropriate.

         "Were the law to be that a plaintiff could not obtain a declaratory judgment that a local ordinance was
         unconstitutional when no state prosecution is pending unless he could allege and prove circumstances justifying a
         federal injunction of an existing state prosecution, the Federal Declaratory Judgment Act would have been pro
         tanto repealed."

         Wulp v. Corcoran, 454 F.2d 826, 832 (CA1 1972) (Coffin, J.). See Perez v. Ledesma, 401 U.S. at 401 U. S. 116
         (separate opinion of BRENNAN, J.). Thus, the Court of Appeals was in error when it ruled that a failure to
         demonstrate irreparable injury -- a traditional prerequisite to injunctive relief,

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         having no equivalent in the law of declaratory judgments, see Aetna Life Ins. Co. v. Haworth, 300 U. S. 227, 300
         U. S. 241 (1937); Nashville, C. & St. L. R. Co. v. Wallace, 288 U. S. 249, 288 U. S. 264 (1933) -- precluded the
         granting of declaratory relief.

         The only occasions where this Court has disregarded these "different considerations" and found that a preclusion
         of injunctive relief inevitably led to a denial of declaratory relief have been cases in which principles of federalism
         militated altogether against federal intervention in a class of adjudications. See Great Lakes Co. v. Huffman, 319
         U. S. 293 (1943) (federal policy against interfering with the enforcement of state tax laws); [Footnote 20] Samuels
         v. Mackell, 401 U. S. 66 (1971). In the instant case, principles of federalism not only do not preclude federal




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         v. Mackell, 401 U. S. 66 (1971). In the instant case, principles of federalism not only do not preclude federal
         intervention, they compel it. Requiring the federal courts totally to step aside when no state criminal prosecution
         is pending against the federal plaintiff would turn federalism on its head. When federal claims are premised on 42
         U.S.C. § 1983 and 28 U.S.C. § 1343(3) -- as they are here -- we have not required exhaustion of state judicial or
         administrative remedies,

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         recognizing.the paramount role Congress has assigned to the federal courts to protect constitutional rights. See,
         e.g., McNeese v. Board of Education, 373 U. S. 668 (1963); Monroe v. Pape, 365 U. S. 167 (1961). But exhaustion
         of state remedies is precisely what would be required if both federal injunctive and declaratory relief were
         unavailable in a case where no state prosecution had been commenced.


         III

         Respondents, however, relying principally upon our decision in Cameron v. Johnson, 390 U. S. 611 (1968), argue
         that, although it may be appropriate to issue a declaratory judgment when no state criminal proceeding is pending
         and the attack is upon the facial validity of a state criminal statute, such a step would be improper where, as here,
         the attack is merely upon the constitutionality of the statute as applied, since the State's interest in unencumbered
         enforcement of its laws outweighs the minimal federal interest in protecting the constitutional rights of only a
         single individual. We reject the argument.

         In Cameron v. Johnson, the appellants sought a declaratory judgment that a Mississippi anti-picketing law was an
         overly broad and vague regulation of protected expression and an injunction restraining pending prosecutions
         against them for violations of the statute. We agreed with the District Court that the statute was not overly broad
         or vague, and that nothing in the record supported appellants' assertion that they were being prosecuted in bad
         faith. In that circumstance, we held that

         "[t]he mere possibility of erroneous application of the statute does not amount 'to the irreparable injury necessary
         to justify a disruption of orderly state proceedings.' . . . The issue of guilt or innocence is for the state court at the
         criminal trial; the State was not required to prove appellants guilty in the federal proceeding to

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         escape the finding that the State had no expectation of securing valid convictions."

         Id. at 390 U. S. 621. Our holding in Cameron was thus that the state courts in which prosecutions were already
         pending would have to be given the first opportunity to correct any misapplication of the state criminal laws;
         Cameron is plainly not authority for the proposition that, in the absence of a pending state proceeding, a federal
         plaintiff may not seek a declaratory judgment that the state statute is being applied in violation of his
         constitutional rights.

         Indeed, the State's concern with potential interference in the administration of its criminal laws is of lesser
         dimension when an attack is made upon the constitutionality of a state statute as applied. A declaratory judgment
         of a lower federal court that a state statute is invalid in toto -- and therefore incapable of any valid application --
         or is overbroad or vague -- and therefore no person can properly be convicted under the statute until it is given a
         narrowing or clarifying construction, see, e.g., United States v. Thirty-seven Photographs, 402 U. S. 363, 402 U.
         S. 369 (1971); Gooding v. Wilson, 405 U. S. 518, 405 U. S. 520 (1972) -- will likely have a more significant
         potential for disruption of state enforcement policies than a declaration specifying a limited number of
         impermissible applications of the statute. While the federal interest may be greater when a state statute is
         attacked on its face, since there exists the potential for eliminating any broad-ranging deterrent effect on would-
         be actors, see Dombrowski v. Pfister, 380 U. S. 479 (1965), we do not find this consideration controlling. The
         solitary individual who suffers a deprivation of his constitutional rights is no less deserving of redress than one
         who suffers together with others. [Footnote 21]

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         We therefore hold that, regardless of whether injunctive relief may be appropriate, federal declaratory relief is not
         precluded when no state prosecution is pending and a federal plaintiff demonstrates a genuine threat of
         enforcement of a disputed state criminal statute, whether an attack is made on the constitutionality of the statute
         on its face or as applied. [Footnote 22] The judgment of the Court of Appeals is reversed, and the case is




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         remanded for further proceedings consistent with this opinion.

         It is so ordered.

         [Footnote 1]

         This statute provides:

         "(a) A person commits criminal trespass when he intentionally damages any property of another without his
         consent and the damage thereto is $100 or less, or knowingly and maliciously interferes with the possession or
         use of the property of another person without his consent."

         "(b) A person commits criminal trespass when he knowingly and without authority:"

         "(1) Enters upon the land or premises of another person, or into any part of any vehicle, railroad car, aircraft, or
         watercraft of another person, for an unlawful purpose; or (2) Enters upon the land or premises of another person,
         or into any part of any vehicle, railroad car, aircraft, or watercraft of another person, after receiving, prior to such
         entry, notice from the owner or rightful occupant that such entry is forbidden; or"

         "(3) Remains upon the land or premises of another person, or within the vehicle, railroad car, aircraft, or
         watercraft of another person, after receiving notice from the owner or rightful occupant to depart."

         "(c) A person convicted of criminal trespass shall be punished as for a misdemeanor."

         [Footnote 2]

         At a hearing in the District Court, petitioner testified that, on another occasion, prior to June, 1970, he had also
         been threatened with arrest for handbilling at the shopping center. At that time, the police had shown him the
         statute they intended to enforce, presumably § 26-1503. R. 140-141.

         [Footnote 3]

         We were advised at oral argument that the trial of petitioner's companion, Sandra Lee Becker, has been stayed
         pending decision of this case. See Tr. of Oral Arg. 31.

         [Footnote 4]

         At the District Court hearing, counsel for the police officers indicated that arrests, in fact, would be made if
         warrants sworn out by shopping center personnel were facially proper. R. 134.

         [Footnote 5]

         The complaint was initially styled as a class action. Named as plaintiffs were petitioner, a minor suing through his
         father; Sandra Lee Becker, petitioner's handbilling companion against whom a prosecution was pending under
         the Georgia statute, see n 3, supra, also a minor suing through her father; and the Atlanta Mobilization
         Committee. The complaint had also sought to enjoin plaintiff Becker's pending prosecution. Only petitioner
         appealed from the District Court's decision denying all relief.

         [Footnote 6]

         Petitioner's notice of appeal challenged the denial of both injunctive and declaratory relief. However, in his
         appellate brief, he abandoned his appeal from denial of injunctive relief. Becker v. Thompson, 459 F.2d 919, 921
         (CA5 1972).

         [Footnote 7]

         Since the complaint had originally sought to enjoin enforcement of the state statute on grounds of
         unconstitutionality, a three-judge district court should have been convened. See 28 U.S.C. § 2281; Goosby v.
         Osser, 409 U. S. 512 (1973); Idlewild Bon Voyage Liquor Corp. v. Epstein, 370 U. S. 713, 370 U. S. 715 (1962). A
         three-judge court is required even if the constitutional attack -- as here -- is upon the statute as applied, see
         Department of Employment v. United States, 385 U. S. 355 (1966); Query v. United States, 316 U. S. 486 (1942);
         Ex parte Bransford, 310 U. S. 354, 310 U. S. 361 (1940); see generally Currie, The Three-Judge District Court in
         Constitutional Litigation, 32 U.Chi.L.Rev. 1, 37-50 (1964); and is normally required even if the decision is to
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         dismiss under Younger-Samuels principles, since an exercise of discretion will usually be necessary, see Jones v.
         Wade, 479 F.2d 1176, 1180 (CA5 1973); Abele v. Markle, 452 F.2d 1121, 1125 (CA2 1971); see generally Note, The
         Three-Judge District Court: Scope and Procedure Under Section 2281, 77 Harv.L.Rev. 299, 309 (1963). But since
         petitioner's request for injunctive relief was abandoned on appeal, see n 6, supra, and only a request for
         declaratory relief remained, the Court of Appeals did not err in exercising jurisdiction over the appeal. Cf. Roe v.
         Wade, 410 U. S. 113, 410 U. S. 123 (1973); Mitchell v. Donovan, 398 U. S. 427 (1970); Kennedy v. Mendoza-
         Martinez, 372 U. S. 144, 372 U. S. 152-155 (1963); Stratton v. St. Louis S.W. R. Co., 282 U. S. 10, 282 U. S. 16
         (1930).

         [Footnote 8]

         Other federal courts have entertained applications for injunctive and declaratory relief in the absence of a pending
         state prosecution. See, e.g., Thoms v. Heffernan, 473 F.2d 478 (CA2 1973), aff'g 334 F. Supp. 1203 (Conn.1971)
         (three-judge court); Wulp v. Corcoran, 454 F.2d 826 (CA1 1972); Crossen v. Breckenridge, 446 F.2d 833 (CA6
         1971); Lewis v. Kugler, 446 F.2d 1343 (CA3 1971); Anderson v. Vaughn, 327 F. Supp. 101 (Conn.1971) (three-
         judge court). Even the Court of Appeals for the Fifth Circuit has limited the scope of the instant decision by
         entertaining an action for declaratory and injunctive relief in the absence of a state prosecution when the federal
         suit attacked the facial validity of a state statute, rather than the validity of the statute as applied. See Jones v.
         Wade, supra, (Wisdom, J.).

         [Footnote 9]

         Section 2201 provides:

         "In a case of actual controversy within its jurisdiction, except with respect to Federal taxes, any court of the
         United States, upon the filing of an appropriate pleading, may declare the rights and other legal relations of any
         interested party seeking such declaration, whether or not further relief is or could be sought. Any such declaration
         shall have the force and effect of a final judgment or decree and shall be reviewable as such."

         Section 2202 further provides:

         "Further necessary or proper relief based on a declaratory judgment or decree may be granted, after reasonable
         notice and hearing, against any adverse party whose rights have been determined by such judgment."

         [Footnote 10]

         The rule in federal cases is that an actual controversy must be extant at all stages of review, not merely at the time
         the complaint is filed. See, e.g., Roe v. Wade, 410 U.S. at 410 U. S. 125; SEC v. Medical Comm. for Human Rights,
         404 U. S. 403 (1972); United States v. Munsingwear, Inc., 340 U. S. 36 (1950).

         [Footnote 11]

         The Court noted that, under 28 U.S.C. § 2202 a declaratory judgment might serve as the basis for issuance of a
         later injunction to give effect to the declaratory judgment, see n 9, supra, and that a declaratory judgment might
         have a res judicata effect on the pending state proceeding. 401 U.S. at 401 U. S. 72.

         [Footnote 12]

         We note that, in those cases where injunctive relief has been sought to restrain an imminent, but not yet pending,
         prosecution for past conduct, sufficient injury has not been found to warrant injunctive relief, see Beal v. Missouri
         Pacific R. Co., 312 U. S. 45 (1941); Spielman Motor Sales Co. v. Dodge, 295 U. S. 89 (1935); Fenner v. Boykin, 271
         U. S. 240 (1926). There is some question, however, whether a showing of irreparable injury might be made in a
         case where, although no prosecution is pending or impending, an individual demonstrates that he will be required
         to forgo constitutionally protected activity in order to avoid arrest. Compare Dombrowski v. Pfister, 380 U. S. 479
         (1965); Hygrade Provision Co. v. Sherman, 266 U. S. 497 (1925); and Terrace v. Thompson, 263 U. S. 197, 263
         U. S. 214, 263 U. S. 216 (1923), with Douglas v. City of Jeannette, 319 U. S. 157 (1943); see generally Note,
         Implications of the Younger Cases for the Availability of Federal Equitable Relief When No State Prosecution is
         Pending, 72 Col.L.Rev. 874 (1972).

         [Footnote 13]

         "Sensitiveness to 'states' rights,' fear of rivalry with state courts, and respect for state sentiment were swept aside




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         by the great impulse of national feeling born of the Civil War. Nationalism was triumphant; in national
         administration was sought its vindication. The new exertions of federal power were no longer trusted to the
         enforcement of state agencies."

         F. Frankfurter & J. Landis, The Business of the Supreme Court 64 (1928).

         [Footnote 14]

         In the last days of the John Adams administration, general federal question jurisdiction had been granted to the
         federal courts by § 11 of the Midnight Judges Act, 2 Stat. 92 (1801). The Act was repealed only one year later by § 1
         of the Act of Mar. 8, 1802, 2 Stat. 132.

         [Footnote 15]

         The histories of the Civil Rights Act of 1871 and the Judiciary Act of 1875 are detailed in Zwickler v. Koota, 389 U.
         S. 241, 389 U. S. 245-247 (1967).

         [Footnote 16]

         The three-judge court procedure, with expedited review, was modeled after the Expediting Act, 32 Stat. 823, now
         15 U.S.C. §§ 28-29; 49 U.S.C. §§ 44-45, requiring that, for certain antitrust cases certified by the Attorney General
         to be of particular public importance, a three-judge court be convened with direct appeal to the Supreme Court, as
         well as a 1906 Act, 34 Stat. 584, 592, applying the same procedure to suits brought to restrain, annul, or set aside
         orders of the Interstate Commerce Commission. See Hutcheson, A Case for Three Judges, 47 Harv.L.Rev. 795, 810
         (1934).

         [Footnote 17]

         The three-judge court provision was amended in 1913 to apply also to interlocutory injunctions restraining
         enforcement of state administrative or commission orders. C. 160, 37 Stat. 1013. It was further amended in 1925
         to extend the three-judge requirement and the direct appeal provisions to the final hearing on a permanent
         injunction, thereby ending the anomalous situation in which a single judge, at the final hearing, could overrule the
         decision of three judges granting an interlocutory injunction. 43 Stat. 936, 938. When the statute was codified in
         1948, it was made applicable to all actions seeking either a preliminary or permanent injunction, Goldstein v. Cox,
         396 U. S. 471, 396 U. S. 478 n. 3 (1970). See generally H. Hart & H. Wechsler, The Federal Courts and the Federal
         System 967-968 (2d ed.1973); C. Wright, Federal Courts § 50, pp. 188-189 (2d ed.1970).

         [Footnote 18]

         As Professor Borchard, a principal proponent and author of the Federal Declaratory Judgment Act, said in a
         written statement introduced at the hearings on the Act:

         "It often happens that courts are unwilling to grant injunctions to restrain the enforcement of penal statutes or
         ordinances and relegate the plaintiff to his option either to violate the statute and take his chances in testing
         constitutionality on a criminal prosecution, or else to [forgo], in the fear of prosecution, the exercise of his claimed
         rights. Into this dilemma no civilized legal system operating under a constitution should force any person. The
         court, in effect, by refusing an injunction, informs the prospective victim that the only way to determine whether
         the suspect is a mushroom or a toadstool is to eat it. Assuming that the plaintiff has a vital interest in the
         enforcement of the challenged statute or ordinance, there is no reason why a declaratory judgment should not be
         issued instead of compelling a violation of the statute as a condition precedent to challenging its
         constitutionality."

         Hearings on H.R. 5623 before a Subcommittee of the Senate Committee on the Judiciary, 70th Cong., 1st Sess.,
         75-76 (192). See E. Borchard, Declaratory Judgments x-xi (2d ed.1941).

         [Footnote 19]

         The pending prosecution of petitioner's handbilling companion does not affect petitioner's action for declaratory
         relief. In Roe v. Wade, 410 U. S. 113 (1973), while the pending prosecution of Dr. Hallford under the Texas
         Abortion law was found to render his action for declaratory and injunctive relief impermissible, this did not
         prevent our granting plaintiff Roe, against whom no action was pending, a declaratory judgment that the statute
         was unconstitutional Id at 410 U S 125-127 410 U S 166-167; see Lewis v Kugler 446 F 2d 1343 1349 (CA3



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         was unconstitutional. Id. at 410 U. S. 125-127, 410 U. S. 166-167; see Lewis v. Kugler, 446 F.2d 1343, 1349 (CA3
         1971).

         [Footnote 20]

         In Great Lakes Co. v. Huffman, employers sought a declaration that a state unemployment compensation scheme
         imposing a tax upon them was unconstitutional as applied. Although not relying on the precise terms of 28 U.S.C.
         § 41(1) (1940 ed.), now 28 U.S.C. § 1341, which ousts the district courts of jurisdiction to

         "enjoin, suspend or restrain the assessment, levy or collection of any tax under State law where a plain, speedy
         and efficient remedy may be had in the courts of such State,"

         the Court, recognizing the unique effects of anticipatory adjudication on tax administration, held that declaratory
         relief should be withheld when the taxpayer was provided an opportunity to maintain a refund suit after payment
         of the disputed tax. "In contrast, there is no statutory counterpart of 28 U.S.C. § 1341 applicable to intervention in
         state criminal prosecutions." Perez v. Ledesma, 401 U. S. 82, 401 U. S. 128 (1971) (separate opinion of BRENNAN,
         J).

         [Footnote 21]

         Abstention, a question "entirely separate from the question of granting declaratory or injunctive relief," Lake
         Carriers' Assn. v. MacMullan, 406 U. S. 498, 406 U. S. 509 n. 13 (1972), might be more appropriate when a
         challenge is made to the state statute as applied, rather than upon its face, since the reach of an uncertain state
         statute might, in that circumstance, be more susceptible of a limiting or clarifying construction that would avoid
         the federal constitutional question. Cf. Zwickler v. Koota, 389 U.S. at 389 U. S. 249-52, 254; Baggett v. Bullitt,
         377 U. S. 360, 377 U. S. 375-378 (1964).

         [Footnote 22]

         Some two years after petitioner attempted to handbill at the shopping center, respondent Hudgens, the owner of
         the center, commenced an action in the Superior Court of Fulton County seeking a declaration of his rights
         concerning the center's rules against handbilling and related activities. We were advised at oral argument that the
         state action had been dismissed by the trial court but that an appeal is pending before the Georgia Supreme Court.
         Since we do not require petitioner first to seek vindication of his federal rights in a state declaratory judgment
         action, see Lake Carriers' Assn. v. MacMullan, supra, at 406 U. S. 510; Wisconsin v. Constantineau, 400 U. S.
         433 (1971), consideration of abstention by the District Court would be inappropriate unless the action commenced
         by respondent Hudgens could be shown to present a substantial and immediate possibility of obviating
         petitioner's federal claim by a decision on state law grounds. Cf. Askew v. Hargrave, 401 U. S. 476, 401 U. S. 478
         (1971); Reetz v. Bozanich, 397 U. S. 82 (1970).

         MR. JUSTICE STEWART, with whom THE CHIEF JUSTICE joins, concurring.

         While joining the opinion of the Court, I add a word by way of emphasis.

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         Our decision today must not be understood as authorizing the invocation of federal declaratory judgment
         jurisdiction by a person who thinks a state criminal law is unconstitutional, even if he genuinely feels "chilled" in
         his freedom of action by the law's existence, and even if he honestly entertains the subjective belief that he may
         now or in the future be prosecuted under it.

         As the Court stated in Younger v. Harris, 401 U. S. 37, 401 U. S. 52:

         "The power and duty of the judiciary to declare laws unconstitutional is in the final analysis derived from its
         responsibility for resolving concrete disputes brought before the courts for decision. . . ."

         See also Boyle v. Landry, 401 U. S. 77, 401 U. S. 80-81.

         The petitioner in this case has succeeded in objectively showing that the threat of imminent arrest, corroborated
         by the actual arrest of his companion, has created an actual concrete controversy between himself and the agents
         of the State. He has, therefore, demonstrated "a genuine threat of enforcement of a disputed state criminal
         statute. . . ." * Cases where such a "genuine threat" can be demonstrated will, I think, be exceedingly rare.




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         * See ante at 415 U. S. 475. Whether, in view of "recent developments," the controversy is a continuing one, will be
         for the District Court to determine on remand. See ante at 415 U. S. 460.

         MR. JUSTICE WHITE, concurring.

         I offer the following few words in light of MR. JUSTICE REHNQUIST's concurrence in which he discusses the
         impact on a pending federal action of a later filed criminal prosecution against the federal plaintiff, whether a
         federal court may enjoin a state criminal prosecution under a statute the federal court has earlier declared
         unconstitutional

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         at the suit of the defendant now being prosecuted, and the question whether that declaratory judgment is res
         judicata in such a later filed state criminal action.

         It should be noted, first, that his views on these issues are neither expressly nor impliedly embraced by the Court's
         opinion filed today. Second, my own tentative views on these questions are somewhat contrary to my Brother's.

         At this writing at least, I would anticipate that a final declaratory judgment entered by a federal court holding
         particular conduct of the federal plaintiff to be immune on federal constitutional grounds from prosecution under
         state law should be accorded res judicata effect in any later prosecution of that very conduct. There would also, I
         think, be additional circumstances in which the federal judgment should be considered as more than a mere
         precedent bearing on the issue before the state court.

         Neither can I, at this stage, agree that the federal court, having rendered a declaratory judgment in favor of the
         plaintiff, could not enjoin a later state prosecution for conduct that the federal court has declared immune. The
         Declaratory Judgment Act itself provides that a "declaration shall have the force and effect of a final judgment or
         decree," 28 U.S.C. § 2201; eminent authority anticipated that declaratory judgments would be res judicata, E.
         Borchard, Declaratory Judgments 10-11 (2d ed.1941); and there is every reason for not reducing declaratory
         judgments to mere advisory opinions. Toucey v. New York Life Insurance Co., 314 U. S. 118 (1941), once
         expressed the view that 28 U.S.C. 2283 forbade injunctions against relitigation in state courts of federally decided
         issues, but the section was then amended to overrule that case, the consequence being that

         "[i]t is clear that the Toucey rule

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         is gone, and that, to protect or effectuate its judgment, a federal court may enjoin relitigation in the state court."

         C. Wright, Federal Courts 180 (2d ed.1970). I see no more reason here to hold that the federal plaintiff must
         always rely solely on his plea of res judicata in the state courts. The statute provides for "[f]urther necessary or
         proper relief . . . against any adverse party whose rights have been determined by such judgment," 28 U.S.C. §
         2202, and it would not seem improper to enjoin local prosecutors who refuse to observe adverse federal
         judgments.

         Finally, I would think that a federal suit challenging a state criminal statute on federal constitutional grounds
         could be sufficiently far along so that ordinary consideration of economy would warrant refusal to dismiss the
         federal case solely because a state prosecution has subsequently been filed and the federal question may be
         litigated there.

         MR. JUSTICE REHNQUIST with whom THE CHIEF JUSTICE joins, concurring.

         I concur in the opinion of the Court. Although my reading of the legislative history of the Declaratory Judgment
         Act of 1934 suggests that its primary purpose was to enable persons to obtain a definition of their rights before an
         actual injury had occurred, rather than to palliate any controversy arising from Ex parte Young, 209 U. S. 123
         (1908). Congress apparently was aware at the time it passed the Act that persons threatened with state criminal
         prosecutions might choose to forgo the offending conduct and, instead, seek a federal declaration of their rights.
         Use of the declaratory judgment procedure in the circumstances presented by this case seems consistent with that
         congressional expectation.

         If this case were the Court's first opportunity to deal with this area of law, I would be content to let the




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         matter rest there. But, as our cases abundantly illustrate, this area of law is in constant litigation, and it is an area
         through which our decisions have traced a path that may accurately be described as sinuous. Attempting to
         accommodate the principles of the new declaratory judgment procedure with other more established principles --
         in particular a proper regard for the relationship between the independent state and federal judiciary systems --
         this Court has acted both to advance and to limit the Act. Compare Aetna Life Ins. Co. v. Haworth, 300 U. S. 227
         (1937), and Zwickler v. Koota, 389 U. S. 241 (1967), with Great Lakes Co. v. Huffman, 319 U. S. 293 (1943), and
         Samuels v. Mackell, 401 U. S. 66 (1971). Because the opinion today may possibly be read by resourceful counsel as
         commencing a new and less restrictive curve in this path of adjudication, I feel it is important to emphasize what
         the opinion does and does not say.

         To begin with, it seems appropriate to restate the obvious: the Court's decision today deals only with declaratory
         relief and with threatened prosecutions. The case provides no authority for the granting of any injunctive relief
         nor does it provide authority for the granting of any relief at all when prosecutions are pending. The Court quite
         properly leaves for another day whether the granting of a declaratory judgment by a federal court will have any
         subsequent res judicata effect or will perhaps support the issuance of a later federal injunction. But since possible
         resolutions of those issues would substantially undercut the principles of federalism reaffirmed in Younger v.
         Harris, 401 U. S. 37 (1971), and preserved by the decision today, I feel it appropriate to add a few remarks.

         First, the legislative history of the Declaratory Judgment Act and the Court's opinion in this case both

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         recognize that the declaratory judgment procedure is an alternative to pursuit of the arguably illegal activity.
         [Footnote 2/1] There is nothing in the Act's history to suggest that Congress intended to provide persons wishing
         to violate state laws with a federal shield behind which they could carry on their contemplated conduct. Thus, I do
         not believe that a federal plaintiff in a declaratory judgment action can avoid, by the mere filing of a complaint,
         the principles so firmly expressed in Samuels, supra. The plaintiff who continues to violate a state statute after
         the filing of his federal complaint does so both at the risk of state prosecution and at the risk of dismissal of his
         federal lawsuit. For any arrest prior to resolution of the federal action would constitute a pending prosecution and
         bar declaratory relief under the principles of Samuels.

         Second, I do not believe that today's decision can properly be raised to support the issuance of a federal injunction
         based upon a favorable declaratory judgment. [Footnote 2/2]

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         The Court's.description of declaratory relief as "a milder alternative to the injunction remedy,'" ante at 415 U. S.
         467, having a "less intrusive effect on the administration of state criminal laws" than an injunction, ante at 415
         U. S. 469, indicates to me critical distinctions which make declaratory relief appropriate where injunctive relief
         would not be. It would all but totally obscure these important distinctions if a successful application for
         declaratory relief came to be regarded not as the conclusion of a lawsuit, but as a giant step toward obtaining
         an injunction against a subsequent criminal prosecution. The availability of injunctive relief must be considered
         with an eye toward the important policies of federalism which this Court has often recognized.

         If the rationale of cases such as Younger and Samuels turned in any way upon the relative ease with which a
         federal district court could reach a conclusion about the constitutionality of a challenged state statute, a
         preexisting judgment declaring the statute unconstitutional as applied to a particular plaintiff would, of course, be
         a factor favoring the issuance of an injunction as "further relief" under the Declaratory Judgment Act. But, except
         for statutes that are "flagrantly and patently violative of express constitutional prohibitions in every clause,
         sentence and paragraph . . . ,'" Younger v. Harris, supra, at 401 U. S. 53, the rationale of those cases has no such
         basis. Their direction that federal courts not interfere with state prosecutions does not vary depending on the
         closeness of the constitutional issue or on the degree of confidence which the federal court possesses in the
         correctness of its conclusions on the constitutional

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         point. Those decisions instead depend upon considerations relevant to the harmonious operation of separate
         federal and state court systems, with a special regard for the State's interest in enforcing its own criminal laws,




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         considerations which are as relevant in guiding the action of a federal court which has previously issued a
         declaratory judgment as they are in guiding the action of one which has not. While the result may be that
         injunctive relief is not available as "further relief" under the Declaratory Judgment Act in this particular class of
         cases, whereas it would be in similar cases not involving considerations of federalism, this would be no more a
         pro tanto repeal of that provision of the Declaratory Judgment Act than was Younger a pro tanto repeal of the
         All Writs Act, 28 U.S.C. § 1651.

         A declaratory judgment is simply a statement of rights, not a binding order supplemented by continuing
         sanctions. State authorities may choose to be guided by the judgment of a lower federal court, but they are not
         compelled to follow the decision by threat of contempt or other penalties. If the federal plaintiff pursues the
         conduct for which he was previously threatened with arrest and is, in fact, arrested, he may not return the
         controversy to federal court, although he may, of course, raise the federal declaratory judgment in the state court
         for whatever value it may prove to have. [Footnote 2/3] In any event, the defendant at that point is able to present
         his case

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         for full consideration by a state court charged, as are the federal courts, to preserve the defendant's constitutional
         rights. Federal interference with this process would involve precisely the same concern's discussed in Younger
         and recited in the Court's opinion in this case. [Footnote 2/4]

         Third, attempts to circumvent Younger by claiming that enforcement of a statute declared unconstitutional by a
         federal court is per se evidence of bad faith should not find support in the Court's decision in this case. As the
         Court notes, quoting my Brother BRENNAN's separate opinion in Perez v. Ledesma, 401 U. S. 82, 401 U. S. 125:

         "The persuasive force of the [federal] court's opinion and judgment may lead state prosecutors, courts, and
         legislators to reconsider their respective responsibilities toward the statute. Enforcement policies or judicial
         construction may be changed, or the legislature may repeal the statute and start anew."

         (Emphasis added.) This language clearly recognizes that continued belief in the constitutionality of the statute by
         state prosecutorial officials would not commonly be indicative of bad faith, and that such allegations, in the
         absence of highly unusual circumstances, would not justify a federal

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         court's departure from the general principles of restraint discussed in Younger.

         If the declaratory judgment remains, as I think the Declaratory Judgment Act intended, a simple declaration of
         rights without more, it will not be used merely as a dramatic tactical maneuver on the part of any state defendant
         seeking extended delays. Nor will it force state officials to try cases time after time, first in the federal courts and
         then in the state courts. I do not believe Congress desired such unnecessary results, and I do not think that today's
         decision should be read to sanction them. Rather, the Act, and the decision, stand for the sensible proposition that
         both a potential state defendant, threatened with prosecution but not charged, and the State itself, confronted by
         a possible violation of its criminal laws, may benefit from a procedure which provides for a declaration of rights
         without activation of the criminal process. If the federal court finds that the threatened prosecution would depend
         upon a statute it judges unconstitutional, the State may decide to forgo prosecution of similar conduct in the
         future, believing the judgment persuasive. Should the state prosecutors not find the decision persuasive enough to
         justify forbearance, the successful federal plaintiff will at least be able to bolster his allegations of
         unconstitutionality in the state trial with a decision of the federal district court in the immediate locality. The state
         courts may find the reasoning convincing even though the prosecutors did not. Finally, of course, the state
         legislature may decide, on the basis of the federal decision, that the statute would be better amended or repealed.
         All these possible avenues of relief would be reached voluntarily by the States, and would be completely consistent
         with the concepts of federalism discussed above. Other more intrusive forms of relief should not be routinely
         available.

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         These considerations should prove highly significant in reaching future decisions based upon the decision
         rendered today. For the present it is enough to say, as the Court does, that petitioner, if he successfully establishes
         the existence of a continuing controversy on remand, may maintain an action for a declaratory judgment in the
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https://supreme.justia.com/cases/federal/us/415/452/                                                                                 16/18
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         12:48 AM8:23-cv-01788-JVS-KES
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         District Court.

         [Footnote 2/1]

         The report accompanying the Senate version of the bill stated:

         "The procedure has been especially useful in avoiding the necessity, now so often present., of having to act at one's
         peril or to act on one's own interpretation of his rights, or abandon one's rights because of a fear of incurring
         damages. So now it is often necessary, in the absence of the declaratory judgment procedure, to violate or purport
         to violate a statute in order to obtain a judicial determination of its meaning or validity. . . . Persons now often
         have to act at their peril, a danger which could be frequently avoided by the ability to sue for a declaratory
         judgment as to their rights or duties."

         S.Rep. No. 1005, 73d Cong., 2d Sess., 2-3 (1934). Petitioner in this case, of course, did cease his handbilling
         activities after the warning of arrest.

         [Footnote 2/2]

         In Samuels v. Mackell, 401 U. S. 66, 401 U. S. 72 (1971), the Court expressed concern that a declaratory judgment
         issued while a state prosecution was pending "might serve as the basis for a subsequent injunction against those
         proceedings. . . ." The Court recognized that this chain of litigation would "result in a clearly improper
         interference with the state proceedings." Ibid. As discussed infra, I believe that such improper interference would
         be present even though the declaratory judgment itself were issued prior to the time of the federal plaintiff's
         arrest.

         [Footnote 2/3]

         The Court's opinion notes that the possible res judicata effect of a federal declaratory judgment in a subsequent
         state court prosecution is a question "not free from difficulty.'" Ante at 415 U. S. 470. I express no opinion on that
         issue here. However, I do note that the federal decision would not be accorded the stare decisis effect in state
         court that it would have in a subsequent proceeding within the same federal jurisdiction. Although the state
         court would not be compelled to follow the federal holding, the opinion might, of course, be viewed as highly
         persuasive.

         [Footnote 2/4]

         The Court's opinion says:

         "Sensitive to principles of equity, comity, and federalism, we recognized in Younger v. Harris, [401 U.S. 37
         (1971),] that federal courts should ordinarily refrain from enjoining ongoing state criminal prosecutions. We were
         cognizant that a pending state proceeding, in all but unusual cases, would provide the federal plaintiff with the
         necessary vehicle for vindicating his constitutional rights, and, in that circumstance, the restraining of an ongoing
         prosecution would entail an unseemly failure to give effect to the principle that state courts have the solemn
         responsibility, equally with the federal courts 'to guard, enforce, and protect every right granted or secured by the
         Constitution of the United States. . . .' Robb v. Connolly, 111 U. S. 624, 111 U. S. 637 (1884)."

         Ante at 415 U. S. 460-461.




         Materials

            Oral Arguments


         Steffel v. Thompson, 415 U.S. 452 (1974)
         Oral Argument - November 13, 1973

            Overview       Opinions      Materials



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     January 15th, 2024                                                        Robert V. Gonzales


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   8
                           UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA

   10 ROBERT V. GONZALES
   11                 Plaintiff(s),
              v.                                  CASE NO:
   12                                             8:23−cv−01788−JVS−KES
   13 UNIVERSITY
      al.
                 OF CALIFORNIA, IRVINE , et

                                                  ORDER SETTING RULE 26(f)
   14                                             SCHEDULING CONFERENCE
   15                                             Monday, March 11, 2024 at 01:30
                     Defendant(s).
                                                  PM
   16
   17
   18
              This case has been assigned to Judge James V. Selna. If plaintiff has not
   19
        already served the complaint (or any amendment thereto) on all defendants,
   20
        plaintiff shall promptly do so and shall file proofs of service within three days
   21   thereafter. Defendants also shall timely serve and file their responsive pleadings
   22   and file proofs of service within three days thereafter.
   23
   24         This matter is set for a scheduling conference on the above date. The
   25   conference will be held pursuant to Fed.R.Civ.P., Rule 16(b). The parties are
   26   reminded of their obligations under Fed.R.Civ.P., Rule 26(a)(1) to disclose
   27   information (without awaiting a discovery request) and under Rule 26(f) to confer
   28   ///

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        on a discovery plan not later than twenty−one (21) days prior to the scheduling
   2
        conference and to file a Joint Rule 26(f) Report not later than fourteen (14) days
   3    after they confer. Failure to comply with the following requirements or to
   4    cooperate in the preparation of the Joint Rule 26(f) Report may lead to the
   5    timposition of sanctions.
   6
   7          Unless there is a likelihood that upon motion by a party the

   8    Court would order that any or all discovery is premature, it is advisable for
   9    counsel to begin to conduct discovery actively before the Scheduling
   10   Conference. At the very least, the parties shall comply fully with the letter
   11   and spirit of Rule 26(a) and thereby obtain and produce most of what would
   12   be produced in the early stage of discovery.
   13
   14         1.    Joint Rule 26(f) Report.
   15
   16              The Joint Rule 26(f) Report, which shall be filed not later than one
   17   week before the scheduling conference, shall be drafted by plaintiff (unless the
   18   parties agree otherwise), but shall be submitted and signed jointly. "Jointly"
   19   contemplates a single report, regardless of how many separately−represented

   20   parties there are. The Joint Rule 26(f) Report shall report on all matters
   21   enumerated below, which include those required to be discussed by Rule 26(f)

   22   and Local Rule 26:

   23
   24         a.   Synopsis: a short synopsis (not to exceed two pages) of the main

   25              claims, counterclaims, and/or affirmative defenses.

   26         b.   Legal issues: a brief description of the key legal issues.
   27         c.   Damages: the realistic range of provable damages.
   28   ///

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            d.   Insurance: whether there is insurance coverage, the extent of
   2
                 coverage, and whether there is a reservation of rights.
   3        e.   Motions: a statement of the likelihood of motions seeking to (i) add
   4             other parties or claims or (ii) file amended pleadings or (iii) transfer
   5             venue.
   6        f.   Discovery and experts: pursuant to Rule 26(f), state what, if any,
   7             changes in the disclosures under R. 26(a) should be made; the
   8             subjects on which discovery may be needed and whether discovery
   9             should be conducted in phases or otherwise be limited; what
   10            discovery has been conducted thus far; whether applicable
   11            limitations should be changed or other limitations imposed; and
   12            whether the Court should enter other orders. Please state how many
   13            depositions each side will conduct. Also discuss the proposed time
   14            of expert witness disclosures under F.R.Civ.P. 26(a)(2).
   15       g.   Dispositive motions: a description of the issues or claims that any
   16            party believes may be determined by motion for summary judgment
   17            or motion in limine.
   18       h.   Settlement and settlement mechanism: a statement of what settlement

   19            discussions and/or written communications have occurred (specifically

   20            excluding any statement of the terms discussed) and a statement
   21            pursuant to the Local Rule 16−14.4 selecting a settlement mechanism
   22            under that rule.
   23       i.   Trial estimate: realistic estimate of the time required for trial and

   24            whether trial will be by jury or by court. Each side should specify

   25            (by number, not by name) how many witnesses it contemplates

   26            calling. If the time estimate for trial given in the Rule 26(f) Joint
   27            Report exceeds eight court days, counsel shall be prepared to discuss
   28            in detail the estimate.

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             j. Timetable: complete of the Presumptive Schedule of Pretrial Dates
   2               form attached as Exhibit A to this Order and attach it to the Rule 26(f)
   3               report. Submission of a completed Exhibit A is mandatory. The current
   4               entries in the "Weeks Before Trial" column merely reflect what the

   5               Court believes are appropriate for many, if not most, cases; those entries
   6               are not necessarily applicable to this case, and the form is designed to
   7               enable counsel to request the Court to set different last dates by which
   8               the key requirements must be completed. Each side should write in the
   9               month, day and year it requests for each event. E.g., for the expert
   10              discovery cut−off it might be "10/7/02" for plaintiff and "10/28/02" for
   11              defendant, if they cannot agree. At the conference, the Court will review
   12              this form with counsel. Each entry proposing dates shall fall on a
   13              Monday, except the trial date which is a Tuesday. In appropriate cases
   14              the Court will order different dates after it hears from Counsel. The
   15              proposed non−expert and expert discovery cut−off date means: the last
   16              day by which all depositions must be completed and responses to all

   17              previously−served written discovery must be provided. The proposed

   18              cut−off date for motions means: the last date on which motions may
   19              be heard, not noticed.

   20         k.   Other issues: a statement of any other issues affecting the status or
   21              management of the case (e.g., unusually complicated technical or
   22              technological issues, disputes over protective orders, extraordinarily
   23              voluminous document production, non−English speaking witnesses,
   24              discovery in foreign jurisdictions, etc.).
   25         l.   Conflicts: for conflict purposes, corporate parties must identify all
   26              subsidiaries, parents and affiliates.
   27   ///
   28   ///

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              m.    Patent cases: propose dates and methodology for claim construction
   2
                   and Markman hearings. The Court requires the parties to file
   3               concurrent opening briefs and concurrent reply briefs for the hearing.
   4               The Court intends to follow the rule for patent cases which have
   5               been adopted by the Northern District of California.
   6          n.   Magistrates: Do the parties wish to have a Magistrate Judge preside?
   7               Under 28 U.S.C. § 636, the parties may consent to have a Magistrate
   8               Judge preside over all the proceedings, not just discovery. They may
   9               pick any Magistrate Judge (not just the one assigned to this case)
   10              from among those Magistrate Judges who accept these designations.
   11              (They are identified on the Central District’s website, which also
   12              contains the consent form.)
   13
   14   The Joint Rule 26(f) Report should set forth the above enumerated information
   15   under section headings corresponding to this Order.
   16
   17         2.    Scheduling Conference.
   18
   19              Scheduling Conferences will be held in the Ronald Reagan Building,
   20   411 West Fourth Street, Court Room 10C, Santa Ana. Counsel shall comply with
   21   the following:
   22
   23         a.   Participation: The lead trial attorney must attend the Scheduling
   24              Conference, unless excused for good cause shown in advance of the

   25              Scheduling Conference.

   26         b.   Continuance: A continuance of the Scheduling Conference will be
   27              granted only for good cause.
   28   ///

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              3.    Protective Orders.
   2
   3                If you seek a protective order, propose it to opposing counsel before
   4     the Scheduling Conference, if at all possible. Protective Orders are considered by
   5     the Magistrate Judge assigned in this action.
   6
   7           4.    Notice to be Provided by Counsel.
   8
   9                Plaintiff’s counsel or, if plaintiff is appearing pro se, defendant’s
   10    counsel, shall provide this Order to any parties who first appear after the date of
   11    this Order and to parties who are known to exist but have not yet entered
   12    appearances.
   13
   14          5.    Disclosures to Clients.
   15
   16               Counsel are ordered to deliver to their respective clients a copy of
   17    this Order and of the Court’s Scheduling and Case Management Order, which
   18    contains the schedule that the Court sets at the Scheduling Conference.
   19
   20          6.    Court's Website.
   21
   22               Copies of this and all other orders of this Court that may become
   23    applicable to this case are available on the Central District of California website,
   24    at "www.cacd.uscourts.gov," under "Judge’s Procedures and Schedules." Copies
   25    of the Local Rules are available on the website.¹
   26
        ¹Local rules may be purchased from the following:
   27
            Los Angeles Daily Journal        West Publishing Co.             Metropolitan News
   28       915 East First Street            50 West Kellogg Boulevard       210 South Spring Street
            Los Angeles, CA 90012            St. Paul MN 55164−9979          Los Angeles, CA 90012

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                The Court thanks the parties and their counsel for their anticipated
     2
            cooperation in carrying out these requirements.
     3
     4         IT IS SO ORDERED.
     5
     6    DATED: January 16, 2024
                                          James V. Selna
     7                                    United States District Judge
     8
     9     Copies to: All Counsel of Record
     10
     11
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   2
   3                                               EXHIBIT A
                                         JUDGE JAMES V. SELNA
   4                            PRESUMPTIVE SCHEDULE OF PRETRIAL DATES

   5                                                                    Plaintiff's   Defendant's
                                                                 Weeks Request        Request     Court
   6    Matter                                      Time         before (Insert       (Insert     Order
                                                                  trial specific      specific
   7                                                                    date)         date)
        Trial date (jury) (court)                    8:30 a.m.
   8    Estimated length: _________ days            (Tuesdays)
        [Court trial:] File Findings of Fact and
        Conclusions of Law and Summaries of                       −1
   9    Direct Testimony
        Final Pretrial Conference; Hearing on
   10   Motions in Limine; File Agreed Upon
        Set of Jury Instructions and Verdict        11:00 a.m.
   11   Forms and Joint Statement re Disputed       (Mondays)     −2
        Instructions and Verdict Forms; File
        Proposed Voir Dire Qs and Agreed−to
   12   Statement of Case
        Lodge Pretrial Conf. Order;
   13   File Memo of Contentions of Fact and                      −3
        Law; Exhibit List; Witness List; Status
   14   Report re Settlement
        Last day for hand−serving Motions in                      −6
   15   Limine
                                                     1:30 p.m.
        Last day for hearing motions                              −7
   16                                               (Mondays)
        Last day for hand−serving motions and                     −11
   17   filing (other than Motions in Limine).
        Non−expert Discovery cut−off                              −15
   18
   19             ADDITIONAL MATTERS TO BE DETERMINED AT SCHEDULING CONFERENCE
   20    L.R. 16−14 Settlement Choice: (1) CT/USMJ (2) Court Mediation Panel (3) Private ADR

   21
        Expert discovery cut−off
   22   Rebuttal Expert Witness Disclosure
        Opening Expert Witness Disclosure [See
   23   F.R.Civ.P. 26(a)(2)]
        Last day to conduct Settlement
   24   Conference
        Last day to amend pleadings or add
   25   parties

   26
   27   Revised 4−14−16
   28

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   1   JOHN GHERINI #220981
       john.gherini@ucop.edu
   2   University of California
       UC Legal - Office of the General Counsel
   3   1111 Franklin Street, 8th Floor
       Oakland, CA 94607-5200
   4   Telephone: 510-987-9800
       Facsimile: 510-987-9757
   5
       Attorney for Defendants
   6   THE REGENTS OF THE UNIVERSITY OF
       CALIFORNIA, EMPLOYEE CHRIS
   7   CORNELL, EMPLOYEE RMEEN
       TALESH
   8
                             UNITED STATES DISTRICT COURT
   9
                         CENTRAL DISTRICT OF CALIFORNIA
  10

  11
       Robert V. Gonzales,                    CASE NO. 8:23-CV-01788-JVS(KES)
  12
                      Plaintiff,              DEFENDANT’S NOTICE OF
  13                                          MOTION AND MOTION TO
             v.                               DISMISS PLAINTIFF’S
  14                                          COMPLAINT PURSUANT TO
       The Regents of the University of       RULE 12(b) OF THE FEDERAL
  15   California et al,                      RULES OF CIVIL PROCEDURE;
                                              MEMORANDUM OF POINTS AND
  16                  Defendant.              AUTHORITIES IN SUPPORT
                                              THEREOF
  17
                                              Date:    March 11, 2024
  18                                          Time:    1:30 p.m.
                                              Dept.:   10 C
  19                                          Judge:   Hon. James Selna
  20
  21

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        DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT PURSUANT TO RULE 12(B)
Case 8:23-cv-01788-JVS-KES Document 100 Filed 07/05/24 Page 136 of 139 Page ID
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   1         NOTICE IS HEREBY GIVEN that on Monday, March 11, 2024 at 1:30
   2   p.m., or as soon thereafter as the matter can be heard, before the Honorable James
   3   V. Selna, presiding in Courtroom 10C of the United States District Court for the
   4   Central District of California, located at 411 West 4th Street, Room 1053, Santa
   5   Ana, California 92701, Defendant The Regents of the University of California (The
   6   Regents) will, and hereby does, move to dismiss the Plaintiff’s Complaint on the
   7   grounds that the court lacks subject matter jurisdiction and the Complaint fails to
   8   state a claim upon which relief can be granted, respectively pursuant to Federal
   9   Rules of Civil Procedure 12(b)(1) and 12(b)(6).
  10         This motion is made following the conference of counsel and pro se plaintiff
  11   pursuant to L.R. 7-3 which took place on January 5 and 8, 2024. This Motion to
  12   Dismiss is based on this Notice of Motion, the Memorandum of Points and
  13   Authorities, and such further documentation or testimony that may be presented at
  14   any hearing of this matter.
  15         WHEREFORE, Defendants respectfully request:
  16         1. That the Court grant the Motion to Dismiss;
  17         2. That the Court dismiss Plaintiff’s Complaint with prejudice; and
  18         3. Such other relief as the Court deems just and proper.
  19
       Dated: January 16, 2024                    By: /s/ John Gherini
  20
                                                      John Gherini
  21                                                  Attorney for Defendant THE
                                                      REGENTS OF THE UNIVERSITY
  22                                                  OF CALIFORNIA
  23
  24

  25
  26

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        DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT PURSUANT TO RULE 12(B)
Case 8:23-cv-01788-JVS-KES Document 100 Filed 07/05/24 Page 137 of 139 Page ID
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   1                  MEMORANDUM OF POINTS AND AUTHORITIES
   2
                                        I. INTRODUCTION
   3

   4         Plaintiff Robert V. Gonzales was suspended from the University of
   5   California, Irvine (“UCI”) campus for assaulting another student. (Declaration of
   6
       John Gherini (“Gherini Decl.”), ¶ 3.) To be reinstated, Mr. Gonzales was required
   7
       to pass an interview with a threat assessment specialist. (Id.) He attended the
   8
       meeting, but the meeting was not concluded because Mr. Gonzales kept trying to
   9

  10   record the interview. (Id.)
  11         Now, Mr. Gonzales seeks to hold The Regents of the University of California
  12   (“The Regents”) liable for a series of acts and circumstances, many of which are
  13
       unclear or vague, but are unquestionably acts performed within the course and
  14
       scope of official duties of the University. According to the Civil Cover Sheet,
  15
       Plaintiff is suing over civil rights/education under 5 U.S.C. § 702 (a statute that
  16

  17   permits review of certain decisions by federal administrative agencies) and the Fifth
  18   Amendment of the U.S. Constitution, presumably the Due Process Clause. (Dkt. 1-
  19   1.) But Plaintiff has also filed a “Supplemental Complaint” on a form titled Civil
  20
       Rights Complaint indicating that he is filing a claim under 42 U.S.C. § 1983
  21
       naming the Student Conduct Investigator and Dean of Student Affairs as
  22
       Defendants. He then attempts to amend his “complaint,” but none of the
  23
  24   documents, even taken together, allege any facts constituting a cause of action
  25   under any cognizable legal theory. Rather, it is a series of vague, confusing,
  26   nondescript two-page documents. None of these documents allege any legal cause
  27
       of action; they all fail to identify facts that would support any legal claim; and all
  28
                                                 -3-
            DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT PURSUANT TO RULE 12(B)
           Case
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                                                                                         bobby gonzales <bgfarcenter@gmail.com>



  Submission Confirmation
  2 messages

  Civil Intake <do-not-reply@cacd.uscourts.gov>                                                            Mon, Jul 1, 2024 at 10:56 PM
  To: bgfarcenter@gmail.com


    Dear Robert Gonzales:
    This email confirms that the document(s) listed below were received by the United States District Court for the Central
    District of California at the date and time indicated:

    Name: Robert Gonzales
    Tracking Number: EDS-240701-001-3324
    Date: 7/1/2024 10:56:57 PM

    Uploaded files:

            98(2) 6-20 7-1.pdf
            Filed on Jnue 20, 2024

    The document(s) have not yet been filed. Just like documents received through the U.S. Mail, documents received
    through the Electronic Document Submission System (“EDSS”) will not be considered filed until court staff have uploaded
    them into the Court’s Case Management/Electronic Case Filing System (“CM/ECF”). Documents submitted using EDSS
    should be processed within 1-2 business days of receipt. However, the date of EDSS submission will be considered the
    filing date for any documents received through EDSS and later filed into CM/ECF.

    If you are registered for electronic service of documents and receiving e-service in this case, you will receive a Notice of
    Electronic Filing (“NEF”) from the CM/ECF System as soon as each document listed above has been filed. (Click here for
    information about registering for electronic service or to add e-service in this case.) If you are not registered for electronic
    service, you may check the status of your documents by checking the docket for your case on PACER
    (https://pacer.uscourts.gov). Please wait at least two business days after receiving this email and check the docket for
    your case on PACER before contacting the Court regarding the status of documents submitted through EDSS.

    If you are trying to file a document in a case pending before the United States Bankruptcy Court, or in any case pending in
    any court other than the United States District Court for the Central District of California, your document will not be filed
    and you will not receive any response to your EDSS submission. Likewise, if you are an attorney required by the local
    rules to file your documents electronically using the Court’s CM/ECF System, your document(s) will not be filed if
    submitted through EDSS, and you will not receive any further communication from the Court about your EDSS
    submission.

    Please include the tracking number listed above as your reference on any communications with the Court about this
    submission. We recommend that you keep this email for your records.

    Civil Intake
    United States District Court
    Central District of California
    Tel: (213) 894-3535



  Civil Intake <do-not-reply@cacd.uscourts.gov>                                                            Mon, Jul 1, 2024 at 10:58 PM
  To: bgfarcenter@gmail.com


    Dear Robert Gonzales:
    This email confirms that the document(s) listed below were received by the United States District Court for the Central
    District of California at the date and time indicated:

https://mail.google.com/mail/u/0/?ik=ac86300e09&view=pt&search=all&permthid=thread-f:1803445691510493729&simpl=msg-f:18034456915104937…   1/2
           Case
7/1/24, 11:01 PM 8:23-cv-01788-JVS-KES              Document 100     Filed 07/05/24
                                                             Gmail - Submission ConfirmationPage 139 of 139 Page ID
    Name: Robert Gonzales                                   #:1419
    Tracking Number: EDS-240701-001-3325
    Date: 7/1/2024 10:58:49 PM

    Uploaded files:

            98 Supplement(2) 6-20 7-1.pdf
            Filed on June 20, 2024

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